Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 1 of 238 PageID #: 638




                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF DELAWARE

 3SHAPE A/S,                                    )
                                                )
               Plaintiff,                       )
                                                )
        v.                                      )   C.A. No. 18-886-LPS
                                                )
 ALIGN TECHNOLOGY, INC.,                        )   CONSOLIDATED
                                                )
               Defendant.                       )   JURY TRIAL DEMANDED


 FIRST AMENDED ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS
                   OF ALIGN TECHNOLOGY, INC.

       Defendant Align Technology, Inc. (“Align”) hereby demands a trial by jury on all issues

so triable, answers Plaintiff 3Shape A/S (“3Shape” or “Plaintiff”) Amended Complaint (D.I. 44)

in Civil Action No. 18-886-LPS, and presents affirmative defenses and counterclaims, as follows:


                                           PARTIES

       1.     Plaintiff 3Shape is a Danish corporation with a principal place of business at

Holmens Kanal 7, 1060 Copenhagen K, Denmark.

ANSWER: Align admits on information and belief that 3Shape A/S is a Danish corporation

with a principal place of business at Holmens Kanal 7, 1060 Copenhagen K, Denmark.

       2.     Plaintiff is the owner by assignment of the entire right, title and interest in and to

U.S. Patent No. 9,629,551 (“the ’551 patent”) entitled, “Detection of a Movable Object When 3D

Scanning a Rigid Object,” a copy of which is attached hereto as Exhibit A.

ANSWER: Align admits that U.S. Patent No. 9,629,551 is entitled “Detection of a Movable

Object When 3D Scanning a Rigid Object.” Align denies the remainder of the allegations in this

paragraph.
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 2 of 238 PageID #: 639




       3.      Plaintiff is the owner by assignment of the entire right, title and interest in and to

U.S. Patent No. 10,349,042 (“the ’042 patent”) entitled “Focus Scanning Apparatus,” a copy of

which is attached hereto as Exhibit F.

ANSWER: Align admits that U.S. Patent No. 10,349,042 is entitled “Focus Scanning

Apparatus” and that a copy is attached hereto as Exhibit F. Align denies the remainder of the

allegations in this paragraph.

       4.      Plaintiff sells an industry-leading intraoral scanner under the name TRIOS®.

ANSWER: Align admits on information and belief that 3Shape sells intraoral scanners under

the name TRIOS®. Align denies the remaining allegations of this paragraph.

       5.      The TRIOS® system incorporates embodiments of the patented technologies of the

’551 patent.

ANSWER: Denied.

       6.      Defendant is a competitor of Plaintiff in the field of intraoral scanners.

ANSWER: Align admits that it is a competitor of 3Shape in the field of intraoral scanners.

       7.      Upon information and belief, Defendant is a United States corporation organized

and existing under the laws of Delaware, with a principal place of business at 2820 Orchard

Parkway, San Jose, California 95134.

ANSWER: Align admits that it is a United States corporation organized and existing under the

laws of Delaware, with a principal place of business at 2820 Orchard Parkway, San Jose,

California 95134.

       8.      Upon information and belief, Defendant makes, uses, sells and offers for sale in the

United States and/or imports into the United States products called “iTero Element Scanner,”




                                                 2
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 3 of 238 PageID #: 640




“iTero Element 2 Scanner” and “iTero Element Flex Scanner” (collectively “the iTero Element

Scanners”), which comprise a handheld intraoral 3D scanner/wand.

ANSWER: Align admits it makes, uses, sells and offers for sale in the United States and/or

imports into the United States products called “iTero Element Scanner,” “iTero Element 2

Scanner” and “iTero Element Flex Scanner” (collectively “the iTero Element Scanners”). Align

denies the remainder of the allegations in this paragraph.

                                 JURISDICTION AND VENUE

       9.      This is an action for patent infringement arising under the patent laws of the United

States, Title 35, United States Code, § 100 et seq.

ANSWER: This paragraph contains legal conclusions to which no response is required. To the

extent any response is required, Align admits that Plaintiff purports to bring this action under the

patent laws of the United States, pursuant to Title 35 of the United States Code. To the extent

there are any remaining allegations in this paragraph not addressed by the foregoing, Align

denies them.

       10.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

1331 and 1338(a).

ANSWER: This paragraph contains legal conclusions to which no response is required. To the

extent any response is required, Align admits that this Court has subject matter jurisdiction over

actions arising under 28 U.S.C. §§ 1331 and 1338(a). To the extent there are any remaining

allegations in this paragraph, Align denies them.

       11.     This Court has personal jurisdiction over Defendant because it has, directly or

through its agents and/or intermediaries, committed acts within Delaware giving rise to this action

and/or Defendant has established minimum contacts with Delaware such that the exercise of

jurisdiction would not offend traditional notions of fair play and substantial justice.
                                                  3
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 4 of 238 PageID #: 641




ANSWER: This paragraph contains legal conclusions to which no response is required. To the

extent any response is required, Align is not contesting jurisdiction or venue in the United States

District Court for the District of Delaware for the limited purposes of this civil action only. To

the extent there are any remaining allegations in this paragraph not addressed by the foregoing,

Align denies them.

       12.     Upon information and belief, Defendant regularly conducts business in Delaware,

and purposefully avails itself of the privileges of conducting business in Delaware. In particular,

upon information and belief, Defendant and/or its agents and/or intermediaries, make, use, import,

offer for sale, sell and/or advertise their products and affiliated services in Delaware, including the

iTero Element Scanners, sufficient to give rise to jurisdiction.

ANSWER: Align admits that it and/or its agents and/or intermediaries, make, use, import, offer

for sale, sell and/or advertise Align products in Delaware. Align denies the remaining

allegations in this paragraph.

       13.     Defendant has also purposely availed itself of the courts of this venue, having

brought actions against Plaintiff in the federal courts of the District of Delaware, including the

pending 17-cv-1646, -1647, -1648, and -1649 actions. The use of the courts of this jurisdiction is

sufficient to give rise to jurisdiction over Defendant.

ANSWER: This paragraph contains legal conclusions to which no response is required. To the

extent that any response is required, Align admits that it has brought the pending 17-cv-1646, -

1647, -1648, and -1649 actions against 3Shape A/S in the District of Delaware. Align admits

that venue in this Court is proper for the purposes of this action. To the extent there are any

remaining allegations in this paragraph, Align denies them.




                                                  4
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 5 of 238 PageID #: 642




          14.   Upon information and belief, and as further described herein, Defendant has

infringed and continues to infringe and/or contributorily infringe the ’551 patent and the ’042

patent in Delaware, which has led to foreseeable harm and injury to Plaintiff. Upon information

and belief, Defendant derives substantial revenue from the sale of infringing products distributed

within Delaware and/or expects or should reasonably expect its actions to have consequences in

Delaware. In addition, upon information and belief, Defendant knowingly induces, and continues

to knowingly induce, infringement of the ’551 patent and the ’042 patent within Delaware by

offering for sale, selling, and/or contracting with others to market infringing products with the

intent to facilitate infringing use of the products by others within Delaware and by creating and/or

disseminating product information and other materials providing instruction for infringing use.

ANSWER: Denied.

          15.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), (c) and/or (d), and

28 U.S.C. § 1400(b).

ANSWER: This paragraph contains legal conclusions to which no response is required. To the

extent that any response is required, Align admits that venue in this Court is proper for purposes

of this action. To the extent there are any remaining allegations in this paragraph, Align denies

them.

                COUNT 1: DIRECT INFRINGEMENT OF THE ’551 PATENT

          16.   Plaintiff incorporates by reference the preceding paragraphs as if set forth fully

herein.

ANSWER: Align restates and reincorporates its responses to the preceding paragraphs as if

fully set forth herein.

          17.   This cause of action arises under the patent laws of the United States, and in

particular, 35 U.S.C. §§ 271, et seq.
                                                  5
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 6 of 238 PageID #: 643




ANSWER: This paragraph contains legal conclusions to which no response is required. To the

extent any response is required, Align admits that Plaintiff purports to bring this action under the

patent laws of the United States, including 35 U.S.C. § 271, et seq. To the extent there are any

remaining allegations in this paragraph, Align denies them.

       18.       The ’551 patent was duly and lawfully issued by the United States Patent and

Trademark Office (“USPTO”) on April 25, 2017, to listed inventors Rune Fisker, Michael Vinther,

and Henrik Öjelund.

ANSWER: Align admits that on April 25, 2017, the United States Patent and Trademark Office

issued U.S. Patent No. 9,629,551 (“the ’551 patent”), naming Rune Fisker, Michael Vinter, and

Henrik Öjelund as the inventors. To the extent there are any remaining allegations in this

paragraph, Align denies them.

       19.       Plaintiff is the owner by assignment of all right, title and interest in and to the ’551

patent. Evidence of the assignment of the ’551 patent to Plaintiff is recorded with the USPTO at

Reel/Frame 043981/0005. Plaintiff is listed on the face of the ’551 patent as assignee.

ANSWER: Align admits that 3Shape A/S is listed on the face of the ’551 patent as assignee and

an assignment recordation with the USPTO appears at Reel/Frame 043981/0005. Align denies

the remaining allegations of this paragraph.

       20.       The ’551 patent is entitled, “Detection of a Movable Object When 3D Scanning a

Rigid Object.”

ANSWER: Align admits that the ’551 patent is entitled “Detection of a Movable Object When

3D Scanning a Rigid Object.”




                                                    6
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 7 of 238 PageID #: 644




        21.     The ’551 patent is directed to the detection of a movable object in a location, when

scanning a rigid object in the location by means of a 3D scanner for generating a virtual 3D model

of the rigid object.

ANSWER: Denied.

        22.     Defendant makes, uses, offers to sell, sells, imports, promotes and/or demonstrates

versions of its iTero Element Scanners, including the wand, cart, and/or related software, and other

related products (“Accused Products”) in the United States.

ANSWER: Align admits that it makes, uses, offers to sell, sells, imports, promotes and/or

demonstrates versions of its iTero Element Scanners, including the wand and cart, in the United

States. To the extent this allegations concerns “related software [] and other related products”,

such software and products are unidentified and Align therefore denies this allegation with

respect to the same.

        23.     Defendant possesses knowledge of, and is aware of, the ’551 patent.

ANSWER: Admitted.

        24.     Defendant had previously unsuccessfully challenged the patentability of claims 1-

25 of the ’551 patent in inter partes review (IPR) proceedings IPR2018-00195 and IPR2018-

00196 before the USPTO.

ANSWER: Align admits that it petitioned for inter partes review proceedings IPR2018-00195

and IPR2018-00196 and that the USPTO did not institute review in response to either petition.

Align denies the remaining allegations of this paragraph.

        25.     A panel of Administrative Patent Judges at the Patent Trial and Appeals Board of

the USPTO determined that Defendant’s IPR Petitions did not present a prima facie case for the




                                                 7
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 8 of 238 PageID #: 645




unpatentability of the claims of the ’551 patent and that trial should not be instituted in connection

with either Petition.

ANSWER: Align admits that it petitioned for inter partes review proceedings IPR2018-00195

and IPR2018-00196, and the USPTO found that “[a]pplying the standard set forth in 35 U.S.C. §

314(a), which requires demonstration of a reasonable likelihood that Petitioner would prevail

with respect to at least one challenged claim, we deny Petitioner’s request and do not institute

inter partes review of any challenged claim” in both proceedings. Decision Denying Institution

of Inter Partes Review, IPR2018-00195; Decision Denying Institution of Inter Partes Review,

IPR2018-00196. To the extent there are any remaining allegations in this paragraph, Align

denies them.

       26.     Defendant has been and is now directly infringing, literally and/or under the

doctrine of equivalents at least claims 1, 22, 23, and 25 of the ’551 patent.

ANSWER: Denied.

       27.     Each of Defendant’s Accused Products includes a system and/or a method for [1]

detecting a movable object in a location, when [2] scanning a rigid object in the location by means

of [3] a 3D scanner for [4] generating a virtual 3D model of the rigid object.

ANSWER: Denied.

       28.     Defendant’s Accused Products detect movable objects in a location.

ANSWER: Denied.

       29.     For example, Defendant’s Accused Products “eliminate extra process steps during

intraoral scanning because iTero Element is designed to automate those for you.” See, e.g., 2015

Align Technology, Inc. Brochure For General Practitioners M20324 Rev. A (“Brochure”) at 4,

attached hereto as Exhibit B and entitled, “iTero® elementTM PRECISION.” Defendant’s



                                                  8
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 9 of 238 PageID #: 646




Brochure further states that “while you are scanning, iTero Element is engineered to

simultaneously process the scan. It automatically stitches together images for rendering in the

correct order, adapts to changes in positioning, and detects and removes soft tissues [i.e., movable

objects]. Capture everything. And view exactly what you need to see.” Id (emphasis added).

ANSWER: Align admits that Exhibit B states “eliminate extra process steps during intraoral

scanning because iTero Element is designed to automate those for you” and “while you are

scanning, iTero Element is engineered to simultaneously process the scan. It automatically

stitches together images for rendering in the correct order, adapts to changes in positioning and

detects and removes soft tissue. Capture everything. And view exactly what you need to see.”

Align denies the remaining allegations in this paragraph.

       30.       Defendant’s Accused Products scan rigid objects in the location.

ANSWER: Denied.

       31.       For example, Defendant’s Accused Products make use of color scanning “to

immediately distinguish between gingival and tooth structures [i.e., rigid objects] ....” See

Brochure at 4.

ANSWER: Align admits that Exhibit B states “to immediately distinguish between gingival and

tooth structures . . . .” Align denies the remaining allegations in this paragraph.

       32.       Defendant’s Accused Products make use of a 3D scanner.

ANSWER: Denied.

       33.       For example, Defendant’s Accused Products include “[t]he iTero Element Intraoral

Scanner ... designed to deliver speed, reliability, intuitive operations, and outstanding visualization

capabilities.” See e.g., Brochure at 3. Further, Defendant’s Accused Products include “[i]ndustry-

leading, open-choice imaging [that] lets you view images in 3D.” Id. Furthermore, Defendant’s



                                                  9
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 10 of 238 PageID #: 647




 Accused Products include “[i]ntegrated gyro technology [that] lets you rotate models on screen.”

 Id. Defendant’s Accused Products allows users to “[s]pin, pinch zoom and process images with a

 touch.” Id.

 ANSWER: Align admits that Exhibit B states “[t]he iTero Element Intraoral Scanner” and

 “iTero Element is designed to deliver speed, reliability, intuitive operations, and outstanding

 visualization capabilities.” Align also admits that Exhibit B states that “[i]ntegrated gyro

 technology lets you rotate models on screen” and “[s]pin, pinch zoom, and process images with a

 touch.” Align denies the remaining allegations in this paragraph.

        34.     Defendant’s Accused Products generate virtual 3D models of rigid objects in the

 location.

 ANSWER: Denied.

        35.     For example, Defendant’s Accused Products’ “[i]ndustry-leading, open-choice

 imaging lets you view images in 3D.” Id.

 ANSWER: Align admits that Exhibit B states “[i]ndustry-leading, open-choice imaging lets you

 view images in 3D.” Align denies the remaining allegations in this paragraph.

        36.     Upon information and belief, each of Defendant’s Accused Products makes use of

 a method, wherein the method comprises: [5] providing a first 3D representation of at least part of

 a surface by scanning at least part of the location; [6] providing a second 3D representation of at

 least part of the surface by scanning at least part of the location; [7] determining for the first 3D

 representation a first excluded volume in space where no surface can be present in both the first

 3D representation and the second 3D representation, and/or determining for the second 3D

 representation a second excluded volume in space where no surface can be present in both the first

 3D representation and the second 3D representation; [8] if a portion of the surface in the first 3D



                                                  10
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 11 of 238 PageID #: 648




 representation is located in space in the second excluded volume, the portion of the surface in the

 first 3D representation is disregarded in the generation of the virtual 3D model; and/or if a portion

 of the surface in the second 3D representation is located in space in the first excluded volume, the

 portion of the surface in the second 3D representation is disregarded in the generation of the virtual

 3D model.

 ANSWER: Denied.

         37.       Defendant’s Accused Products provide multiple (i.e., first and second) overlapping

 3D representations of a part of a surface in a short amount of time.

 ANSWER: Denied.

         38.       For example, Defendant’s Accused Products are “engineered to capture 6,000

 frames per second.” See Brochure at 3. “With a scan capture time of 40-50 milliseconds, iTero

 Element is designed to capture 20 scans per second.” Id.

 ANSWER: Align admits that Exhibit B states “engineered to capture 6,000 frames per second”

 and “[w]ith a scan capture time of 40-50 milliseconds, iTero Element is designed to capture 20

 scans per second . . . .” Align denies the remaining allegations in this paragraph.

         39.       Further, two or more overlapping 3D representations of a part of a surface are

 required for Defendant’s Accused Products to “stitch[] together images for rendering in the correct

 order.” Id. at 4.

 ANSWER: Align admits that Exhibit B states “stitches together images for rendering in the

 correct order . . . .” Align denies the remaining allegations in this paragraph.

         40.       Defendant’s Accused Products determine for each 3D representation an excluded

 volume in space where no space can be present in both a first 3D representation and a second 3D

 representation.



                                                   11
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 12 of 238 PageID #: 649




 ANSWER: Denied.

        41.     Each of Defendant’s Accused Products rely on parallel confocal sampling, a type

 of digital scanning technology available to the dental scanning industry that would necessarily

 calculate excluded volume data which is defined by at least the distances from the scanner to the

 tooth surface for each successive overlapping scan. See, e.g., Brochure at 2; see also ’551 patent

 at 28:9-16.

 ANSWER: Denied.

        42.     Upon information and belief, Defendant’s Accused Products provide successive

 scans that include substantially the same location/space because each of the iTero Element

 Scanners has “a scan capture time of 40-50 milliseconds [and] is designed to capture 20 scans per

 second.” Id. at 3.

 ANSWER: Align admits that Exhibit B states “a scan capture time of 40-50 milliseconds” and

 “designed to capture 20 scans per second . . . .” Align denies the remaining allegations in this

 paragraph.

        43.     Defendant’s Accused Products disregard portions of the surface in a first 3D

 representation that is located in the space of a second excluded volume in the generation of the

 virtual 3D model and/or disregard portions of the surface in a second 3D representation that are

 located in the space of a first excluded volume in the generation of a virtual 3D model.

 ANSWER: Denied.

        44.     For example, Defendant’s Accused Products were known to detect and remove soft

 tissue [i.e., movable objects] by disregarding portions of the surface in a first 3D representation

 that were located in the space in a second excluded volume in the generation of the virtual 3D

 model and/or by disregarding portions of the surface in a second 3D representation that were



                                                 12
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 13 of 238 PageID #: 650




 located in the space in a first excluded volume in the generation of the virtual 3D model. See

 Brochure at 4.

 ANSWER: Denied.

        45.       Additionally,   a   Gardner   Orthodontics    Video    (“Video    1”)   found    at

 https://www.youtube.com/watch?v=bxZzzJvB4OM and published on December 29, 2016 (last

 visited June 3, 2018), attached hereto as Exhibit C, depicts Defendant’s Accused Products

 scanning teeth (e.g., a rigid object) in a location (e.g., patient’s mouth) by means of a 3D scanner

 and generating a virtual 3D model of the rigid object.

 ANSWER: Align admits that the video available at

 https://www.youtube.com/watch?v=bxZzzJvB4OM purports to be published by Gardner

 Orthodontics on December 29, 2016, and shows an iTero Element scanner. Align denies the

 remaining allegations in this paragraph.

        46.       At time 1:50 [min:sec] of Video 1, a movable object (i.e., lip) is detected on the

 labial side of the patient’s anterior teeth by Defendant’s Accused Products, as depicted below.




 ANSWER: Align admits that the video available at

 https://www.youtube.com/watch?v=bxZzzJvB4OM shows the excerpted image (not including

 the callout) at time 2:03. Align denies the remaining allegations in this paragraph.


                                                  13
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 14 of 238 PageID #: 651




        47.     At time 2:03 of Video 1, surfaces associated with the movable object (i.e., lip) are

 disregarded in the generation of the virtual 3D model of the patient’s mouth as depicted below.




 ANSWER: Align admits that the video available at

 https://www.youtube.com/watch?v=bxZzzJvB4OM shows the excerpted image (not including

 the callout) at time 2:03. Align denies the remaining allegations in this paragraph

        48.     Further,   an   Align      Technology,   Inc.   Video    (“Video    2”)     found   at

 https://www.youtube.com/watch?v=hDzBjbqD-KI and published on August 14, 2015 (last visited

 June 3, 2018), attached hereto as Exhibit D, depicts Defendant’s Accused Products scanning teeth

 (e.g., a rigid object) in a location (e.g., patient’s mouth) by means of a 3D scanner and generating

 a virtual 3D model of the rigid object.

 ANSWER: Align admits that the video available at

 https://www.youtube.com/watch?v=hDzBjbqD-KI purports to be published by iTero Scanner on

 August 14, 2015, and shows an iTero Element scanner. Align denies the remaining allegations

 in this paragraph.

        49.     As depicted below, at time 2:11 of Video 2, a movable object is detected by

 Defendant’s Accused Products; and at time 2:12 of Video 2, surfaces associated with the movable

 object are disregarded in the generation of the virtual 3D model of the patient’s mouth.


                                                  14
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 15 of 238 PageID #: 652




 ANSWER: Align admits that the video available at

 https://www.youtube.com/watch?v=hDzBjbqD-KI shows the excerpted images (minus the

 annotations) at times 2:11 and 2:12 respectively. Align denies the remaining allegations in this

 paragraph.

        50.     Further, as depicted below, at time 2:20 of Video 2, a movable object is detected

 by Defendant’s Accused Products; and at time 2:21 of Video 2, surfaces associated with the

 movable object are disregarded in the generation of the virtual 3D model of the patient’s mouth.




                                                15
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 16 of 238 PageID #: 653




 ANSWER: Align admits that the video available at

 https://www.youtube.com/watch?v=hDzBjbqD-KI shows the excerpted images (minus the

 annotations) at times 2:20 and 2:21 respectively. Align denies the remaining allegations in this

 paragraph.

        51.     Each of Defendant’s Accused Products includes a system comprising a hardware

 processor configured to: provide a first 3D representation of at least part of a surface by scanning

 at least part of the location; provide a second 3D representation of at least part of the surface by

                                                 16
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 17 of 238 PageID #: 654




 scanning at least part of the location; determine for the first 3D representation a first excluded

 volume in space where no surface can be present in both the first 3D representation and the second

 3D representation; determine for the second 3D representation a second excluded volume in space

 where no surface can be present in both the first 3D representation and the second 3D

 representation; disregard the portion of the surface in the first 3D representation in the generation

 of the virtual 3D model, if a portion of the surface in the first 3D representation is located in space

 in the second excluded volume, and/or disregard the portion of the surface in the second 3D

 representation in the generation of the virtual 3D model, if a portion of the surface in the second

 3D representation is located in space in the first excluded volume.

 ANSWER: Denied.

        52.     For example, Defendant’s Accused Products include a hardware processor such

 that “while you are scanning, iTero Element is engineered to simultaneously process the scan. It

 automatically stitches together images for rendering in the correct order, adapts to changes in

 positioning, and detects and removes soft tissue.” See, e.g., Brochure at 4.

 ANSWER: Align admits that Exhibit B states “while you are scanning, iTero Element is

 engineered to simultaneously process the scan. It automatically stitches together images for

 rendering in the correct order, adapts to changes in positioning, and detects and removes soft

 tissue.” Align denies the remaining allegations in this paragraph.

        53.     Each of Defendant’s Accused Products includes a nontransitory computer readable

 medium encoded with a computer program product comprising program code for causing a data

 processing system to detect a movable object in a location, when scanning a rigid object in the

 location by means of a 3D scanner for generating a virtual 3D model of the rigid object by

 providing a first 3D representation of at least part of a surface by scanning at least part of the



                                                   17
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 18 of 238 PageID #: 655




 location; providing a second 3D representation of at least part of the surface by scanning at least

 part of the location; determining for the first 3D representation a first excluded volume in space

 where no surface can be present in both the first 3D representation and the second 3D

 representation; determining for the second 3D representation a second excluded volume in space

 where no surface can be present in both the first 3D representation and the second 3D

 representation; if a portion of the surface in the first 3D representation is located in space in the

 second excluded volume, the portion of the surface in the first 3D representation is disregarded in

 the generation of the virtual 3D model; and/or if a portion of the surface in the second 3D

 representation is located in space in the first excluded volume, the portion of the surface in the

 second 3D representation the portion of the surface in when said program code is executed on the

 data processing system.

 ANSWER: Denied.

        54.       For example, Defendant’s Accused Products include “software [i.e., a computer

 program product comprising program code that] automatically detects and repositions scanning

 start and stop points when you move to a new scanning position within the scanned segment.”

 Brochure at 4.

 ANSWER: Align admits that Exhibit B states “software automatically detects and repositions

 scanning start and stop points when you move to a new scanning position within the scanned

 segment.” Align denies the remaining allegations in this paragraph.

        55.       Further, Defendant’s Accused Products include a computer program product

 comprising program code that “automatically stitches together images for rendering in the correct

 order, adapts to changes in positioning, and detects and removes soft tissue.” Id.




                                                  18
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 19 of 238 PageID #: 656




 ANSWER: Align admits that Exhibit B states “automatically stitches together images for

 rendering in the correct order, adapts to changes in positioning, and detects and removes soft

 tissue.” Align denies the remaining allegations in this paragraph.

         56.    On information and belief, Defendant’s Accused Products rely on a system hard

 disk, i.e., a nontransitory computer readable medium encoded with the software discussed in

 paragraphs 54 and 55 to carry out the claimed methods of the ’551 patent. Defendant’s Accused

 Products also “automatically save scan data every two seconds and save it to the system’s hard

 disk.” Id.

 ANSWER: Align admits that Exhibit B states “automatically save scan data every two seconds

 and save it to the system’s hard disk.” Align denies the remaining allegations in this paragraph.

         57.    These features of each of Defendant’s Accused Products in paragraphs 26-56 above

 correspond to those recited and claimed in at least claims 1, 22, 23, and 25 of the ’551 patent.

 ANSWER: Denied.

         58.    Defendant has sold and/or offered for sale its iTero Element Scanners in the United

 States at trade shows in Chicago, IL, New York, NY and Detroit, MI. The “Align Technology

 Announces Next Generation iTero(R) Element(TM) Intraoral Scanner” webpage (last visited May

 4, 2018), attached hereto as Exhibit E, is further evidence of Defendant’s sale and/or offer for sale

 of the iTero Element Scanner product in the United States.

 ANSWER: Align admits that it has sold and/or offered for sale its iTero Element Scanner in the

 United States at trade shows in Chicago, IL, New York, NY and Detroit, MI. Align denies the

 remaining allegations in this paragraph.

         59.    Defendant thus directly infringes, literally and/or under the doctrine of equivalents,

 and/or indirectly infringes, at least claims 1, 22, 23, and 25 of the ’551 patent.



                                                   19
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 20 of 238 PageID #: 657




 ANSWER: Denied.

        60.     On information and belief, Defendant intends to, and continues to intend to, directly

 infringe the ’551 patent through the sale of the Accused Products.

 ANSWER: Denied.

        61.     Defendant knew or should have known of the ’551 patent and its infringement of

 the ’551 patent, and has acted and continues to act, in an egregious and wanton manner by

 infringing the ’551 patent.

 ANSWER: Denied.

        62.     Despite knowing that its actions constituted infringement of the ’551 patent and/or

 despite knowing that there was a high likelihood that its actions constituted infringement of the

 patent, Defendant nevertheless continued its infringing actions, and continues to make, use, and

 sell, the Accused Products.

 ANSWER: Denied.

        63.     Defendant’s acts of infringement have injured and damaged Plaintiff and will

 continue to injure and damage Plaintiff.

 ANSWER: Denied.

        64.     Defendant’s actions have caused Plaintiff to suffer irreparable harm resulting from

 the loss of its lawful patent rights and the loss of its ability to exclude others from the market.

 ANSWER: Denied.

        65.     Upon information and belief, Defendant will continue these infringing acts unless

 enjoined by this court.

 ANSWER: Denied.

   COUNT 2: INDIRECT INFRINGEMENT OF THE ’551 PATENT BY INDUCEMENT



                                                   20
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 21 of 238 PageID #: 658




         66.     Plaintiff repeats and realleges the allegations set forth in paragraphs 1 to 65 above

 as if fully set forth herein.

 ANSWER: Align restates and reincorporates its responses to paragraphs 1-65 as if fully set

 forth herein.

         67.     Defendant is liable for inducing infringement of the ’551 patent under 35 U.S.C.

 §271(b) by having knowledge of the ’551 patent and knowingly causing or intending to cause, and

 continuing to knowingly cause or intend to cause, direct infringement of the ’551 patent, with

 specific intent, by its customers.

 ANSWER: Denied.

         68.     Specifically, Defendant actively induces infringement of the ’551 patent by, inter

 alia, training its customers on the use of the Accused Products and/or promotion, sales, and/or

 importation of the Accused Products including the infringing iTero Element Scanners to

 Defendant’s customers including, but not limited to, resellers and end users for their use of the

 system claimed in the ’551 patent.

 ANSWER: Denied.

         69.     Defendant’s customers for the Accused Products directly infringe the ’551 patent

 by making, using, selling, offering for sale, and/or importing the iTero Element Scanners.

 ANSWER: Denied.

         70.     For example, Defendant actively induces infringement of the ’551 patent, because

 Defendant has knowledge that end users of Defendant’s iTero Element Scanners including, but

 not limited to, dentists and technicians, use Defendant’s infringing iTero Element Scanners

 product in the United States, and because Defendant encourages such acts resulting in direct patent

 infringement, by, inter alia, training, promotion, sales, and/or importation of the infringing iTero



                                                  21
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 22 of 238 PageID #: 659




 Element Scanners to Defendant’s customers including, but not limited to, resellers and end users

 for their use of the system claimed in the ’551 patent.

 ANSWER: Denied.

          71.    On information and belief, Defendant intends to, and continues to intend to,

 indirectly infringe the ’551 patent through inducement of the sale and use of the Accused Products.

 ANSWER: Denied.

          72.    Defendant knew or should have known of the ’551 patent and has acted, and

 continues to act, in an egregious and wanton manner by infringing the ’551 patent.

 ANSWER: Denied.

          73.    Despite knowing that its actions constituted inducement infringement of the ’551

 patent and/or despite knowing that there was a high likelihood that its actions constituted

 inducement infringement of the patent, Defendant nevertheless continued its infringing actions,

 and continues to make, use, and sell, the Accused Products.

 ANSWER: Denied.

          74.    Defendant’s acts of infringement have injured and damaged Plaintiff and will

 continue to injure and damage Plaintiff.

 ANSWER: Denied.

          75.    Defendant’s actions have caused Plaintiff to suffer irreparable harm resulting from

 the loss of its lawful patent rights and the loss of its ability to exclude others from the market.

 Upon information and belief, Defendant will continue these infringing acts unless enjoined by this

 court.

 ANSWER: Denied.

                COUNT 3: INDIRECT INFRINGEMENT OF THE ’551 PATENT
                          BY CONTRIBUTORY INFRINGEMENT

                                                 22
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 23 of 238 PageID #: 660




        76.      Plaintiff repeats and realleges paragraphs 1 to 75 as if fully set forth herein.

 ANSWER: Align restates and reincorporates its responses to paragraphs 1-75 as if fully set

 forth herein.

        77.      Defendant is liable for contributory infringement of the ’551 patent under 35 U.S.C.

 §271(c) by having sold or offered to sell, and continuing to sell or offer for sale the iTero Element

 Scanners within the United States and/or by importing the iTero Element Scanners into the United

 States because the iTero Element Scanners constitute a material part of the invention embodied in

 the ’551 patent, which Defendant knows to be especially made and/or especially adapted for use

 in infringement of the ’551 patent, and which is not a staple article or commodity of commerce

 suitable for substantial non-infringing use.

 ANSWER: Denied.

        78.      Defendant is liable for contributory infringement by having knowledge of the ’551

 patent and knowingly causing or intending to cause, and continuing to knowingly cause or intend

 to cause, direct infringement of the ’551 patent by its customers including, but not limited to,

 resellers and end users of the iTero Element Scanners.

 ANSWER: Denied.

        79.      Specifically, Defendant contributes to infringement of the ’551 patent by, inter alia,

 promotion, sales, and/or importation of the infringing iTero Element Scanners to Defendant’s

 customers including, but not limited to, resellers and end users for their use of the system claimed

 in the ’551 patent. Those customers directly infringe the ’551 patent by making, using, selling,

 offering for sale, and/or importing the iTero Element Scanners. For example, Defendant is liable

 for contributory infringement by having knowledge of the ’551 patent and knowingly causing or

 intending to cause, and continuing to knowingly cause or intend to cause, end users of Defendant’s



                                                   23
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 24 of 238 PageID #: 661




 iTero Element Scanners including, but not limited to, dentists and technicians, to directly infringe

 the ’551 patent by using Defendant’s iTero Element Scanners in the United States.

 ANSWER: Denied.

           80.   Defendant’s past and ongoing infringement of the ’551 patent has and will continue

 to irreparably harm Plaintiff.

 ANSWER: Denied.

           81.   Defendant’s past and ongoing infringement of the ’551 patent has and will continue

 to cause Plaintiff damages.

 ANSWER: Denied.

           82.   Defendant’s past and ongoing infringement of the ’551 patent, upon information

 and belief, has been knowing and willful.

 ANSWER: Denied.

                 COUNT 4: DIRECT INFRINGEMENT OF THE ’042 PATENT

           83.   Plaintiff incorporates by reference the preceding paragraphs as if set forth fully

 herein.

 ANSWER: Align restates and reincorporates its responses to the preceding paragraphs as if

 fully set forth herein.

           84.   This cause of action arises under the patent laws of the United States, and in

 particular, 35 U.S.C. §§ 271, et seq.

 ANSWER: This paragraph contains legal conclusions to which no response is required. To the

 extent any response is required, Align admits that Plaintiff purports to bring this action under the

 patent laws of the United States, including 35 U.S.C. § 271. To the extent there are any

 remaining allegations in this paragraph not addressed by the foregoing, Align denies them.



                                                  24
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 25 of 238 PageID #: 662




        85.     The ’042 patent was duly and lawfully issued by the United States Patent and

 Trademark Office (“USPTO”) on July 9, 2019, to listed inventors Rune Fisker, Henrik Öjelund,

 Rasmus Kjaer, Mike van der Poel, Arish A. Qazi and Karl-Josef Hollenbeck.

 ANSWER: Align admits that on July 9, 2019, the United States Patent and Trademark Office

 issued U.S. Patent No. 10,349,042 (“the ’042 patent”), naming Rune Fisker, Henrik Öjelund,

 Rasmus Kjaer, Mike van der Poel, Arish A. Qazi and Karl-Josef Hollenbeck as the inventors. To

 the extent there are any remaining allegations in this paragraph, Align denies them.

        86.     Plaintiff is the owner by assignment of all right, title and interest in and to the ’042

 patent. Evidence of the assignment of the ’042 patent to Plaintiff is recorded with the USPTO at

 Reel/Frame 048470/0993. Plaintiff is listed on the face of the ’042 patent as assignee.

 ANSWER: Align admits that 3Shape A/S is listed on the face of the ’042 patent as assignee.

 Align denies the remaining allegations of this paragraph.

        87.     The ’042 patent is entitled, “Focus Scanning Apparatus.”

 ANSWER: Align admits that the ’042 patent is entitled “Focus Scanning Apparatus.”

        88.     The ’042 patent is directed to intraoral scanners for providing data for 3D geometry

 of at least a part of the surface of an object in an oral cavity, and methods of providing data for 3D

 geometry of at least a part of the surface of an object in an oral cavity using an intraoral scanner.

 ANSWER: Denied.

        89.     Defendant makes, uses, offers to sell, sells, imports, promotes and/or demonstrates

 versions of its iTero Element Scanners, including the wand, cart, and/or related software, and other

 related products (“Accused Products”) in the United States.

 ANSWER: Align admits that it makes, uses, offers to sell, sells, imports, promotes and/or

 demonstrates versions of its iTero Element Scanners, including the wand and cart, in the United



                                                  25
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 26 of 238 PageID #: 663




 States. To the extent this allegations concerns “related software [] and other related products”,

 such software and products are unidentified and Align therefore denies this allegation with

 respect to the same.

        90.     Defendant possesses knowledge of, and is aware of, the ’042 patent.

 ANSWER: Admitted.

        91.     Defendant has been and is now directly infringing, literally and/or under the

 doctrine of equivalents at least claims 1, 17, 19, and 21 of the ’042 patent.

 ANSWER: Denied.

        92.     Each of Defendant’s Accused Products includes an intraoral scanner for providing

 data for 3D geometry of at least a part of the surface of an object in an oral cavity, and a method

 of providing data for 3D geometry of at least a part of the surface of an object in an oral cavity

 using an intraoral scanner.

 ANSWER: Denied.

        93.     Upon information and belief, each of Defendant’s iTero Element Scanners

 comprises a color image sensor comprising an array of sensor elements.

 ANSWER: Denied.

        94.     Upon information and belief, each of Defendant’s iTero Element Scanners

 comprises lighting equipment configured to generate a probe light.

 ANSWER: Denied.

        95.     Upon information and belief, each of Defendant’s iTero Element Scanners

 comprises an optical system comprising a beam splitter, at least one lens, and a tip configured to

 be inserted into the oral cavity.

 ANSWER: Denied.



                                                  26
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 27 of 238 PageID #: 664




         96.      Upon information and belief, in each of Defendant’s iTero Element Scanners, the

 intraoral scanner is configured to operate by translating a focus plane along an optical axis of the

 optical system to capture one or more 2D images.

 ANSWER: Denied.

         97.      Upon information and belief, in each of Defendant’s iTero Element Scanners, the

 lens is configured such that the intraoral scanner transmits a part of the probe light from the lighting

 equipment through the optical system and towards the object such that the part of the probe light

 is focused onto at least two different parts of the object, wherein the part of the probe light as

 focused on a first part of the object is defined by a first divergence angle in relation to a first

 propagation axis, wherein the part of the probe light as focused on a second part of the object is

 defined by a second divergence angle in relation to a second propagation axis, and the first

 propagation axis and the second propagation axis are non-parallel.

 ANSWER: Denied.

         98.      Upon information and belief, in each of Defendant’s iTero Element Scanners,

 reflected light results from the part of the probe light being reflected from the part of the surface

 of the object.

 ANSWER: Denied.

         99.      Upon information and belief, in each of Defendant’s iTero Element Scanners, the

 intraoral scanner is further configured to transmit the reflected light from the part of the surface of

 the object back through the optical system such that the reflected light is focused on the color

 image sensor, the color image sensor being configured to produce the data for the 3D geometry

 from a series of 2D images captured by the intraoral scanner translating the focus plane along the




                                                   27
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 28 of 238 PageID #: 665




 optical axis of the optical system, at least one of the series of 2D images being generated using the

 reflected light focused on the color image sensor.

 ANSWER: Denied.

        100.    These features of each of the iTero Element Scanners in paragraphs 93 to 99 above

 correspond to those recited and claimed in at least claim 1 of the ’042 patent.

 ANSWER: Denied.

        101.    Upon information and belief, in each of Defendant’s iTero Element Scanners, the

 lens is configured such that the intraoral scanner transmits at least a part of the probe light from

 the lighting equipment through the optical system and towards the object such that the part of the

 probe light is non-telecentrically focused on a part of the surface of the object.

 ANSWER: Denied.

        102.    These features of each of the iTero Element Scanners in paragraph 101 above

 correspond to those recited and claimed in at least claim 17 of the ’042 patent.

 ANSWER: Denied.

        103.    Upon information and belief, in each of Defendant’s iTero Element Scanners, the

 lens is configured such that the intraoral scanner transmits at least a part of the probe light from

 the lighting equipment through the optical system and towards the object such that the part of the

 probe light is focused onto at least two different parts of the object, wherein the part of the probe

 light as focused on a first part of the object is defined by a first divergence angle in relation to a

 first propagation axis, wherein the part of the probe light as focused on a second part of the object

 is defined by a second divergence angle in relation to a second propagation axis, and the first

 propagation axis diverges from the second propagation axis.

 ANSWER: Denied.



                                                  28
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 29 of 238 PageID #: 666




        104.    These features of each of the iTero Element Scanners in paragraph 103 above

 correspond to those recited and claimed in at least claim 21 of the ’042 patent.

 ANSWER: Denied.

        105.    Upon information and belief, operation of each of Defendant’s iTero Element

 Scanners comprises inserting the tip into the oral cavity.

 ANSWER: Denied.

        106.    Upon information and belief, operation of each of Defendant’s iTero Element

 Scanners comprises generating a probe light using the lighting equipment.

 ANSWER: Denied.

        107.    Upon information and belief, operation of each of Defendant’s iTero Element

 Scanners comprises transmitting at least a part of the probe light from the lighting equipment

 through the optical system and towards the object such that the part of the probe light is non-

 telecentrically focused on at least a part of the surface of the object.

 ANSWER: Denied.

        108.    Upon information and belief, operation of each of Defendant’s iTero Element

 Scanners comprises reflecting the part of the probe light from the part of the surface of the object

 to produce reflected light.

 ANSWER: Denied.

        109.    Upon information and belief, operation of each of Defendant’s iTero Element

 Scanners comprises transmitting the reflected light from the part of the surface of the object back

 through the optical system such that the reflected light is focused on the color image sensor, the

 color image sensor producing the data for the 3D geometry from a series of 2D images captured

 by the intraoral scanner translating a focus plane along an optical axis of the optical system, at



                                                   29
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 30 of 238 PageID #: 667




 least one of the series of 2D images being generated using the reflected light focused on the color

 image sensor.

 ANSWER: Denied.

        110.     These features of each of the iTero Element Scanners in paragraphs 105-109 above

 correspond to those recited and claimed in at least claim 19 of the ’042 patent.

 ANSWER: Denied.

        111.     For example, upon information and belief, Defendant describes its iTero Element

 Scanner on an online webpage entitled “Products | iTero Intraoral Scanner,” a copy of which is

 attached hereto as Exhibit G. The webpage contains text and an image describing and showing the

 iTero Element Scanner, and that it embodies the focus scanner recited in at least claims 1, 17, 19

 and 21 of the ’042 patent. See Products | iTero Intraoral Scanner (2016), http://www.itero.com/en-

 us/products/itero_element (last visited June 20, 2019) (the “Products | iTero Intraoral Scanner”

 webpage). The “Products | iTero Intraoral Scanner” webpage illustrates that a focus scanner

 comprises a color image sensor comprising an array of sensor elements, as recited in claims 1, 17,

 19 and 21 of the ’042 patent. See the “Products | iTero Intraoral Scanner” webpage (“Color

 scanning gives you a significant leap forward in visualization. The color sensor is integrated in the

 iTero Element scanner, and the patented dual-aperture lens system is designed to simultaneously

 capture 2D images in color with highly accurate 3D laser scanning.”).

 ANSWER: Align admits that the webpage states “[c]olor scanning gives you a significant leap

 forward in visualization. The color sensor is integrated in the iTero Element scanner, and the

 patented dual-aperture lens system is designed to simultaneously capture 2D iamges in color

 with highly accurate 3D laser scanning.” Align denies the remaining allegations in this

 paragraph.



                                                  30
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 31 of 238 PageID #: 668




         112.    In addition, upon information and belief, Defendant illustrated the “Products | iTero

 Intraoral Scanner” webpage with the following image:




 ANSWER: Align admits that the webpage includes the excerpted image. To the extent there

 are any remaining allegations in this paragraph not addressed by the foregoing, Align denies

 them.

         113.    The image shows that the iTero Element Scanner comprises a tip configured to be

 inserted into the oral cavity, and reflecting light off of an object in the oral cavity.

 ANSWER: Denied.

         114.    In addition, upon information and belief, Defendant describes its iTero Element

 Scanner on an online webpage entitled “iTero intraoral scanners,” a copy of which is attached

 hereto as Exhibit H. The webpage contains text and images describing and showing the iTero

 Element Scanner and that it embodies the focus scanner recited in at least claims 1, 17, 19 and 21

 of       the       ’042        patent.               See        Align        Technology      (2019).

 http://www.aligntech.com/solutions/itero_scanner (last visited June 20, 2019) (the “iTero intraoral

 scanners” webpage). The “iTero intraoral scanners” webpage illustrates that a focus scanner

 comprises lighting equipment configured to generate a probe light, wherein the intraoral scanner

 is configured to operate by translating a focus plane along an optical axis of the optical system to


                                                    31
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 32 of 238 PageID #: 669




 capture one or more 2D images, and wherein the intraoral scanner is further configured to transmit

 the reflected light from the part of the surface of the object back through the optical system such

 that the reflected light is focused on the color image sensor, the color image sensor being

 configured to produce the data for the 3D geometry from a series of 2D images captured by the

 intraoral scanner translating the focus plane along the optical axis of the optical system, at least

 one of the series of 2D images being generated using reflected light focused on the color image

 sensor, as recited in at least claims 1, 17 and 21 of the ’042 patent. See the “iTero intraoral

 scanners” webpage (“The iTero Element intraoral scanner . . . . [i]ts parallel confocal imaging

 technology uses optical and laser scanning to achieve accurate scans in color.”).

 ANSWER: Align admits that the webpage states “The iTero Element intraoral scanner” and

 “[i]ts parallel confocal imaging technology uses optical and laser scanning to achieve accurate

 scans in color.” Align denies the remaining allegations in this paragraph.

         115.    Upon information and belief, each of Defendant’s iTero Element Scanners is

 configured such that the part of the probe light is focused onto at least two different parts of the

 object, wherein the part of the probe light as focused on a first part of the object is defined by a

 first divergence angle in relation to a first propagation axis, wherein the part of the probe light as

 focused on a second part of the object is defined by a second divergence angle in relation to a

 second propagation axis, and the first propagation axis and the second propagation axis are non-

 parallel (as recited in at least claim 1 of the ’042 patent), such that at least a part of the probe light

 is non-telecentrically focused on at least a part of the surface of the object (as recited in at least

 claims 17 and 19 of the ’042 patent), and such that the part of the probe light is focused onto at

 least two different parts of the object, wherein the part of the probe light as focused on a first part

 of the object is defined by a first divergence angle in relation to a first propagation axis, wherein



                                                    32
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 33 of 238 PageID #: 670




 the part of the probe light as focused on a second part of the object is defined by a second

 divergence angle in relation to a second propagation axis, and the first propagation axis diverges

 from the second propagation axis (as recited in at least claim 21 of the ’042 patent).

 ANSWER: Denied.

        116.    Defendant has sold and/or offered for sale its iTero Element Scanners in the United

 States at trade shows in Chicago, IL, New York, NY and Detroit, MI. The “Align Technology

 Announces Next Generation iTero(R) Element(TM) Intraoral Scanner” webpage (last visited May

 4, 2018), attached hereto as Exhibit E, is further evidence of Defendant’s sale and/or offer for sale

 of the iTero Element Scanner product in the United States.

 ANSWER: Align admits that it has sold and/or offered for sale its iTero Element Scanner in the

 United States at trade shows in Chicago, IL, New York, NY and Detroit, MI. Align denies the

 remaining allegations in this paragraph.

        117.    Defendant thus directly infringes, literally and/or under the doctrine of equivalents,

 and/or indirectly infringes, at least claims 1, 17, 19 and 21 of the ’042 patent.

 ANSWER: Denied.

        118.    On information and belief, Defendant intends to, and continues to intend to, directly

 infringe the ’042 patent through the sale of the Accused Products.

 ANSWER: Denied.

        119.    Defendant knew or should have known of the ’042 patent and its infringement of

 the ’042 patent, and has acted and continues to act, in an egregious and wanton manner by

 infringing the ’042 patent.

 ANSWER: Denied.




                                                  33
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 34 of 238 PageID #: 671




         120.    Despite knowing that its actions constituted infringement of the ’042 patent and/or

 despite knowing that there was a high likelihood that its actions constituted infringement of the

 patent, Defendant nevertheless continued its infringing actions, and continues to make, use, and

 sell, the Accused Products.

 ANSWER: Denied.

         121.    Defendant’s acts of infringement have injured and damaged Plaintiff and will

 continue to injure and damage Plaintiff.

 ANSWER: Denied.

         122.    Defendant’s actions have caused Plaintiff to suffer irreparable harm resulting from

 the loss of its lawful patent rights and the loss of its ability to exclude others from the market.

 ANSWER: Denied.

         123.    Upon information and belief, Defendant will continue these infringing acts unless

 enjoined by this court.

 ANSWER: Denied.

   COUNT 5: INDIRECT INFRINGEMENT OF THE ’042 PATENT BY INDUCEMENT

         124.    Plaintiff repeats and realleges the allegations set forth in paragraphs 1 to 123 above

 as if fully set forth herein.

 ANSWER: Align restates and reincorporates its responses to preceding paragraphs 1 to 123 as

 if fully set forth herein.

         125.    Defendant is liable for inducing infringement of the ’042 patent under 35 U.S.C.

 §271(b) by having knowledge of the ’042 patent and knowingly causing or intending to cause, and

 continuing to knowingly cause or intend to cause, direct infringement of the ’042 patent, with

 specific intent, by its customers.

 ANSWER: Denied.
                                                   34
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 35 of 238 PageID #: 672




        126.    Specifically, Defendant actively induces infringement of the ’042 patent by, inter

 alia, training its customers on the use of the Accused Products and/or promotion, sales, and/or

 importation of the Accused Products including the infringing iTero Element Scanners to

 Defendant’s customers including, but not limited to, resellers and end users for their use of the

 system claimed in the ’042 patent.

 ANSWER: Denied.

        127.    Defendant’s customers for the Accused Products directly infringe the ’042 patent

 by making, using, selling, offering for sale, and/or importing the iTero Element Scanners.

 ANSWER: Denied.

        128.    For example, Defendant actively induces infringement of the ’042 patent, because

 Defendant has knowledge that end users of Defendant’s iTero Element Scanners including, but

 not limited to, dentists and technicians, use Defendant’s infringing iTero Element Scanners

 product in the United States, and because Defendant encourages such acts resulting in direct patent

 infringement, by, inter alia, training, promotion, sales, and/or importation of the infringing iTero

 Element Scanners to Defendant’s customers including, but not limited to, resellers and end users

 for their use of the system claimed in the ’042 patent.

 ANSWER: Denied.

        129.    On information and belief, Defendant intends to, and continues to intend to,

 indirectly infringe the ’042 patent through inducement of the sale and use of the Accused Products.

 ANSWER: Denied.

        130.    Defendant knew or should have known of the ’042 patent and has acted, and

 continues to act, in an egregious and wanton manner by infringing the ’042 patent.

 ANSWER: Denied.



                                                 35
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 36 of 238 PageID #: 673




          131.    Despite knowing that its actions constituted inducement infringement of the ’042

 patent and/or despite knowing that there was a high likelihood that its actions constituted

 inducement infringement of the patent, Defendant nevertheless continued its infringing actions,

 and continues to make, use, and sell, the Accused Products.

 ANSWER: Denied.

          132.    Defendant’s acts of infringement have injured and damaged Plaintiff and will

 continue to injure and damage Plaintiff.

 ANSWER: Denied.

          133.    Defendant’s actions have caused Plaintiff to suffer irreparable harm resulting from

 the loss of its lawful patent rights and the loss of its ability to exclude others from the market.

 Upon information and belief, Defendant will continue these infringing acts unless enjoined by this

 court.

 ANSWER: Denied.

                 COUNT 6: INDIRECT INFRINGEMENT OF THE ’042 PATENT
                           BY CONTRIBUTORY INFRINGEMENT

          134.    Plaintiff repeats and realleges paragraphs 1 to 133 as if fully set forth herein.

 ANSWER: Align restates and reincorporates its responses to preceding paragraphs 1 to 133 as

 if fully set forth herein

          135.    Defendant is liable for contributory infringement of the ’042 patent under 35 U.S.C.

 §271(c) by having sold or offered to sell, and continuing to sell or offer for sale the iTero Element

 Scanners within the United States and/or by importing the iTero Element Scanners into the United

 States because the iTero Element Scanners constitute a material part of the invention embodied in

 the ’042 patent, which Defendant knows to be especially made and/or especially adapted for use




                                                    36
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 37 of 238 PageID #: 674




 in infringement of the ’042 patent, and which is not a staple article or commodity of commerce

 suitable for substantial non-infringing use.

 ANSWER: Denied.

        136.    Defendant is liable for contributory infringement by having knowledge of the ’042

 patent and knowingly causing or intending to cause, and continuing to knowingly cause or intend

 to cause, direct infringement of the ’042 patent by its customers including, but not limited to,

 resellers and end users of the iTero Element Scanners.

 ANSWER: Denied.

        137.    Specifically, Defendant contributes to infringement of the ’042 patent by, inter alia,

 promotion, sales, and/or importation of the infringing iTero Element Scanners to Defendant’s

 customers including, but not limited to, resellers and end users for their use of the system claimed

 in the ’042 patent. Those customers directly infringe the ’042 patent by making, using, selling,

 offering for sale, and/or importing the iTero Element Scanners. For example, Defendant is liable

 for contributory infringement by having knowledge of the ’042 patent and knowingly causing or

 intending to cause, and continuing to knowingly cause or intend to cause, end users of Defendant’s

 iTero Element Scanners including, but not limited to, dentists and technicians, to directly infringe

 the ’042 patent by using Defendant’s iTero Element Scanners in the United States.

 ANSWER: Denied.

        138.    Defendant’s past and ongoing infringement of the ’042 patent has and will continue

 to irreparably harm Plaintiff.

 ANSWER: Denied.

        139.    Defendant’s past and ongoing infringement of the ’042 patent has and will continue

 to cause Plaintiff damages.



                                                 37
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 38 of 238 PageID #: 675




 ANSWER: Denied.

        140.    Defendant’s past and ongoing infringement of the ’042 patent, upon information

 and belief, has been knowing and willful.

 ANSWER: Denied.


                                      PRAYER FOR RELIEF

        Defendant denies that Plaintiff is entitled to any of the relief requested by the Complaint,

 or any other remedy or relief whatsoever.

                                   AFFIRMATIVE DEFENSES

        Without any admission as to burden of proof, burden of persuasion, or the truth of any of

 the allegations in Plaintiff’s Complaint, Defendant states the following affirmative defenses.

 Defendant reserves the right to assert additional defenses, as warranted by the facts learned

 through investigation and discovery.

                                    First Affirmative Defense
                             (Invalidity of U.S. Patent No. 9,629,551)

        One or more claims of the ’551 patent are invalid for failure to comply with one or more

 of the requirements for patentability set forth in Title 35 of the U.S. Code, including §§ 101, 102,

 103, and 112, and/or invalid under any other ground provided by 35 U.S.C. § 282, and/or based

 on other judicially-created bases for invalidity.

                                   Second Affirmative Defense
                         (Non-Infringement of U.S. Patent No. 9,629,551)

        Plaintiff has failed to aver any facts that support its allegations of infringement by the

 proposed Accused Products. The Accused Products will not infringe any valid and enforceable

 claim of the ’551 patent, either literally or under the doctrine of equivalents.




                                                     38
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 39 of 238 PageID #: 676




                                      Third Affirmative Defense
                               (Invalidity of U.S. Patent No. 10,349,042)

         One or more claims of the ’042 patent are invalid for failure to comply with one or more

 of the requirements for patentability set forth in Title 35 of the U.S. Code, including §§ 101, 102,

 103, and 112, and/or invalid under any other ground provided by 35 U.S.C. § 282, and/or based

 on other judicially-created bases for invalidity.

                                     Fourth Affirmative Defense
                           (Non-Infringement of U.S. Patent No. 10,349,042)

         Plaintiff has failed to aver any facts that support its allegations of infringement by the

 proposed Accused Products. The Accused Products will not infringe any valid and enforceable

 claim of the ’042 patent, either literally or under the doctrine of equivalents.

                                      Fifth Affirmative Defense
                                    (Prosecution History Estoppel)

         Plaintiff is estopped from arguing and has waived arguments that the claims of the ’551

 and ’042 patents cover Align products by virtue of amendments, positions, and arguments made

 to the USPTO when obtaining the asserted patent.

                                      Sixth Affirmative Defense
                                      (Failure to State a Claim)

         Plaintiff’s Complaint fails to state a claim upon which relief can be granted.

                                     Seventh Affirmative Defense
                                         (Lack of Standing)

         Plaintiff does not have standing to assert claims for patent infringement under 35 U.S.C.

 § 271(a), (b), and (c).




                                                     39
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 40 of 238 PageID #: 677




                                   Eighth Affirmative Defense
            (Equitable Estoppel, Laches, Waiver, Acquiescence, and/or Unclean Hands)

        Plaintiff’s claims for relief are barred by the doctrines of waiver, laches, acquiescence,

 unclean hands, and/or estoppel with respect to asserted claims of the ’551 and ’042 patents

 because Plaintiff misled Align as to its intent not to enforce these patents against Align after it

 learned, or through reasonable diligence should have learned, of its causes of action against

 Align, and since such time Align has expended substantial amounts of time, money, and effort to

 build its business, brand and recognition of its name and products.

                                     Ninth Affirmative Defense
                                       (Covenant Not to Sue)

        Plaintiff has covenanted not to sue Align on the asserted patents.

                                     Tenth Affirmative Defense
                                             (License)

        Plaintiff’s claims are barred with respect to the asserted claims of the ’551 and ’042

 patents to the extent the accused Align products are expressly or impliedly licensed under these

 patents.

                                   Eleventh Affirmative Defense
                                         (Patent Misuse)

        Plaintiff’s claims are barred, in whole or in part, by the doctrine of patent misuse.

                                    Twelfth Affirmative Defense
                 (Unavailability of Relief – Bar to Damages, Marking and Notice)

        Plaintiff’s claim for relief is barred, in whole or in part, because Plaintiff is not entitled to

 damages under 35 U.S.C. § 286, Plaintiff has failed to plead and meet the requirements of 35

 U.S.C. § 287 on marking and notice, and has otherwise failed to show that it is entitled to any

 damages prior to the filing date of Plaintiff’s Complaint for Patent Infringement.




                                                   40
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 41 of 238 PageID #: 678




                                Thirteenth Affirmative Defense
                             (Additional Defenses or Counterclaims)

          Defendant reserves all defenses available under the Federal Rules of Civil Procedure and

 the U.S. Patent laws and any additional defenses or counterclaims that discovery may reveal

 including that Plaintiff has failed to aver any facts supporting the conclusion that it has suffered

 any irreparable injury or harm under 35 U.S.C. § 282, and that Plaintiff has failed to aver any

 facts supporting that this is an exception case and/or an award of attorney’s fees under 35 U.S.C.

 § 285.

          WHEREFORE, Defendant requests that Plaintiff’s Complaint be dismissed with

 prejudice and that Defendant be awarded the costs of this action, its attorneys’ fees, and all other

 relief that this Court deems just and proper.

                                        COUNTERCLAIMS

          For their counterclaims against Counterclaim-Defendant 3Shape A/S (“Counterclaim-

 Defendant” or “3Shape”), Counterclaim-Plaintiff Align Technology, Inc. (collectively

 “Counterclaim-Plaintiff” or “Align”), state as follows:

                                              PARTIES

          1.     Align is a United States corporation organized and existing under the laws of

 Delaware, with a principal place of business at 2820 Orchard Parkway, San Jose, California

 95134.

          2.     Upon information and belief, Counterclaim-Defendant 3Shape is a Danish

 corporation with a principal place of business at Holmens Kanal 7, 1060 Copenhagen K,

 Denmark.

                                  JURISDICTION AND VENUE




                                                  41
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 42 of 238 PageID #: 679




         3.       Counterclaim-Plaintiff’s counterclaims arise under the Patent Laws of the United

 States, 35 U.S.C. § et seq. and the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202.

         4.       This Court has original jurisdiction over the subject matter of these counterclaims

 pursuant to 28 U.S.C. §§ 1331, 1338, 2201, and 2202.

         5.       This Court has personal jurisdiction over Counterclaim-Defendant because

 Counterclaim-Defendant has availed itself of the rights and privileges of this forum by bringing

 this civil action in this judicial district and because, upon information and belief, Counterclaim-

 Defendant conducts substantial business in, and has regular and systematic contact with, this

 judicial district.

         6.       Further, 3Shape has, directly or through agents and/or intermediaries, committed

 acts within Delaware giving rise to this action and/or have established minimum contacts with

 Delaware such that the exercise of jurisdiction would not offend traditional notions of fair play

 and justice. On information and belief, 3Shape regularly conducts business in Delaware, and

 purposefully availed itself of the privileges of conducting business in Delaware. In particular, on

 information and belief, 3Shape, directly and/or through its agents and/or intermediaries, make,

 use, import, offer for sale, sell, and/or advertise their products and affiliated services in

 Delaware. 3Shape has placed, and continues to place, infringing products into the stream of

 commerce, via an established distribution channel, with the knowledge and/or understanding that

 such products are sold in the United States including in Delaware and specifically including this

 District.

         7.       On information and belief, 3Shape has derived substantial revenue from their

 infringing activity occurring within the State of Delaware and within this District and/or should

 reasonably expect their actions to have consequences in Delaware. In addition, 3Shape has



                                                   42
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 43 of 238 PageID #: 680




 knowingly induced and continues to knowingly induced infringement within this District by

 advertising, marketing, offering for sale and/or selling devices containing infringing functionality

 within this District to at least resellers, distributors, customers, dentists, orthodontists, dental and

 orthodontic labs, and/or other end users, and by providing instructions, user manuals, in person

 and/or online training, advertising and/or marketing materials which facilitate, direct or

 encourage the use of infringing functionality with knowledge thereof.

         8.      3Shape has committed patent infringement in Delaware that has led to foreseeable

 harm and injury to Align, a Delaware corporation.

         9.      Additionally, 3Shape is subject to jurisdiction in the United States, and

 specifically in Delaware, pursuant to Fed. R. Civ. P. 4(k)(2).

         10.     Venue for these counterclaims is proper in this judicial district pursuant to 28

 U.S.C. §§ 1391(b) and (c) and 1400(b).

                                    FACTUAL BACKGROUND

         11.     Align was founded in 1997 and is a global medical device company with industry

 leading innovative products such as the iTero intraoral scanner and the Invisalign clear aligner

 system that help dental and orthodontic professionals deliver effective, cutting-edge dental and

 restorative and orthodontic options to their patients.

         12.     Align’s iTero intraoral scanners scan and provide, in conjunction with Align’s

 Invisalign orthodontic system, color 3D imaging of an intraoral surface, such as the teeth and

 gums, without drying and powdering the intraoral surface, resulting in a digital impression.

 Align’s intraoral scanners and the software within the iTero and Invisalign systems that works in

 conjunction with the scanner thus eliminate the need for traditional teeth impressions typically

 taken with an elastomeric or other material.



                                                    43
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 44 of 238 PageID #: 681




        13.     The digital impression captured by Align’s iTero intraoral scanners, when teamed

 with Align’s Invisalign system, can be used in a variety of dental and orthodontic applications

 such as, for example, tracking a patient’s progress during the Invisalign treatment, tracking

 changes in a patient’s dentition over time, mapping the occlusion of a patient’s teeth, and

 correcting inaccurate scan data.

        14.     Align’s iTero intraoral scanner and Invisalign system constitute a proprietary

 system and method for treating, among other things, malocclusion, misalignment, and/or chipped

 or missing teeth using a high-precision, high-speed intraoral scanner and related software to

 create a variety of orthodontic and dental devices including, but not limited to, crowns, bridges,

 bracket templates, aligners and implants. Each dental device is custom-manufactured for each

 patient using computer-aided design techniques and sophisticated computer graphic interfaces to

 communicate with the patient’s dental or orthodontic professional in the planning,

 implementation, and revision of the customized treatment program.

        15.     Align’s iTero intraoral scanner and Invisalign system developed by Align over

 many years and at great expense and effort, represent a breakthrough in the manufacturing and

 principle of “mass customization” and a vast improvement over conventional methods for

 treating, among other things, chipped or missing teeth, misalignment of teeth and malocclusion.

 Additionally, the iTero intraoral scanner and Invisalign system provide a “chair-side” platform

 for live viewing of the digital impression as it is being built on the display screen during

 scanning, for accessing valuable digital diagnosis and treatment tools, and for enhancing

 accuracy of records, treatment efficiency, and the overall patient experience. The innovations

 embodied in Align’s iTero intraoral scanner and Invisalign system are protected by numerous

 United States and foreign patents.



                                                  44
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 45 of 238 PageID #: 682




        16.     Align’s iTero scanners do not infringe any claims of the ’551 or ’042 patents.

        17.     The ’551 and ’042 patents, including all claims, are invalid.

        18.     On information and belief, 3Shape designs, develops, manufactures, and markets

 the Trios 3 and 4 scanners. Moreover, 3Shape is involved in the sale of and/or importation into

 the United States of intraoral scanners, digital models, and digital data for dental and orthodontic

 applications including, but not limited to, crowns, bridges, bracket templates, aligners and

 implants. 3Shape’s intraoral scanners for dental and orthodontic applications described above

 embody and/or use the patented apparatuses, systems, and methods at issue.

        19.     3Shape’s website, www.3Shape.com , provides a Webshop for sales of its

 products and updating subscriptions to its software. 3Shape’s website also offers training and

 videos on how to use the Trios 3 and 4 scanners. Additionally, 3Shape has a YouTube channel

 with training videos at www.youtube.com/3ShapeTrainingVideos showing how to use the Trios

 3 and 4 scanners. 3Shape’s website provides information for contacts in the United States for its

 Sales and 3Shape Academy Training.

        20.     3Shape’s website further provides a Resources page with user manuals on the

 products and how to use the products to encourage purchase and use of 3Shape products,

 including for the Trios 3 and 4 scanners.

        21.     3Shape has, directly or through agents and/or intermediaries, attended trade shows

 in the United States, where it has demonstrated, and continues to demonstrate, the use of the

 Trios 3 and 4 scanners and its software to the public and orthodontists. 3Shape has, directly or

 through agents and/or intermediaries, demonstrated the products at trade shows because it hopes

 that someone will buy its products.




                                                  45
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 46 of 238 PageID #: 683




        22.      On information and belief, 3Shape has, directly or through agents and/or

 intermediaries, used, sold, and offered for sale its Trios 3 and 4 scanners at conferences in the

 United States, including the American Association of Orthodontics 2019 Annual Meeting.

        23.      3Shape’s Trios 3 and 4 scanners directly compete with Align’s iTero scanners.

 On information and belief, 3Shape developed, made and sold its intraoral scanners with the

 intent to directly compete with Align’s intraoral scanners and software. Before introducing its

 products, 3Shape was aware of the structure, design, and operation of Align’s patented intraoral

 scanners, including but not limited to intraoral scanners developed by Cadent Holdings, Inc.

 (“Cadent”) which Align acquired on April 29, 2011. Moreover, 3Shape has previously entered

 into agreements with Align that provided 3Shape with significant access to Align’s patented

 technologies.

        24.      On information and belief, 3Shape developed, made, and sold its infringing Trios

 3 and 4 scanners despite having knowledge of the Align Patents-In-Suit based, at a minimum on

 (i) its knowledge of the Align intraoral scanners being covered by numerous patents including

 the patent at issue through its prior business dealings with Align, including those with Cadent,

 whereby 3Shape acquired specific and detailed knowledge from Align regarding the structure,

 function, operation and commercial benefits of the Align products and the patent protection

 afforded to certain structures, functions and operations of the patented Align technology; (ii) by

 virtue of 3Shape’s patent prosecution activities wherein 3Shape is aware of Align’s patent

 portfolio (including citing several Align patents on multiple occasions); and/or (iii) by virtue of

 3Shape’s U.S. Food and Drug Section 510(k) premarket notification of intent to market the

 accused products which identifies 3Shape’s accused products as substantially equivalent to

 Align’s patent practicing products (see, e.g., Exhibit 4).



                                                  46
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 47 of 238 PageID #: 684




                           OVERVIEW OF THE PATENTS-IN-SUIT

        25.     On June 13, 2017, the U.S. Patent and Trademark Office duly and lawfully issued

 U.S. Patent No. 9,675,430 (“the ’430 patent”), entitled “Confocal Imaging Apparatus with

 Curved Focal Surface” naming Tal Verker, Adi Levin, Ofer Saphier, and Maayan Moshe as the

 inventors. Align is the owner by assignment of all right, title and interest in the ’430 patent and

 has exclusive right to bring suit to enforce the patent. Evidence of such assignment has been

 recorded with the U.S. Patent and Trademark Office at Reel/Frame 036430/0819. The claims of

 the ’430 patent are valid and enforceable. A true and correct copy of the ’430 patent is attached

 hereto as Exhibit 1.

        26.     On December 17, 2019, the U.S. Patent and Trademark Office duly and lawfully

 issued U.S. Patent No. 10,507,088 (“the ’088 patent”), entitled “Confocal Imaging Apparatus

 with Simplified Optical Design” naming Tal Verker, Adi Levin, Ofer Saphier, and Maayan

 Moshe as the inventors. Align is the owner by assignment of all right, title and interest in

 the ’088 patent and has exclusive right to bring suit to enforce the patent. Evidence of such

 assignment has been recorded with the U.S. Patent and Trademark Office at Reel/Frame

 048640/0092. The claims of the ’088 patent are valid and enforceable. A true and correct copy of

 the ’088 patent is attached hereto as Exhibit 2.

        27.     On December 17, 2019, the U.S. Patent and Trademark Office duly and lawfully

 issued U.S. Patent No. 10,507,089 (“the ’089 patent”), entitled “Confocal Imaging Apparatus

 with Curved Focal Surface” naming Tal Verker, Adi Levin, Ofer Saphier, and Maayan Moshe as

 the inventors. Align is the owner by assignment of all right, title and interest in the ’089 patent

 and has exclusive right to bring suit to enforce the patent. Evidence of such assignment has been

 recorded with the U.S. Patent and Trademark Office at Reel/Frame 049024/0020. The claims of



                                                    47
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 48 of 238 PageID #: 685




 the ’089 patent are valid and enforceable. A true and correct copy of the ’089 patent is attached

 hereto as Exhibit 3.

                                         COUNT I
                     (Declaratory Judgment of Invalidity of the ’551 Patent)

           28.   Counterclaim-Plaintiff restates and realleges each of the foregoing paragraphs 1-

 13 of the Counterclaims as if fully set forth herein.

           29.   Align is entitled to a declaration that all claims of the ’551 patent are invalid

 pursuant to at least 35 U.S.C. §§ 101, 102, 103 and/or 112.

                                          COUNT II
                 (Declaratory Judgment of Non-Infringement of the ’551 Patent)

           30.   Counterclaim-Plaintiff restates and realleges each of the foregoing paragraphs 1-

 15 of the Counterclaims as if fully set forth herein.

           31.   Align is entitled to a declaration that it does not infringe any claim of the ’551

 patent.

                                        COUNT III
                     (Declaratory Judgment of Invalidity of the ’042 Patent)

           32.   Counterclaim-Plaintiff restates and realleges each of the foregoing paragraphs 1-

 17 of the Counterclaims as if fully set forth herein.

           33.   Align is entitled to a declaration that all claims of the ’042 patent are invalid

 pursuant to at least 35 U.S.C. §§ 101, 102, 103 and/or 112.

                                         COUNT IV
                 (Declaratory Judgment of Non-Infringement of the ’042 Patent)

           34.   Counterclaim-Plaintiff restates and realleges each of the foregoing paragraphs 1-

 19 of the Counterclaims as if fully set forth herein.




                                                   48
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 49 of 238 PageID #: 686




           35.   Align is entitled to a declaration that it does not infringe any claim of the ’042

 patent.

                                           COUNT V
                           (Infringement of U.S. Patent No. 10,507,088)

           36.   Counterclaim-Plaintiff restates and realleges each of the foregoing paragraphs 1-

 35 of the Counterclaims as if fully set forth herein.

           37.   On information and belief, 3Shape has been and is now directly and/or indirectly

 infringing, literally and/or under the doctrine of equivalents, the ’088 patent by making, using,

 selling, and/or offering for sale in the United States, and/or importing into the United States,

 products covered by one or more of the claims of the ’088 patent, including the Trios 3 and 4

 scanners.

           38.   The ’088 patent is generally directed to performing intraoral scans. Claim 1 of

 the ’088 patent recites an imaging apparatus for performing intraoral scans, comprising: a light

 source to provide light; an optical system comprising a plurality of lenses disposed along an

 optical path of the light, wherein the optical system comprises a non-flat focal surface, and

 wherein the optical system comprises focusing optics to perform focusing of the light onto the

 non-flat focal surface and to direct the light toward a three dimensional object to be imaged in an

 oral cavity; a translation mechanism to adjust a location of at least one lens of the plurality of

 lenses to thereby adjust a focusing setting of the optical system and displace the non-flat focal

 surface along an imaging axis defined by the optical path, wherein the at least one lens is a lens

 of the focusing optics, and wherein at least one of a shape or a magnification of the non-flat focal

 surface changes with changes in the focusing setting; and a detector to measure intensities of

 returning light that is reflected off of the three dimensional object and directed back through the

 focusing optics, wherein the intensities of the returning light are to be measured for a plurality of

                                                   49
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 50 of 238 PageID #: 687




 locations of the at least one lens for determination of positions on the imaging axis of a plurality

 of points of the three dimensional object, wherein detected positions of one or more of the

 plurality of points are to be adjusted to compensate for the non-flat focal surface using one or

 more compensation models that provide different adjustments for different focusing settings of

 the optical system.

         39.      Upon information and belief, 3Shape’s Trios 3 and 4 scanners infringe at least

 claim 1 of the ’088 patent. For example, 3Shape’s Trios 3 and 4 scanners comprise a light

 source to provide light, as shown in the demonstration video, TRIOS®3 brochure, and press

 release below.




 (See, e.g., Ex. 5, 3Shape TRIOS®3 Digital Impression Scanning (available at: http://www.dts-

 international.com/trios3).)




 (Id.)

                                                  50
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 51 of 238 PageID #: 688




 (See, e.g., 3Shape TRIOS®3 Digital Impression Solution Brochure (3Shape website, available

 at: https://www.3shape.com/en/scanners/trios-3

 (https://embed.widencdn.net/pdf/plus/3shape/9gjkyqthjr/3Shape-TRIOS-2019-Brochure-

 EN.pdf?u=6xmdhr).)




                                              51
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 52 of 238 PageID #: 689




 (Id.)




 (See, e.g., Ex. 7, 3Shape TRIOS®3 Video (See 3Shape Trios 3 Wireless Insane Speed in Action,

 available at: https://www.youtube.com/watch?v=C5jKnxEyrbU).)

                                             52
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 53 of 238 PageID #: 690




 (See, e.g., Ex. 8, 3Shape TRIOS®4 Video (3Shape's Morten Ryde Demonstrates the New 3Shape

 Trios 4, available at: https://www.youtube.com/watch?v=IJQNd8Ywc3U).)


 For example, the Accused Devices practice these feature as shown in the screenshots below:




                                               53
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 54 of 238 PageID #: 691




 (Showing an example of light being provided from a light source.)




 (Showing an example of a light source for providing light.)




                                                54
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 55 of 238 PageID #: 692




 (Showing an example of a light source providing light.)

        40.     For example, 3Shape’s Trios 3 and 4 scanners include an optical system

 comprising a plurality of lenses disposed along an optical path of the light, wherein the optical

 system comprises a non-flat focal surface, and wherein the optical system comprises focusing

 optics to perform focusing of the light onto the non-flat focal surface and to direct the light

                                                  55
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 56 of 238 PageID #: 693




 toward a three dimensional object to be imaged in an oral cavity, as shown, for example, in the

 demonstration video, TRIOS®3 brochure, and press release below.




 (Showing an example of an optical system comprising a plurality of lenses disposed along an

 optical path of light.)




                                                56
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 57 of 238 PageID #: 694




 (Showing an example of the focusing optics to perform focusing of the light onto the non-flat

 focal surface and to direct the light toward a three dimensional object to be imaged in an oral

 cavity.)

        41.     For example, 3Shape’s Trios 3 and 4 scanners comprise a translation mechanism

 to adjust a location of at least one lens of the plurality of lenses to thereby adjust a focusing

 setting of the optical system and displace the non-flat focal surface along an imaging axis

 defined by the optical path, wherein the at least one lens is a lens of the focusing optics, and


                                                   57
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 58 of 238 PageID #: 695




 wherein at least one of a shape or a magnification of the non-flat focal surface changes with

 changes in the focusing setting, as shown, for example, in the pictures below:




 (Showing an example of a translation mechanism to adjust a location of at least one lens of the

 plurality of lenses within the body of the Trios 3 to thereby adjust a focusing setting of the optical

 system and to displace the non-flat focal surface along an imaging axis defined by the optical path.)




                                                  58
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 59 of 238 PageID #: 696




        42.     On information and belief, 3Shape’s Trios 3 and 4 scanners comprise a detector to

 measure intensities of returning light that is reflected off of the three dimensional object and

 directed back through the focusing optics, wherein the intensities of the returning light are to be

 measured for a plurality of locations of the at least one lens for determination of positions on the

 imaging axis of a plurality of points of the three dimensional object, wherein detected positions

 of one or more of the plurality of points are to be adjusted to compensate for the non-flat focal

 surface using one or more compensation models that provide different adjustments for different

 focusing settings of the optical system, as shown, for example, in the pictures below:




                                                  59
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 60 of 238 PageID #: 697




 (Showing a Luxima image sensor, which is an example of a detector to measure intensities of

 returning light that is reflected off of the three dimensional object and directed back through the

 focusing optics.) On information and belief, the detected positions of one or more of the plurality

 of points are to be adjusted to compensate for the non-flat focal surface using one or more

 compensation models that provide different adjustments for different focusing settings of the

 optical system.

        43.        3Shape possesses knowledge of and is aware of the ’088 patent by virtue of, at a

 minimum, the filing of these Counterclaims and, on information and belief, possessed prior

 knowledge of the ’088 patent by virtue of the prior business dealings between 3Shape and Align

 and other facts described above.

        44.        3Shape also has been and is now actively inducing infringement of one or more

 claims of the ’088 patent, either literally or under the doctrine of equivalents.

        45.        On information and belief, 3Shape alone and/or acting in concert with, directing

 and/or authorizing 3Shape TRIOS A/S, 3Shape US, and/or 3Shape Manufacturing US, LLC to




                                                   60
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 61 of 238 PageID #: 698




 make, use, sell or offer for sale in the United States or import into the United States the Trios 3

 and 4 scanners possesses an affirmative intent to actively induce infringement by others.

        46.     On information and belief, 3Shape induces 3Shape TRIOS A/S, 3Shape US, and

 3Shape Manufacturing US, LLC to infringe the ’088 patent.

        47.     3Shape has intended, and continues to intend to induce infringement of the ’088

 patent by others and has knowledge, with specific intent, that the inducing acts would cause

 infringement or has been willfully blind to the possibility that its inducing acts would cause the

 infringing acts. For example, 3Shape is aware that the features claimed in the ’088 patent are

 features in the Trios 3 and 4 scanners and are features used by others that purchase Trios 3 and 4

 scanners and, therefore, that purchasers and end users will infringe the ’088 patent by using the

 Trios 3 and 4 scanners. 3Shape actively induces infringement of the ’088 patent with knowledge

 and the specific intent to encourage that infringement by, inter alia, disseminating the Trios 3

 and 4 scanners and providing promotional materials, marketing materials, training materials,

 instructions, product manuals, user guides, and technical information (including but not limited

 to the demonstration video, brochure, and press release described in these Counterclaims) to

 others including, but not limited to, resellers, distributors, customers, dentists, orthodontists,

 dental and orthodontic labs, and/or other end users of the Trios 3 and 4 scanners. Those third

 parties directly infringe the ’088 patent by making, using, selling, offering for sale, and/or

 importing the Trios 3 and 4 scanners.

        48.     3Shape also has been and is now contributing to the infringement of one or more

 claims of the ’088 patent, either literally or under the doctrine of equivalents.

        49.     3Shape has actively, knowingly, and intentionally contributed and continues to

 actively, knowingly, and intentionally contribute to the infringement of the ’088 patent by having



                                                   61
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 62 of 238 PageID #: 699




 sold or offered to sell and continuing to sell or offer for sale the Trios 3 and 4 scanners within in

 the United States and/or by importing the Trios 3 and 4 scanners into the United States, with

 knowledge that the infringing technology in the Trios 3 and 4 scanners is especially made and/or

 especially adapted for use in infringement of the ’088 patent. 3Shape has contributed to the

 infringement by others with knowledge that the infringing technology in the Trios 3 and 4

 scanners is a material part of the patented invention, and with knowledge that the infringing

 technology in the Trios 3 and 4 scanners is not a staple article of commerce suitable for

 substantial non-infringing use, and with knowledge that others including, but not limited to,

 resellers, distributors, customers, dentists, orthodontists, dental and orthodontic labs, and/or other

 end users of the Trios 3 and 4 scanners infringe and will continue to infringe the ’088 patent

 because, due to their specific designs, the accused products and components thereof do not have

 any substantial noninfringing uses. 3Shape has such knowledge at least because the claimed

 features of the ’088 patent are used by others including, but not limited to, resellers, distributors,

 customers, dentists, orthodontists, dental and orthodontic labs, and/or other end users of the Trios

 3 and 4 scanners.

        50.     On information and belief, 3Shape knew or should have known of the ’088 patent

 and has acted, and continues to act, in an egregious and wanton manner by infringing ’088

 patent. On information and belief, 3Shape’s infringement of the ’088 patent has been and

 continues to be willful and deliberate. The market for intraoral scanners is small and contains a

 limited number of competitors, with Align being a known pioneer with whom 3Shape has great

 familiarity. The companies have worked together in the past and 3Shape has had ample access

 to Align’s technology. Upon information and belief, 3Shape knowingly developed and sold its




                                                   62
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 63 of 238 PageID #: 700




 competitive knockoff products in an infringing manner that was known to 3Shape or was so

 obvious that 3Shape should have known about this infringement.

        51.     On information and belief, despite knowing that its actions constituted

 infringement of the ’088 patent and/or despite knowing that that there was a high likelihood that

 its actions constituted infringement of the patent, 3Shape nevertheless continued its infringing

 actions, and continues to make, use, and sell its infringing products.

        52.     3Shape’s acts of infringement have injured and damaged Align. 3Shape’s

 wrongful conduct has caused Align to suffer irreparable harm resulting from the loss of its lawful

 patent rights to exclude others from making, using, selling, offering to sell and importing the

 patented inventions. Upon information and belief, 3Shape will continue these infringing acts

 unless enjoined by this Court.

                                           COUNT VI
                           (Infringement of U.S. Patent No. 10,507,089)

        53.     Counterclaim-Plaintiff restates and realleges each of the foregoing paragraphs 1-

 52 of the Counterclaims as if fully set forth herein.

        54.     On information and belief, 3Shape has been and is now directly and/or indirectly

 infringing, literally and/or under the doctrine of equivalents, the ’089 patent by making, using,

 selling, and/or offering for sale in the United States, and/or importing into the United States,

 products covered by one or more of the claims of the ’089 patent, including the Trios 3 and 4

 scanners.

        55.     The ’089 patent is generally directed to an imaging apparatus for performing

 intraoral scans. Claim 9 of the ’089 patent recites an imaging apparatus for performing intraoral

 scans, comprising: a light source to provide light; an optical system comprising a plurality of

 lenses disposed along an optical path of the light, wherein the optical system comprises focusing

                                                  63
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 64 of 238 PageID #: 701




 optics to perform focusing of the light onto a focal surface and to direct the light toward a three

 dimensional object to be imaged in an oral cavity; a translation mechanism to adjust a location of

 at least one lens of the plurality of lenses to displace the focal surface along an imaging axis

 defined by the optical path, wherein the at least one lens is a lens of the focusing optics, wherein

 at least one of a shape or a magnification of the focal surface changes with changes in the

 location of the at least one lens; a detector to generate surface scan data by measuring returning

 light that is reflected off of the three dimensional object and directed back through the focusing

 optics, wherein the returning light is to be measured for a plurality of locations of the at least one

 lens for determination of depth data for a plurality of points of the three dimensional object, the

 surface scan data comprising the depth data; and one or more processor to: adjust the depth data

 for one or more of the plurality of points based at least in part on the location of the at least one

 lens associated with the depth data using one or more compensation models, wherein the one or

 more compensation models compensate for changes in magnification associated with different

 locations of the at least one lens, and wherein the one or more compensation models provide

 different adjustments to the depth data for the one or more of the plurality of points for the

 different locations of the at least one lens; and generate a three-dimensional virtual model using

 the adjusted depth data.

        56.     Upon information and belief, 3Shape’s Trios 3 and 4 scanners infringe at least

 claim 9 of the ’089 patent. For example, 3Shape’s Trios 3 and 4 scanners comprise a light

 source to provide light, as shown, for example, in the demonstration video, TRIOS®3 brochure,

 and press release below:




                                                   64
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 65 of 238 PageID #: 702




 (See, e.g., Ex. 5, 3Shape TRIOS®3 Digital Impression Scanning (available at: http://www.dts-

 international.com/trios3).)




 (Id.)




                                               65
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 66 of 238 PageID #: 703




 (See, e.g., 3Shape TRIOS®3 Digital Impression Solution Brochure (3Shape website, available

 at: https://www.3shape.com/en/scanners/trios-3

 (https://embed.widencdn.net/pdf/plus/3shape/9gjkyqthjr/3Shape-TRIOS-2019-Brochure-

 EN.pdf?u=6xmdhr).)




                                              66
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 67 of 238 PageID #: 704




 (Id.)




 (See, e.g., Ex. 7, 3Shape TRIOS®3 Video (See 3Shape Trios 3 Wireless Insane Speed in Action,

 available at: https://www.youtube.com/watch?v=C5jKnxEyrbU).)

                                             67
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 68 of 238 PageID #: 705




 (See, e.g., Ex. 8, 3Shape TRIOS®4 Video (3Shape's Morten Ryde Demonstrates the New 3Shape

 Trios 4, available at: https://www.youtube.com/watch?v=IJQNd8Ywc3U).)




                                            68
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 69 of 238 PageID #: 706




 (Showing an example of a light source for providing light.)




 (Showing an example of a light source for providing light.)




                                                69
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 70 of 238 PageID #: 707




 (Showing an example of light provided by a light source in the Trios.)

        57.     For example, 3Shape’s Trios 3 and 4 scanners comprise an optical system

 comprising a plurality of lenses disposed along an optical path of the light, wherein the optical

 system comprises focusing optics to perform focusing of the light onto a focal surface and to



                                                 70
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 71 of 238 PageID #: 708




 direct the light toward a three dimensional object to be imaged in an oral cavity, as shown, for

 example, in the pictures below:




                                                 71
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 72 of 238 PageID #: 709




 (Showing an example of an optical system comprising a plurality of lenses disposed along an

 optical path, including focusing optics.)




 (Showing an example of the focusing optics to perform focusing of the light onto a focal surface

 and to direct the light toward a three dimensional object to be imaged in an oral cavity.)

          58.    For example, 3Shape’s Trios 3 and 4 scanners comprise a translation mechanism

 to adjust a location of at least one lens of the plurality of lenses to displace the focal surface

 along an imaging axis defined by the optical path, wherein the at least one lens is a lens of the

 focusing optics, wherein at least one of a shape or a magnification of the focal surface changes

 with changes in the location of the at least one lens, as shown, for example, in the pictures

 below:




                                                   72
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 73 of 238 PageID #: 710




 (Showing an example of a translation mechanism to adjust a location of at least one lens of the

 plurality of lenses within the body of the Trios 3 to displace the focal surface along an imaging

 axis defined by the optical path.) On information and belief, at least one of a shape or a

 magnification of the focal surface changes with changes in the location of the at least one lens.




                                                 73
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 74 of 238 PageID #: 711




        59.     For example, 3Shape’s Trios 3 and 4 scanners comprise a detector to generate

 surface scan data by measuring returning light that is reflected off of the three dimensional object

 and directed back through the focusing optics, wherein the returning light is to be measured for a

 plurality of locations of the at least one lens for determination of depth data for a plurality of

 points of the three dimensional object, the surface scan data comprising the depth data, as shown,

 for example, in the pictures below:




                                                   74
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 75 of 238 PageID #: 712




 (Showing a Luxima image sensor, which is an example of a detector for measuring returning light

 that is reflected off of the three dimensional object.) On information and belief, the detector

 generates surface scan data by measuring returning light for a plurality of locations of the at least

 one lens for determination of depth data for a plurality of points of the three dimensional object.

 On information and belief, the surface scan data comprises depth data.

        60.     For example, 3Shape’s Trios 3 and 4 scanners comprise one or more processor to:

 adjust the depth data for one or more of the plurality of points based at least in part on the

 location of the at least one lens associated with the depth data using one or more compensation

 models, wherein the one or more compensation models compensate for changes in magnification

 associated with different locations of the at least one lens, and wherein the one or more

 compensation models provide different adjustments to the depth data for the one or more of the

 plurality of points for the different locations of the at least one lens; and generate a three-

 dimensional virtual model using the adjusted depth data.




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Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 76 of 238 PageID #: 713




                                       76
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 77 of 238 PageID #: 714




 (Showing an Artix-7, which includes a FPGA processor used to adjust adjust the depth data for

 one or more of the plurality of points based at least in part on the location of the at least one lens

 associated with the depth data using one or more compensation models.)




 (See, e.g., https://www.xilinx.com/products/silicon-devices/fpga/artix-7.html.)




 (See, e.g., https://www.xilinx.com/products/design-tools/microblaze.html.) On information and

 belief, the one or more compensation moels compensate for changes in magnification associated

 with different locations of the at least one lens. On information and belief, the one or more

 compensation models provide different adjustments to the depth data for the one or more of the

 plurality of points for the different locations of the at least one lens. On information and belief,

 the processor generates a three-dimsnional virtual model using the adjusted depth data.

        61.     3Shape possesses knowledge of and is aware of the ’089 patent by virtue of, at a

 minimum, the filing of these Counterclaims and, on information and belief, possessed prior

 knowledge of the ’089 patent by virtue of the prior business dealings between 3Shape and Align

 and other facts described above.


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Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 78 of 238 PageID #: 715




        62.     3Shape also has been and is now actively inducing infringement of one or more

 claims of the ’089 patent, either literally or under the doctrine of equivalents.

        63.     On information and belief, 3Shape alone and/or acting in concert with, directing

 and/or authorizing 3Shape TRIOS A/S, 3Shape US and/or 3Shape Manufacturing US, LLC to

 make, use, sell or offer for sale in the United States or import into the United States the Trios 3

 and 4 scanners possesses an affirmative intent to actively induce infringement by others.

        64.     On information and belief, 3Shape induces 3Shape TRIOS A/S, 3Shape US, and

 3Shape Manufacturing US, LLC to infringe the ’089 patent.

        65.     3Shape has intended, and continues to intend to induce infringement of the ’089

 patent by others and has knowledge, with specific intent, that the inducing acts would cause

 infringement or has been willfully blind to the possibility that its inducing acts would cause the

 infringing acts. For example, 3Shape is aware that the features claimed in the ’089 patent are

 features in the Trios 3 and 4 scanners and are features used by others that purchase Trios 3 and 4

 scanners and, therefore, that purchasers and end users will infringe the ’089 patent by using the

 Trios 3 and 4 scanners. 3Shape actively induces infringement of the ’089 patent with knowledge

 and the specific intent to encourage that infringement by, inter alia, disseminating the Trios 3

 and 4 scanners and providing promotional materials, marketing materials, training materials,

 instructions, product manuals, user guides, and technical information (including but not limited

 to the demonstration video, brochure, and press release described in these Counterclaims) to

 others including, but not limited to, resellers, distributors, customers, dentists, orthodontists,

 dental and orthodontic labs, and/or other end users of the Trios 3 and 4 scanners. Those third

 parties directly infringe the ’089 patent by making, using, selling, offering for sale, and/or

 importing the Trios 3 and 4 scanners.



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Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 79 of 238 PageID #: 716




        66.     3Shape also has been and is now contributing to the infringement of one or more

 claims of the ’089 patent, either literally or under the doctrine of equivalents.

        67.     3Shape has actively, knowingly, and intentionally contributed and continues to

 actively, knowingly, and intentionally contribute to the infringement of the ’089 patent by having

 sold or offered to sell and continuing to sell or offer for sale the Trios 3 and 4 scanners within in

 the United States and/or by importing the Trios 3 and 4 scanners into the United States, with

 knowledge that the infringing technology in the Trios 3 and 4 scanners is especially made and/or

 especially adapted for use in infringement of the ’089 patent. 3Shape has contributed to the

 infringement by others with knowledge that the infringing technology in the Trios 3 and 4

 scanners is a material part of the patented invention, and with knowledge that the infringing

 technology in the Trios 3 and 4 scanners is not a staple article of commerce suitable for

 substantial non-infringing use, and with knowledge that others including, but not limited to,

 resellers, distributors, customers, dentists, orthodontists, dental and orthodontic labs, and/or other

 end users of the Trios 3 and 4 scanners infringe and will continue to infringe the ’430 patent

 because, due to their specific designs, the accused products and components thereof do not have

 any substantial noninfringing uses. 3Shape has such knowledge at least because the claimed

 features of the ’089 patent are used by others including, but not limited to, resellers, distributors,

 customers, dentists, orthodontists, dental and orthodontic labs, and/or other end users of the Trios

 3 and 4 scanners.

        68.     On information and belief, 3Shape knew or should have known of the ’089 patent

 and has acted, and continues to act, in an egregious and wanton manner by infringing ’089

 patent. On information and belief, 3Shape’s infringement of the ’089 patent has been and

 continues to be willful and deliberate. The market for intraoral scanners is small and contains a



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Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 80 of 238 PageID #: 717




 limited number of competitors, with Align being a known pioneer with whom 3Shape has great

 familiarity. The companies have worked together in the past and 3Shape has had ample access

 to Align’s technology. Upon information and belief, 3Shape knowingly developed and sold its

 competitive knockoff products in an infringing manner that was known to 3Shape or was so

 obvious that 3Shape should have known about this infringement.

        69.     On information and belief, despite knowing that its actions constituted

 infringement of the ’089 patent and/or despite knowing that that there was a high likelihood that

 its actions constituted infringement of the patent, 3Shape nevertheless continued its infringing

 actions, and continues to make, use, and sell its infringing products.

        70.     3Shape’s acts of infringement have injured and damaged Align. 3Shape’s

 wrongful conduct has caused Align to suffer irreparable harm resulting from the loss of its lawful

 patent rights to exclude others from making, using, selling, offering to sell and importing the

 patented inventions. Upon information and belief, 3Shape will continue these infringing acts

 unless enjoined by this Court.

                                          COUNT VII
                           (Infringement of U.S. Patent No. 9,675,430)

        71.     Counterclaim-Plaintiff restates and realleges each of the foregoing paragraphs 1-

 70 of the Counterclaims as if fully set forth herein.

        72.     On information and belief, 3Shape has been and is now directly and/or indirectly

 infringing, literally and/or under the doctrine of equivalents, the ’430 patent by making, using,

 selling, and/or offering for sale in the United States, and/or importing into the United States,

 products covered by one or more of the claims of the ’430 patent, including the Trios 3 and 4

 scanners.




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Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 81 of 238 PageID #: 718




        73.     The ’430 patent is generally directed to determining and imaging three-

 dimensional structures. Claim 1 of the ’430 patent recites a confocal imaging apparatus

 comprising: an illumination module to generate an array of light beams; focusing optics

 comprising a plurality of lenses disposed along an optical path of the array of light beams, the

 focusing optics to perform confocal focusing of the array of light beams onto a non-flat focal

 surface and to direct the array of light beams toward a three dimensional object to be imaged; a

 translation mechanism to adjust a location of at least one lens of the plurality of lenses to

 displace the non-flat focal surface along an imaging axis defined by the optical path; and a

 detector to measure intensities of an array of returning light beams that are reflected off of the

 three dimensional object and directed back through the focusing optics, wherein the intensities of

 the array of returning light beams are to be measured for a plurality of locations of the at least

 one lens for determination of positions on the imaging axis of a plurality of points of the three

 dimensional object, wherein detected positions of one or more of the plurality of points are to be

 adjusted to compensate for the non-flat focal surface.

        74.     Upon information and belief, 3Shape’s Trios 3 and 4 scanners infringe at least

 claim 1 of the ’430 patent. For example, 3Shape’s Trios 3 and 4 scanners comprise an

 illumination module to generate an array of light beams, as shown, for example, in the

 demonstration video, TRIOS®3 brochure, and press release below.




                                                  81
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 82 of 238 PageID #: 719




 (See, e.g., Ex. 5, 3Shape TRIOS®3 Digital Impression Scanning (available at: http://www.dts-

 international.com/trios3).)




 (Id.)




                                               82
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 83 of 238 PageID #: 720




 (See, e.g., 3Shape TRIOS®3 Digital Impression Solution Brochure (3Shape website, available

 at: https://www.3shape.com/en/scanners/trios-3

 (https://embed.widencdn.net/pdf/plus/3shape/9gjkyqthjr/3Shape-TRIOS-2019-Brochure-

 EN.pdf?u=6xmdhr).)




                                              83
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 84 of 238 PageID #: 721




 (Id.)




 (See, e.g., Ex. 7, 3Shape TRIOS®3 Video (See 3Shape Trios 3 Wireless Insane Speed in Action,

 available at: https://www.youtube.com/watch?v=C5jKnxEyrbU).)

                                             84
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 85 of 238 PageID #: 722




 (See, e.g., Ex. 8, 3Shape TRIOS®4 Video (3Shape's Morten Ryde Demonstrates the New 3Shape

 Trios 4, available at: https://www.youtube.com/watch?v=IJQNd8Ywc3U).)

 For example, the Accused Devices practice these feature as shown in the screenshots below:




                                               85
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 86 of 238 PageID #: 723




 (Showing an example of an array of light beams being generated.)




 (Showing an example of an illumination module configured to generate an array of light beams.)




                                               86
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 87 of 238 PageID #: 724




 (Showing an example of an array of light beams.)

        75.     For example, 3Shape’s Trios 3 and 4 scanners comprise focusing optics

 comprising a plurality of lenses disposed along an optical path of the array of light beams, the

 focusing optics to perform confocal focusing of the array of light beams onto a non-flat focal

 surface and to direct the array of light beams toward a three dimensional object to be imaged, as



                                                 87
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 88 of 238 PageID #: 725




 shown, for example, in the screenshots, demonstration video, TRIOS®3 brochure, and press

 release below.




 (Showing an example of the focusing optics to perform confocal focusing of the array of light

 beams onto a non-flat focal surface and to direct the array of light beams toward a three

 dimensional object to be imaged.)




                                              88
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 89 of 238 PageID #: 726




 (Showing an example of focusing optics comprising a plurality of lenses disposed along an optical

 path of the array of light beams.)

          76.    For example, 3Shape’s Trios 3 and 4 scanners comprise a translation mechanism

 to adjust a location of at least one lens of the plurality of lenses to displace the non-flat focal

 surface along an imaging axis defined by the optical path, as shown, for example, in the pictures

 below:




                                                   89
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 90 of 238 PageID #: 727




 (Showing an example of a translation mechanism to adjust a location of at least one lens of the

 plurality of lenses within the body of the Trios 3 to displace the focal surface along an imaging

 axis defined by the optical path.)

        77.     On information and belief, 3Shape’s Trios 3 and 4 scanners comprise a detector to

 measure intensities of an array of returning light beams that are reflected off of the three

 dimensional object and directed back through the focusing optics, wherein the intensities of the


                                                  90
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 91 of 238 PageID #: 728




 array of returning light beams are to be measured for a plurality of locations of the at least one

 lens for determination of positions on the imaging axis of a plurality of points of the three

 dimensional object, wherein detected positions of one or more of the plurality of points are to be

 adjusted to compensate for the non-flat focal surface, as shown, for example, in the pictures

 below:




                                                  91
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 92 of 238 PageID #: 729




 (Showing a Luxima image sensor, which is an example of a detector to measure intensities of an

 array of returning light beams that are reflected from the three-dimensional object and directed

 back through the focusing optics.) On information and belief, the intensities of the array of

 returning light beams are measured for a plurality of locations of the at least one lens for

 determination of positions on the imaging axis of a plurality of points of the three-dimensional

 object, wherein detected positions of one or more of the plurality of points are to be adjusted to

 compensate for the non-flat focal surface.

        78.     3Shape possesses knowledge of and is aware of the ’430 patent by virtue of, at a

 minimum, the filing of the Complaint in 1:19-cv-02098 and, on information and belief,

 possessed prior knowledge of the ’430 patent by virtue of the prior business dealings between

 3Shape and Align and other facts described above.

        79.     3Shape also has been and is now actively inducing infringement of one or more

 claims of the ’430 patent, either literally or under the doctrine of equivalents.

        80.     On information and belief, 3Shape alone and/or acting in concert with, directing

 and/or authorizing 3Shape TRIOS A/S, 3Shape US and/or 3Shape Manufacturing US, LLC to

                                                  92
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 93 of 238 PageID #: 730




 make, use, sell or offer for sale in the United States or import into the United States the Trios 3

 and 4 scanners possesses an affirmative intent to actively induce infringement by others.

        81.     On information and belief, 3Shape induces 3Shape TRIOS A/S, 3Shape US,

 and/or 3Shape Manufacturing US, LLC to infringe the ’430 patent.

        82.     3Shape has intended, and continues to intend to induce infringement of the ’430

 patent by others and has knowledge, with specific intent, that the inducing acts would cause

 infringement or has been willfully blind to the possibility that its inducing acts would cause the

 infringing acts. For example, 3Shape is aware that the features claimed in the ’430 patent are

 features in the Trios 3 and 4 scanners and are features used by others that purchase Trios 3 and 4

 scanners and, therefore, that purchasers and end users will infringe the ’430 patent by using the

 Trios 3 and 4 scanners. 3Shape actively induces infringement of the ’430 patent with knowledge

 and the specific intent to encourage that infringement by, inter alia, disseminating the Trios 3

 and 4 scanners and providing promotional materials, marketing materials, training materials,

 instructions, product manuals, user guides, and technical information (including but not limited

 to the demonstration video, brochure, and press release described in these Counterclaims) to

 others including, but not limited to, resellers, distributors, customers, dentists, orthodontists,

 dental and orthodontic labs, and/or other end users of the Trios 3 and 4 scanners. Those third

 parties directly infringe the ’430 patent by making, using, selling, offering for sale, and/or

 importing the Trios 3 and 4 scanners.

        83.     3Shape also has been and is now contributing to the infringement of one or more

 claims of the ’430 patent, either literally or under the doctrine of equivalents.

        84.     3Shape has actively, knowingly, and intentionally contributed and continues to

 actively, knowingly, and intentionally contribute to the infringement of the ’430 patent by having



                                                   93
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 94 of 238 PageID #: 731




 sold or offered to sell and continuing to sell or offer for sale the Trios 3 and 4 scanners within in

 the United States and/or by importing the Trios 3 and 4 scanners into the United States, with

 knowledge that the infringing technology in the Trios 3 and 4 scanners is especially made and/or

 especially adapted for use in infringement of the ’430 patent. 3Shape has contributed to the

 infringement by others with knowledge that the infringing technology in the Trios 3 and 4

 scanners is a material part of the patented invention, and with knowledge that the infringing

 technology in the Trios 3 and 4 scanners is not a staple article of commerce suitable for

 substantial non-infringing use, and with knowledge that others including, but not limited to,

 resellers, distributors, customers, dentists, orthodontists, dental and orthodontic labs, and/or other

 end users of the Trios 3 and 4 scanners infringe and will continue to infringe the ’430 patent

 because, due to their specific designs, the accused products and components thereof do not have

 any substantial noninfringing uses. 3Shape has such knowledge at least because the claimed

 features of the ’430 patent are used by others including, but not limited to, resellers, distributors,

 customers, dentists, orthodontists, dental and orthodontic labs, and/or other end users of the Trios

 3 and 4 scanners.

        85.     On information and belief, 3Shape knew or should have known of the ’430 patent

 and has acted, and continues to act, in an egregious and wanton manner by infringing ’430

 patent. On information and belief, 3Shape’s infringement of the ’430 patent has been and

 continues to be willful and deliberate. The market for intraoral scanners is small and contains a

 limited number of competitors, with Align being a known pioneer with whom 3Shape has great

 familiarity. The companies have worked together in the past and 3Shape has had ample access

 to Align’s technology. Upon information and belief, 3Shape knowingly developed and sold its




                                                   94
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 95 of 238 PageID #: 732




 competitive knockoff products in an infringing manner that was known to 3Shape or was so

 obvious that 3Shape should have known about this infringement.

        86.      On information and belief, despite knowing that its actions constituted

 infringement of the ’430 patent and/or despite knowing that that there was a high likelihood that

 its actions constituted infringement of the patent, 3Shape nevertheless continued its infringing

 actions, and continues to make, use, and sell its infringing products.

        87.      3Shape’s acts of infringement have injured and damaged Align. 3Shape’s

 wrongful conduct has caused Align to suffer irreparable harm resulting from the loss of its lawful

 patent rights to exclude others from making, using, selling, offering to sell and importing the

 patented inventions. Upon information and belief, 3Shape will continue these infringing acts

 unless enjoined by this Court.

                                      PRAYER FOR RELIEF

        WHEREFORE, Counterclaim-Plaintiff respectfully requests that this Court enter a

 judgment in their favor and against Counterclaim-Defendant as follows:

              A. Dismissing the Complaint with prejudice and entering judgment for

                 Counterclaim-Plaintiff;

              B. Declaring that Align has not infringed any valid and enforceable claim of the ’551

                 patent;

              C. Declaring that all claims of the ’551 patent are invalid;

              D. Declaring that Align has not infringed any valid and enforceable claim of the ’042

                 patent;

              E. Declaring that all claims of the ’042 patent are invalid;

              F. Awarding Counterclaim-Plaintiff its reasonable attorneys’ fees, costs, and

                 expenses incurred in this action;
                                                     95
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 96 of 238 PageID #: 733




          G. Entering judgment that 3Shape has infringed each of the ’088, ’089, and ’430

             patents-in-suit;

          H. Entering judgment that each of the ’088, ’089, and ’430 patents-in-suit is valid

             and enforceable;

          I. Permanently enjoining 3Shape, their parents, subsidiaries, affiliates, agents,

             servants, employees, attorneys, representatives, successors, and assigns, and all

             others in active concert or participation with them from infringing the ’088, ’089,

             and ’430 patents-in-suit;

          J. Ordering an award of damages to Align in an amount adequate to compensate

             Align for 3Shape’s infringement, said damages to be no less than a reasonable

             royalty;

          K. Entering judgment that the infringement was willful and treble damages pursuant

             to 35 U.S.C. § 284;

          L. Ordering an accounting to determine the damages to be awarded to Align as a

             result of 3Shape’s infringement, including an accounting for infringing sales not

             presented at trial and award additional damages for any such infringing sales;

          M. Assessing pre-judgment and post judgment interest and costs against 3Shape,

             together with an award of such interest and costs, in accordance with 35 U.S.C.

             § 284;

          N. Rendering a finding that this case is “exceptional” and award to Align its costs,

             expenses and reasonable attorneys’ fees, as provided by 35 U.S.C. § 285; and

          O. Awarding any such other and further relief as this Court may deem proper.




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Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 97 of 238 PageID #: 734




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  Dated: December 20, 2019




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Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 98 of 238 PageID #: 735




                        Exhibit 1
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 99 of 238 PageID #: 736

                                                                                           USOO967543OB2


  (12) United States Patent                                              (10) Patent No.:     US 9,675.430 B2
         Verker et al.                                                   (45) Date of Patent:      Jun. 13, 2017
  (54) CONFOCAL IMAGING APPARATUS WITH                              (56)                    References Cited
         CURVED FOCAL SURFACE
                                                                                     U.S. PATENT DOCUMENTS
  (71) Applicant: Align Technology, Inc., San Jose, CA                      5,737,084 A      4/1998 Ishihara
                  (US)                                                      6,697,164 B1     2/2004 Babayoff et al.
  (72) Inventors: Tal Verker, Ofra (IL); Adi Levin, Nes                                        (Continued)
                  Tziona (IL); Ofer Saphier, Rechovot                             FOREIGN PATENT DOCUMENTS
                  (IL); Maayan Moshe, Ra'anana (IL)
                                                                    DE           102005043627 A1        3, 2007
  (73) Assignee: Align Technology, Inc., San Jose, CA               EP                2437027 A2        4/2012
                  (US)                                                                         (Continued)
  (*) Notice:         Subject to any disclaimer, the term of this                     OTHER PUBLICATIONS
                      patent is extended or adjusted under 35
                      U.S.C. 154(b) by 19 days.                     Tiziani, H. J. et al. "Confocal principle for macro- and microscopic
                                                                    Surface and defect analysis,” Optical Engineering, Jan. 1, 2000, pp.
  (21) Appl. No.: 14/825,173                                        32-39, vol. 39(1), Society of Photo-Optical Instrumentation Engi
                                                                      CS.
  (22) Filed:         Aug. 13, 2015                                                        (Continued)
  (65)                   Prior Publication Data
                                                                    Primary Examiner — Tri T Ton
         US 2016/OO45291 A1           Feb. 18, 2016                 (74) Attorney, Agent, or Firm — Lowenstein Sandler LLP
              Related U.S. Application Data                         (57)                      ABSTRACT
  (60) Provisional application No. 62/037,778, filed on Aug.        A confocal imaging apparatus includes an illumination mod
          15, 2014.                                                 ule to generate an array of light beams. Focusing optics
                                                                    perform confocal focusing of an array of light beams onto a
  (51) Int. Cl.                                                     non-flat focal surface and direct the array of light beams
         G0IB II/24               (2006.01)                         toward a three dimensional object to be imaged. A transla
         A6IC 9/00                (2006.01)                         tion mechanism adjusts a location of at least one lens to
                           (Continued)                              displace the non-flat focal Surface along an imaging axis. A
  (52) U.S. Cl.                                                     detector measures intensities of an array of returning light
         CPC ............ A61C 9/0066 (2013.01); G0IB II/24         beams that are reflected off of the three dimensional object
                      (2013.01); G02B 23/2446 (2013.01);            and directed back through the focusing optics. Intensities of
                                                                    the array of returning light beams are measured for locations
                        (Continued)                                 of the at least one lens for determination of positions on the
  (58) Field of Classification Search                               imaging axis of points of the three dimensional object.
         CPC ..... A61C 9/0066; A61C 9/0053; G01B 11/24:            Detected positions of one or more points are adjusted to
                        GO2B 23/2446; GO2B 23/2461; GO2B            compensate for the non-flat focal Surface.
                                      23/26: G02B 27/0025
                           (Continued)                                              12 Claims, 13 Drawing Sheets




                                     ILLUMINATION
                                       MODULE




                                        is:
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 100 of 238 PageID #: 737


                                                                 US 9,675.430 B2
                                                                           Page 2

  (51) Int. Cl.
          GO2B 23/24                   (2006.01)
          GO2B 27/00                   (2006.01)
          GO2B 23/26                   (2006.01)
  (52) U.S. Cl.
          CPC ......... G02B 23/2461 (2013.01); G02B 23/26
                       (2013.01); G02B 27/0025 (2013.01)
  (58) Field of Classification Search
          USPC .................................................. 356/601-640
          See application file for complete search history.
  (56)                      References Cited
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  tion No. PCT/IB2015/001400 mailed Feb. 9, 2016.
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 101 of 238 PageID #: 738


  U.S. Patent          Jun. 13, 2017   Sheet 1 of 13        US 9,675.430 B2




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Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 102 of 238 PageID #: 739


  U.S. Patent            Jun. 13, 2017      Sheet 2 of 13          US 9,675.430 B2




                                   IMAGE CAPTURING
                                         MODULE 80


                           IMAGE PROCESSING MODULE 82
                                                                  FIELD
                 DEPTH                                         CURVATURE
            DETERMINER 90        FIELD COMPENSATOR 92            MODEL
                                                                   94


            COMMUNICATION MODULE
                         88                     USER INTERFACE 84


                                                            COMPUTING DEVICE 24




      FIG. 1B
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 103 of 238 PageID #: 740


  U.S. Patent          Jun. 13, 2017    Sheet 3 of 13            US 9,675.430 B2


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Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 104 of 238 PageID #: 741


  U.S. Patent          Jun. 13, 2017            Sheet 4 of 13       US 9,675.430 B2


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Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 105 of 238 PageID #: 742


  U.S. Patent          Jun. 13, 2017   Sheet S of 13        US 9,675.430 B2




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Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 106 of 238 PageID #: 743


  U.S. Patent          Jun. 13, 2017   Sheet 6 of 13        US 9,675.430 B2
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 107 of 238 PageID #: 744


  U.S. Patent          Jun. 13, 2017     Sheet 7 of 13                US 9,675.430 B2




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                                                         390                  376
                                                         38O                 392

                                                           310
                                       FIG. 3D
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 108 of 238 PageID #: 745


  U.S. Patent          Jun. 13, 2017   Sheet 8 of 13        US 9,675.430 B2




                                               s          *454A

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      FIG. 4
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 109 of 238 PageID #: 746


  U.S. Patent            Jun. 13, 2017     Sheet 9 of 13              US 9,675.430 B2




                                                                               500



       MEASURE CALIBRATION OBJECT WITHKNOWN SURFACE TOPOLOGYAT
       MULTIPLE FOCUSING SETTINGS OF CONFOCAL IMAGINGAPPARATUS 505


          COMPARE KNOWN SURFACE TOPOLOGY TO MEASURED SURFACE
       TOPOLOGY TO DETERMINE DIFFERENCES FOR MULTIPLE POINTS OF THE
         CALIBRATION OBJECTAT THE MULTIPLE FOCUSING SETTINGS 510


       FOREACHFOCUSING SETTING, APPLY DIFFERENCES OF THE MULTIPLE
      POINTS TO SMOOTH FUNCTION AND GENERATE FIELD CURVATURE MODEL
                                   515


      DETERMINE TEMPERATURE DEPENDENCE OF FIELD CURVATURE MODELS
      AND ADJUST EXISTING OR GENERATURE NEW FIELD CURVATURE MODELS
                                   525


      STORE FIELD CURVATURE MODELS FOR CONFOCAL IMAGINGAPPARATUS
                                   535




                                         FIG. 5A
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 110 of 238 PageID #: 747


  U.S. Patent            Jun. 13, 2017             Sheet 10 of 13    US 9,675.430 B2



       MEASURE CALIBRATION OBJECT WITHKNOWN SURFACE TOPOLOGYAT         A?
      MULTIPLE FOCUSING SETTINGS OF CONFOCALIMAGINGAPPARATUS 555



         COMPARE KNOWN SURFACE TOPOLOGY TO MEASURED SURFACE
        TOPOLOGY TO DETERMINEX, Y AND ZDIFFERENCES FOR MULTIPLE
        POINTS OF THE CALIBRATION OBJECTAT THE MULTIPLE FOCUSING
                               SETTINGS 560

                                     -         >


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                            uCURVED
                             FOCAL SURFACE?         )
                             is 562 u    ---
                               YES

       FOREACHFOCUSING SETTING, APPLY DIFFERENCES OF THE MULTIPLE
        POINTS TO FIRST POLYNOMIAL FUNCTIONASSOCATED WITH FIELD
                              CURVATURE 565


       FOREACH FOCUSING SETTING, APPLY DIFFERENCES OF THE MULTIPLE
       POINTS TO SECOND POLYNOMIAL FUNCTIONASSOCATED WITHX-AXIS
                               POSITION 570

       FOREACHFOCUSING SETTING, APPLY DIFFERENCES OF THE MULTIPLE
        POINTS TO THIRD POLYNOMIAL FUNCTIONASSOCIATED WITHY-AXIS
                               POSITION 575


       GENERATE OPTICS CORRECTING MODEL(S) BASED ONFIRST, SECOND
                   AND THIRD POLYNOMIAL FUNCTIONS 580



         STORE OPTICS CORRECTING MODEL(S) FOR CONFOCALIMAGING
                              APPARATUS 585



                                                                     FIG. 5B
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 111 of 238 PageID #: 748


  U.S. Patent                                      Jun. 13, 2017                                                         Sheet 11 of 13                                              US 9,675.430 B2



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                                                             FIG. 5D                                                                                                                                     597



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Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 112 of 238 PageID #: 749


  U.S. Patent             Jun. 13, 2017                Sheet 12 of 13            US 9,675.430 B2




                                                                                 600



                    RECEIVE INTENSITYMEASUREMENTS GENERATED BYPXELS OFA
                 DETECTOR OF ACONFOCALIMAGINGAPPARATUS, WHEREINEACH PIXEL
                 PROVIDESINTENSTYMEASUREMENTS FORANASSOCATEDRETURNING
                  LIGHTBEAMFROMAN ARRAY OFRETURNING LIGHTBEAMS THAT HAVE
                 BEEN REFLECTED OFF OF ANIMAGED THREE DIMENSIONAL SURFACE, AND
                 WHEREINEACHRETURNING LIGHT BEAM OF THE ARRAY OFRETURNING
                 LIGHTBEAMS ISASSOCATED WITHAPOINT OF THE THREEDIMENSIONAL
                                          OBJECT 610


                  DETERMINE, FOREACH PIXELAFOCUSING SETTING OF THE CONFOCAL
                 IMAGINGAPPARATUSTHAT PROVIDESAMAXIMUMMEASURED INTENSITY
                                             620


                    DETERMINE, FOREACH PIXELADEPTH OF APOINT OF THE THREE
                 DIMENSIONAL OBJECTASSOCATED WITH THE PIXELTHAT CORRESPONDS
                            TO THE DETERMINED FOCUSING SETTING 630



                   ADJUST THE DEPTH OF POINTS OF THE THREEDIMENSIONAL OBJECT
                   BASED ONAPPLYING THE DETERMINED FOCUSING SETTING FORTHE
                 PXELS ASSOCATED WITH THE POINTS TO AFIELD CURWATUREMODELTO
                  COMPENSATE FORANON-FLATFOCUSING SURFACE OF THE CONFOCAL
                                    IMAGINGAPPARATUS 640



                   DETERMINEASHAPE OF THETHREEDIMENSIONAL OBJECTBASEDAT
                            LEASTINPART ON THE ADJUSTED DEPTH 650




                                           FIG. 6
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 113 of 238 PageID #: 750


  U.S. Patent                 Jun. 13, 2017             Sheet 13 of 13                        US 9,675.430 B2




                                              702
                                                                             -          710
                       PROCESSING
                         DEVICE
                                                                 VIDEODISPLAY
                     INSTRUCTIONS               726
                     Field Compensator                  BUS
                             750                      N1708                             712


                                              704               ALPHA-NUMERIC
                                                                 INPUT DEVICE
                       MAIN MEMORY
                N                        N.
                    INSTRUCTIONS
                    Field Compensator                                                   714
                            750
                                                                   CURSOR
                                                                   CONTROL
                                                                    DEVICE

                                                                                              728
                     STATIC MEMORY
                                                                 DATA STORAGEDEVICE
                                              722                    COMPUTER
                                                                                               724
                                                                  READABLE MEDIUM
                        NETWORK
                        INTERFACE                                   INSTRUCTIONS               726
                         DEVICE
                                                                    Field Compensator
                                                                            750


                                                                                   720

                                                                    SIGNAL
                                                                  GENERATION
                                                                    DEVICE



                                                                                 F G. 7
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 114 of 238 PageID #: 751


                                                      US 9,675,430 B2
                                1.                                                                     2
       CONFOCAL MAGING APPARATUS WITH                                       FIG. 3B is a longitudinal cross-section through line II-II
            CURVED FOCAL SURFACE                                         of the probing member in FIG. 3A.
                                                                            FIG. 3C is a view of a probing member that includes an
                  RELATED APPLICATIONS                                   internal target, in accordance with one embodiment.
                                                                            FIG. 3D is a side view of a probing member that includes
     This patent application claims the benefit under 35 U.S.C.          an internal target, in accordance with one embodiment.
  S119(e) of U.S. Provisional Application No. 62/037,778,                   FIG. 4 is a schematic illustration of optics of a confocal
  filed Aug. 15, 2014.                                                   imaging apparatus, in accordance with one embodiment.
                                                                            FIG. 5A is a flow chart showing one embodiment of a
                     TECHNICAL FIELD                                10   method for calibrating a confocal imaging apparatus having
                                                                         an imaginary non-flat focal Surface.
    Embodiments of the present invention relate to the field of             FIG. 5B is a flow chart showing one embodiment of a
  imaging and, in particular, to a system and method for                 method for calibrating a confocal imaging apparatus for
  performing confocal imaging of a three dimensional Surface.            which changes in a focusing setting cause changes in
                                                                    15   magnification.
                        BACKGROUND                                          FIG. 5C illustrates one example calibration object, in
                                                                         accordance with one embodiment.
     A great variety of methods and systems have been devel                 FIG.5D illustrates a chart showing a distribution of points
  oped for direct optical measurement of teeth and the sub               of a calibration object as measured by a confocal imaging
  sequent automatic manufacture of dentures. The term "direct            apparatus, in accordance with one embodiment.
  optical measurement signifies Surveying of teeth in the oral              FIG.5E illustrates a chart showing a distribution of points
  cavity of a patient. This facilitates the obtainment of digital        in a world coordinate system, in accordance with one
                                                                         embodiment.
  constructional data necessary for the computer-assisted                  FIG. 6 is a flow chart showing one embodiment of a
  design (CAD) or computer-assisted manufacture (CAM) of            25   method for adjusting depth measurements of a scanned three
  tooth replacements without having to make any cast impres              dimensional object based on application of a field curvature
  sions of the teeth. Such systems typically include an optical          model calibrated to a confocal imaging apparatus.
  probe coupled to an optical pick-up or receiver Such as                  FIG. 7 illustrates a block diagram of an example com
  charge coupled device (CCD) or complementary metal                     puting device, in accordance with embodiments of the
  oxide semiconductor (CMOS) sensor and a processor imple           30   present invention.
  menting a Suitable image processing technique to design and
  fabricate virtually the desired product.                                               DETAILED DESCRIPTION
     One type of system that performs intra-oral scans is a
  system that uses confocal imaging to image a three dimen                  Described herein is a confocal imaging apparatus having
  sional Surface. Such systems that use confocal imaging            35   a non-flat focal surface. The non-flat focal surface may be
  typically include field lenses to flatten an imaging field and         caused by the optics of the confocal imaging apparatus
  enable flat focal planes for emitted light beams. Such flat            lacking a field lens. AS is discussed in greater detail below,
  focal planes ensure that the Surface topology of Scanned               the lack of a field lens in the confocal imaging apparatus
  three dimensional surfaces is accurate. However, the field             introduces challenges but also provides numerous advan
  lenses are diverging lenses that open the rays of the light       40   tages. For example, a confocal imaging apparatus without a
  beams. This causes the optics of the confocal imaging                  field lens is Smaller, lighter and easier to manufacture than
  apparatus to be enlarged. Additionally, the field lenses               a confocal imaging apparatus having a field lens. Embodi
  should be aligned to ensure accuracy. Such alignment can be            ments discussed herein show how to overcome the chal
  a time consuming and challenging process.                              lenges in designing and using a confocal imaging apparatus
                                                                    45   lacking a field lens.
          BRIEF DESCRIPTION OF THE DRAWINGS                                 Also described herein is a large field confocal imaging
                                                                         apparatus having focusing optics that change a magnifica
     The present invention is illustrated by way of example,             tion of a focal Surface with changes in a focusing setting. As
  and not by way of limitation, in the figures of the accom              is discussed in greater detail below, the change in magnifi
  panying drawings.                                                 50   cation introduces challenges that are overcome in embodi
     FIG. 1A illustrates a functional block diagram of a con             mentS.
  focal imaging apparatus according to one embodiment.                      In one embodiment, a confocal imaging apparatus
     FIG. 1B illustrates a block diagram of a computing device           includes an illumination module to generate an array of light
  that connects to a confocal imaging apparatus, in accordance           beams. Focusing optics of the confocal imaging apparatus
  with one embodiment.                                              55   perform confocal focusing of an array of light beams onto a
    FIG. 2A illustrates optics of a confocal imaging apparatus           non-flat focal surface and direct the array of light beams
  that lacks a field lens, in accordance with one embodiment.            toward a three dimensional object to be imaged. A transla
    FIG. 2B illustrates optics of a confocal imaging apparatus           tion mechanism of the confocal imaging apparatus adjusts a
  that lacks a field lens, in accordance with another embodi             location of at least one lens to displace the non-flat focal
  ment.                                                             60   Surface along an imaging axis. A detector of the confocal
    FIG. 2C illustrates optics of a confocal imaging apparatus           imaging apparatus measures intensities of an array of return
  with a field lens for which changes in a focusing setting              ing light beams that are reflected off of the three dimensional
  cause changes in magnification, in accordance with another             object and directed back through the focusing optics. Inten
  embodiment.                                                            sities of the array of returning light beams are measured for
    FIG. 3A is a top view of a probing member of a confocal         65   locations of the at least one lens for determination of
  imaging apparatus that includes a prism, in accordance with            positions on the imaging axis of points of the three dimen
  an embodiment of the invention.                                        sional object. Detected positions of one or more points are
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 115 of 238 PageID #: 752


                                                      US 9,675,430 B2
                                 3                                                                    4
  adjusted to compensate for the non-flat focal Surface. Thus,          in focus. This ensures that a difference between measured
  an object may be accurately imaged despite the non-flat               intensities of out-of focus points and in-focus points will be
  focal Surface of the confocal imaging apparatus.                      larger.
     FIG. 1A illustrates a functional block diagram of a con               Along an optical path of the array of light beams after the
  focal imaging apparatus 20 according to one embodiment.               unidirectional mirror or beam splitter 40 are confocal focus
  FIG. 1B illustrates a block diagram of a computing device             ing optics 42, and an endoscopic probing member 46.
  24 that connects to the confocal imaging apparatus 20.                Additionally, a quarter wave plate may be disposed along the
  Together, the confocal imaging apparatus 20 and computing             optical path after the unidirectional mirror or beam splitter
  device 24 may form a system for generating three dimen                40 to introduce a certain polarization to the array of light
  sional images of Scanned objects. The computing device 24        10   beams. In some embodiments this may ensure that reflected
  may be connected to the confocal imaging apparatus 20                 light beams will not be passed through the unidirectional
  directly or indirectly and via a wired or wireless connection.        mirror or beam splitter 40. Confocal focusing optics 42 may
  For example, the confocal imaging apparatus 20 may                    additionally include relay optics (not shown). Confocal
                                                                        focusing optics 42 may or may not maintain the same
  include a network interface controller (NIC) capable of          15   magnification of an image over a wide range of distances in
  communicating via Wi-Fi, via third generation (3G) or                 the Z direction, wherein the Z direction is a direction of
  fourth generation (4G) telecommunications protocols (e.g.,            beam propagation (e.g., the Z direction corresponds to an
  global system for mobile communications (GSM), long term              imaging axis that is aligned with an optical path of the array
  evolution (LTE), Wi-Max, code division multiple access                of light beams 36). The relay optics enable the confocal
  (CDMA), etc.), via Bluetooth, via Zigbee, or via other                imaging apparatus 20 to maintain a certain numerical aper
  wireless protocols. Alternatively, or additionally, confocal          ture for propagation of the array of light beams 36. The
  imaging apparatus may include an Ethernet network inter               confocal focusing optics 42 and endoscopic probing member
  face controller (NIC), a universal serial bus (USB) port, or          46 are discussed in greater detail with reference to FIGS.
  other wired port. The NIC or port may connect the confocal            2A-2C.
  imaging apparatus to the computing device via a local area       25      The endoscopic probing member 46 may include a rigid,
  network (LAN). Alternatively, the confocal imaging appa               light-transmitting medium, which may be a hollow object
  ratus 20 may connect to a wide area network (WAN) such as             defining within it a light transmission path or an object made
  the Internet, and may connect to the computing device 24 via          of a light transmitting material, e.g. a glass body or tube. In
  the WAN. In an alternative embodiment, confocal imaging               one embodiment, the endoscopic probing member 46
  apparatus 20 is connected directly to the computing device       30   include a prism Such as a folding prism. At its end, the
  (e.g., via a direct wired or wireless connection). In one             endoscopic probing member 46 may include a mirror of the
  embodiment, the computing device 24 is a component of the             kind ensuring a total internal reflection. Thus, the mirror
  confocal imaging apparatus 20.                                        may direct the array of light beams towards a teeth segment
     Referring now to FIG. 1A, in one embodiment confocal               26 or other object. The endoscope probing member 46 thus
  imaging apparatus 20 includes a semiconductor laser unit 28      35   emits array of light beams 48, which impinge on to Surfaces
  that emits a focused light beam, as represented by arrow 30.          of the teeth section 26.
  The light beam 30 passes through a polarizer 32. Polarizer               The array of light beams 48 are arranged in an X-Y plane,
  32 polarizes the light beam passing through polarizer 32.             in the Cartesian frame 50, propagating along the Z axis. As
  Alternatively, polarizer 32 may be omitted in some embodi             the surface on which the incident light beams hits is an
  ments. The light beam then enters into an optic expander 34      40   uneven surface, illuminated spots 52 are displaced from one
  that improves a numerical aperture of the light beam 30. The          another along the Z axis, at different (X, Y) locations. Thus,
  light beam 30 then passes through an illumination module              while a spot at one location may be in focus of the confocal
  38, which splits the light beam 30 into an array of incident          focusing optics 42, spots at other locations may be out-of
  light beams 36, represented here, for ease of illustration, by        focus. Therefore, the light intensity of returned light beams
  a single line. The illumination module 38 may be, for            45   of the focused spots will be at its peak, while the light
  example, a grating or a micro lens array that splits the light        intensity at other spots will be off peak. Thus, for each
  beam 30 into an array of light beams 36. In one embodiment,           illuminated spot, multiple measurements of light intensity
  the array of light beams 36 is an array of telecentric light          are made at different positions along the Z-axis. For each of
  beams. Alternatively, the array of light beams may not be             such (X, Y) location, the derivative of the intensity over
  telecentric.                                                     50   distance (Z) may be made, with the Z, yielding maximum
     The confocal imaging apparatus 20 further includes a               derivative, Zo, being the in-focus distance. As pointed out
  unidirectional mirror or beam splitter (e.g., a polarizing            above, the incident light from the array of light beams 48
  beam splitter) 40 that passes the array of light beams 36. A          forms a light disk on the Surface when out of focus and a
  unidirectional mirror 40 allows transfer of light from the            complete light spot when in focus. Thus, the distance
  semiconductor laser 28 through to downstream optics, but         55   derivative will be larger when approaching in-focus posi
  reflects light travelling in the opposite direction. A polariz        tion, increasing accuracy of the measurement.
  ing beam splitter allows transfer of light beams having a                The light scattered from each of the light spots includes a
  particular polarization and reflects light beams having a             beam travelling initially in the Z axis along the opposite
  different (e.g., opposite) polarization. In one embodiment,           direction of the optical path traveled by the array of light
  the unidirectional mirror or beam splitter 40 has a small        60   beams 48. Each returned light beam in an array of returning
  central aperture. The Small central aperture may improve a            light beams 54 corresponds to one of the incident light
  measurement accuracy of the confocal imaging apparatus                beams in array of light beams 36. Given the asymmetrical
  20. In one embodiment, as a result of a structure of the              properties of unidirectional mirror or beam splitter 40, the
  unidirectional mirror or beam splitter 40, the array of light         returned light beams are reflected in the direction of detec
  beams will yield a light annulus on an illuminated area of an    65   tion optics 60.
  imaged object as long as the area is not in focus. Moreover,             The detection optics 60 may include a polarizer 62 that
  the annulus will become a completely illuminated spot once            has a plane of preferred polarization oriented normal to the
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 116 of 238 PageID #: 753


                                                      US 9,675,430 B2
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  plane polarization of polarizer 32. Alternatively, polarizer 32        ule 82 includes a depth determiner 90 and a field compen
  and polarizer 62 may be omitted in some embodiments. The               sator 92 for processing image data.
  array of returning light beams 54 may pass through imaging                Depth determiner 90 determines the relative intensity in
  optics 64 in one embodiment. The imaging optics 64 may be              each pixel over the entire range of focal settings of confocal
  one or more lenses. Alternatively, the detection optics 60        5    focusing optics 42 from received image data. Once a certain
  may not include imaging optics 64. In one embodiment, the              light spot associated with a particular pixel is in focus, the
  array of returning light beams 54 further passes through a             measured intensity will be maximal for that pixel. Thus, by
  matrix 66, which may be an array of pinholes. Alternatively,           determining the Z, corresponding to the maximal light inten
  no matrix 66 is used in some embodiments. The array of            10
                                                                         sity or by determining the maximum displacement deriva
  returning light beams 54 are then directed onto a detector 68.         tive of the light intensity, for each pixel, the relative position
     The detector 68 is an image sensor having a matrix of               of each light spot along the Z axis can be determined for
  sensing elements each representing a pixel of the image. If            each pixel. Thus, data representative of the three-dimen
  matrix 66 is used, then each pixel further corresponds to one          sional pattern of a Surface in the teeth segment 26 or other
  pinhole of matrix 66. In one embodiment, the detector is a        15   three dimensional object can be obtained.
  charge coupled device (CCD) sensor. In one embodiment,                    In embodiments, the confocal focusing optics 42 of con
  the detector is a complementary metal-oxide semiconductor              focal imaging apparatus 20 lack field lenses. The purpose of
  (CMOS) type image sensor. Other types of image sensors                 the field lens is to flatten a focal field and thus produce a flat
  may also be used for detector 68. The detector 68 detects              focal plane for the array of light beams. For confocal
  light intensity at each pixel.                                         imaging apparatuses with field lenses, each light beam from
     In one embodiment, detector 68 provides data to comput              the array of light beams focuses on the same flat focal plane.
  ing device 24. Thus, each light intensity measured in each of          However, without such field lenses the array of light beams
  the sensing elements of the detector 68, is then captured and          focus on an imaginary non-flat focal Surface (e.g., on a
  analyzed, in a manner to be described below, by processor              curved focal surface). This causes the Z axis information
  24.                                                               25   that depth determiner 90 computes to be distorted for many
    Confocal imaging apparatus 20 further includes a control             pixels.
  module 70 connected both to semiconductor laser 28 and a                  Field compensator 92 compensates for the curved field
  motor 72, voice coil or other translation mechanism. In one            caused by the lack of a field lens. Field compensator 92 may
  embodiment, control module 70 is or includes a field pro               also compensate for changes in a position of the curved focal
  grammable gate array (FPGA) configured to perform control         30
                                                                         Surface caused by temperature and/or for magnification
  operations. Motor 72 is linked to confocal focusing optics 42          changes caused by changes in a focusing setting. Field
  for changing a focusing setting of confocal focusing optics            compensator 92 applies a field curvature model 94 and/or
  42. This may adjust the relative location of an imaginary              other optics compensation model (not shown) to each Z axis
  non-flat focal Surface of confocal focusing optics 42 along
  the Z-axis (e.g., in the imaging axis). Control module 70         35   measurement of each pixel to correct for field curvature,
  may induce motor 72 to axially displace (change a location             temperature and/or magnification changes. In one embodi
  of) one or more lenses of the confocal focusing optics 42 to           ment, a different field curvature model 94 (or other optics
  change the focal depth of the imaginary non-flat focal                 compensation model) is applied for each focusing setting of
  Surface. In one embodiment, motor 72 or confocal imaging               the confocal imaging apparatus 20. This is because the
  apparatus 20 includes an encoder (not shown) that accu            40   amount of field curvature and/or magnification may change
  rately measures a position of one or more lenses of the                with changes in the focusing setting. Alternatively, a single
  confocal focusing optics 42. The encoder may include a                 field curvature model 94 (or other optics compensation
  sensor paired to a scale that encodes a linear position. The           model) may account for the changes in the field curvature
  encoder may output a linear position of the one or more                caused by changes in the focusing setting and/or for changes
  lenses of the confocal focusing optics 42. The encoder may        45   in magnification caused by changes in the focusing setting.
  be an optical encoder, a magnetic encoder, an inductive                For each combination of an X,Y pixel location and a
  encoder, a capacitive encoder, an eddy current encoder, and            focusing setting (e.g., a Z-axis position of one or more lenses
  so on. After receipt of feedback that the location of the one          of the focusing optics), a particular depth adjustment may be
  or more lenses has changed, control module 70 may induce               applied based on the field curvature model or models.
  laser 28 to generate a light pulse. Control unit 70 may           50   Additionally, an X location adjustment and/or a Y location
  additionally synchronize image-capturing module 80 from                adjustment bay be applied based on the field curvature
  FIG. 1B to receive and/or store data representative of the             model and/or other optics compensation model. In one
  light intensity from each of the sensing elements at the               embodiment, for each combination of an X,Y pixel location,
  particular location of the one or more lenses (and thus of the         a focusing setting, and a temperature reading or a Z-axis
  focal depth of the imaginary non-flat focal Surface). In          55   position of a measured element whose position changes with
  Subsequent sequences, the location of the one or more lenses           changes in temperature, a particular depth adjustment may
  (and thus the focal depth) will change in the same manner              be applied based on the field curvature model or models. The
  and the data capturing will continue over a wide focal range           adjusted depth (Z-axis) values represent the actual Z-axis
  of confocal focusing optics 42.                                        values of the imaged surface.
     Referring now to FIG. 1B, image capturing module 80            60      A three-dimensional representation may be constructed
  may capture images responsive to receiving image capture               based on the corrected measurement data and displayed via
  commands from the control unit 70. The captured images                 a user interface 84. The user interface 84 may be a graphical
  may be associated with a particular focusing setting (e.g., a          user interface that includes controls for manipulating a
  particular location of one or more lenses in the confocal              display of the three-dimensional representation (e.g., view
  focusing optics as output by the encoder). Image processing       65   ing from different angles, Zooming-in or out, etc.). In addi
  module 82 then processes captured images captured over                 tion, data representative of the Surface topology of the
  multiple different focusing settings. Image processing mod             scanned object may be transmitted to remote devices by a
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 117 of 238 PageID #: 754


                                                      US 9,675,430 B2
                                 7                                                                       8
  communication module 88 for further processing or use                  axis. A focusing setting of the focusing optics can be
  (e.g., to generate a three dimensional virtual model of the            adjusted by moving the third lens group 210 along the
  scanned object).                                                       imaging axis. Third lens group 210 may be adjusted to
     By capturing, in this manner, an image from two or more             perform Scanning of an object. To scan an object, the third
  angular locations around the structure, e.g. in the case of a          lens group 210 may be displaced to numerous different
  teeth segment from the buccal direction, from the lingual              locations (encoder positions) along the imaging axis 240,
  direction and optionally from above the teeth, an accurate             and images may be taken at each location. In one embodi
  three-dimensional representation of the teeth segment may              ment, an axial gain of the focusing optics is approximately
  be reconstructed. This may allow a virtual reconstruction of           7x. Accordingly, a displacement of the third lens group 210
  the three-dimensional structure in a computerized environ         10   adjusts a location of a curved focal surface 230 by seven
  ment or a physical reconstruction in a CAD/CAM apparatus.              times the amount of displacement. For example, a 1 mm
  For example, a particular application is imaging of a seg              displacement of the third lens group 210 causes a position of
  ment of teeth having at least one missing tooth or a portion           the curved focal surface (also referred to as a curved focal
  of a tooth. In Such an instance, the image can then be used            plane) by 7 mm. This enables the optics 200 to be compact
  for the design and Subsequent manufacture of a crown or any       15   and minimizes movement during operation.
  other prosthesis to be fitted into this teeth segment.                    In one embodiment, second lens group 215 focuses the
     FIG. 2A illustrates optics 200 of a confocal imaging                array of light beams 225 into prism 220, which may be a
  apparatus that lacks a field lens, in accordance with one              folding prism. Prism 220 may be configured to provide an
  embodiment. The optics 200 may correspond to optics of                 appropriate refractive index (e.g., that corresponds to a
  confocal imaging apparatus 20 of FIG. 1A, Such as confocal             refractive index of glass).
  focusing optics 42.                                                       The optics 200 lack any field lens. A field lens is used to
     The optics 200 include an illumination module 38, a                 flatten a focal Surface (flatten an imaging field) to achieve a
  unidirectional mirror or beam splitter 40, a series of lenses          flat focal plane. As shown, there is no field lens between the
  that may correspond to confocal focusing optics 42, and                illumination module 38 and the unidirectional mirror or
  folding prism 220 arranged along an optical path traversed        25   beam splitter 40. Nor is there a field lens near prism 220 or
  by an array of light beams 225. The optical path is shown to           a field lens between the unidirectional mirror or beam
  be a linear path. However, in embodiments one or more of               splitter 40 and a detector (not shown). The lack of a field lens
  the components of optics 200 may change a direction of the             introduces numerous advantages over confocal imaging
  optical path. For example, the folding prism 220 may                   apparatuses that use field lenses. The field lens is a diverging
  include a mirror (not shown) that may reflect light beams at      30   lens that causes a radius of the lenses used for the focusing
  an angle. An example of Such a folding prism is shown in               optics and/or for relay optics to be larger. This in turn
  FIG. 3B. Referring back to FIG. 2, an imaging axis 240 is              increases the amount of material (e.g., glass) used in the
  shown that is aligned to the optical path traversed by the             lenses and thus increases a weight of the confocal imaging
  array of light beams 225. The imaging axis 240 is a Z-axis             apparatus. Additionally, the larger lenses cause a thickness
  that represents depth. As used herein, the imaging axis (or Z     35   of the confocal imaging apparatus to be larger. For example,
  axis) may be a curvilinear coordinate axis that corresponds            an example confocal imaging apparatus with a field lens
  to the optical path. Thus, if the optical path changes direc           includes a largest lens having a distance from an optical axis
  tion, the imaging axis changes direction correspondingly.              to an outer perimeter of the lens of about 15 mm. In contrast,
     Illumination module 38 is a source of multiple light                the same confocal imaging apparatus without a field lens
  beams. In one embodiment, illumination module is a micro          40   may include a largest lens having a distance from the optical
  lens array that divides an incoming light beam into array of           axis to an outer perimeter of the lens of less than 15 mm
  light beams 225. In one embodiment, the array of light                 (e.g., less than 13 mm or about 9 mm in embodiments).
  beams output by the illumination module 38 is an array of                 In a confocal imaging apparatus having a field lens, the
  telecentric light beams. Accordingly, chief rays of the array          field lens may be positioned between the illumination mod
  of light beams may be parallel to each other. Unidirectional      45   ule 38 and the unidirectional mirror or beam splitter 40. This
  mirror or beam splitter 40 is disposed along the optical path          causes a spacing between the illumination module 38 and
  of the array of light beams, and passes the array of light             the unidirectional mirror or beam splitter 40 to be about 7
  beams received from the unidirectional mirror or beam                  mm. Additionally, a corresponding field lens would be
  splitter 40.                                                           placed between the unidirectional mirror or beam splitter 40
     In one embodiment, the confocal focusing optics are            50   and a detector (not shown) at a distance of about 7 mm. In
  divided into a series of lens groups including a first lens            contrast, by eliminating the field lens, the distance 235
  group 205, a second lens group 215 and a third lens group              between the illumination module 38 and the unidirectional
  210. First and/or second lens groups 205, 215 may act as               mirror or beam splitter 40 may be less than 7 mm (e.g., less
  relay optics. The first and second lens groups 205, 215 are            than 5 mm or about 2 mm in embodiments). This further
  configured to focus the array of light beams and compensate       55   reduces the size of the confocal imaging apparatus.
  for optical aberrations. Optical aberrations that may be                  As mentioned, if a field lens is used in a confocal imaging
  corrected include shape aberrations, coma, Stigmatism, and             apparatus, then in actuality two field lenses are used. These
  So forth. In one embodiment, the first and second lens groups          two field lenses should be matching field lenses and should
  205, 215 are configured to produce an approximately rect               be carefully aligned to one another. This alignment can be a
  angular field having minimal optical distortion. The first lens   60   time consuming process. Additionally, failure to exactly
  group 205 and second lens group 215 may have a fixed                   align these field lenses introduces inaccuracy into the con
  position relative to each other and to other components of             focal imaging apparatus. Accordingly, an accuracy of the
  the optics 200. The third lens group 210 has a variable                confocal imaging apparatus can be improved and an ease of
  location that may be adjusted to change a location of a                manufacture for the confocal imaging apparatus can be
  curved focal surface produced by the optics 200.                  65   improved by eliminating the field lens.
     The third lens group 210 is movable along the imaging                 The lack of a field lens causes the focal surface 230 to be
  axis (Z axis), but has a fixed position normal to the imaging          a curved focal surface (or other non-flat focal surface). The
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 118 of 238 PageID #: 755


                                                       US 9,675,430 B2
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  shape of the curved focal surface 230 may depend on the                 position, a second lens group 292 with a fixed position and
  focusing setting of the focusing optics (e.g., the location of          a third lens group 294 that is movable along an imaging axis
  the third lens group 210). The curved focal surface may                 297 corresponding to a direction of propagation for an array
  introduce significant error into the confocal imaging appa              of light beams 298.
  ratus, which accounts for the inclusion of field lenses in prior   5       The array of light beams 298 are focused onto flat focal
  confocal imaging apparatuses. However, embodiments of                   plane 299. Magnification at the flat foal plane 299 changes
  the present invention provide a field compensator (see, e.g.,           with changes in focusing settings. The changes in magnifi
  field compensator 92 of FIG. 1B) that minimizes or elimi                cation may introduce significant error into the confocal
  nates the error introduced by the lack of a field lens.                 imaging apparatus. Accordingly, the focusing optics for
     As shown, the confocal focusing optics is a non-telecen         10   Some large field confocal imaging apparatuses maintain the
  tric optical system. Accordingly, magnification of an imaged            same magnification with changes in focusing settings (e.g.,
  object may change with changes in depth and/or in changes               with changes in a position of one or more lenses along an
  of focal settings. However, such magnification changes (and             imaging axis). However, embodiments of the present inven
  any accompanying distortion) may be accommodated and                    tion provide a field compensator (see, e.g., field compensator
  corrected by the field compensator based on application of         15   92 of FIG. 1B) that minimizes or eliminates the error
  a field curvature model. Alternatively, the confocal focusing           introduced by the change in magnification.
  optics may operate in a telecentric mode, and distance                     FIGS. 3A-3B illustrate a probing member 300 in accor
  introduced magnification changes may be avoided.                        dance with one embodiment. The probing member 300 is
     FIG. 2B illustrates optics 250 of a confocal imaging                 made of a light transmissive material Such as glass. In one
  apparatus that lacks a field lens, in accordance with one               embodiment, the probing member 300 acts as a prism and
  embodiment. The optics 250 may correspond to optics of                  corresponds to prism 220 of FIG. 2. Probing member 300
  confocal imaging apparatus 20 of FIG. 1A, Such as confocal              may include an anterior segment 301 and a posterior seg
  focusing optics 42. Similar to optics 200, optics 250 include           ment 302, tightly bonded (e.g., glued) in an optically trans
  an illumination module 38, a unidirectional mirror (or beam             missive manner at 303. Probing member 300 may addition
  splitter) 40, and a series of lens groups. The series of lens      25   ally include a slanted face 304 covered by a reflective mirror
  groups include a first lens group 255 with a fixed position             layer 305. A window 306 defining a sensing surface 307 may
  and a second lens group 265 that is movable along an                    be disposed at a bottom end of the anterior segment 301 in
  imaging axis 280 corresponding to a direction of propaga                a manner leaving an air gap 308. The window 306 may be
  tion for an array of light beams 270.                                   fixed in position by a holding structure which is not shown.
     The array of light beams 270 are focused onto a curved          30   An array of light rays or beams 309 are represented sche
  focal surface 275. Though the optics 250 are not telecentric,           matically. As can be seen, the array of light beams 309 are
  magnification is preserved (fixed) with changes in focusing             reflected at the walls of the probing member at an angle in
  settings because the array of light beams are collimated                which the walls are totally reflective and finally reflect on
  between first lens group 255 and second lens group 265. For             mirror layer 305 out through the sensing face 307. The array
  optics 250, axial gain is 1x. Accordingly, a displacement of       35   of light beams 309 focus on a non-flat focal surface 310, the
  1 mm of the second lens group 265 causes a displacement of              position of which can be changed by the focusing optics (not
  the curved focal surface of 1 mm.                                       shown in this figure).
     An object may be placed along the beam path to be                       Various components of the confocal imaging apparatus
  imaged. The array of light beams 285 reflect off of the object          may dissipate considerable amounts of heat relative to a size
  and an array of returning light beams return back through the      40   of the confocal imaging apparatus. For example, the confo
  series of lens groups. The array of returning light beams 285           cal imaging apparatus may include a CMOS sensor and an
  is then reflected by the unidirectional mirror (or beam                 FPGA, both of which may produce heat. Accordingly,
  splitter) 40 onto detector 68. As shown, the optics 250 lack            internal temperatures of the confocal imaging apparatus may
  a field lens between the unidirectional mirror or beam                  rise over time during use. At any given time, different
  splitter 40 and the illumination module 38 and further lack        45   portions of the confocal imaging apparatus may have dif
  a field lens between the unidirectional mirror or beam                  ferent temperatures. A temperature distribution within the
  splitter 40 and the detector 68. Accordingly, the focal surface         confocal imaging apparatus is referred to as a thermal state
  for the optics 250 is a curved focal surface 275.                       of the confocal imaging apparatus. The thermal state of the
    Embodiments have been discussed herein with reference                 confocal imaging apparatus may affect various optical
  to a confocal imaging apparatus that lacks a field lens and        50   parameters. For example, the thermal state may cause the
  that has a curved focal surface. However, in some embodi                positions of one or more optical components to move within
  ments the confocal imaging apparatus includes one or more               the confocal imaging apparatus due to expansion of the
  field lenses and thus has a flat focal surface. For such                various components in accordance with thermal expansion
  embodiments, the confocal imaging apparatus operates in a               coefficients of these components. Additionally, the refractive
  non-telecentric mode, and magnification at a focal plane           55   coefficient of one or more lens of the confocal imaging
  changes with changes in focusing settings of the confocal               apparatus may change with changes in the thermal state.
  imaging apparatus.                                                      Such changes cause measurements produced by the confocal
     FIG. 2C illustrates one example of optics 285 for a                  imaging apparatus to change with changes in the internal
  confocal imaging apparatus that includes a field lens, in               thermal state. Some regions of the confocal imaging appa
  accordance with one embodiment. The optics 285 may                 60   ratus are more sensitive to thermal change than others (e.g.,
  correspond to optics of confocal imaging apparatus 20 of                due to a high optical gain). For example, Some optical
  FIG. 1A, Such as confocal focusing optics 42. Similar to                elements may have an axial gain of up to about 7.5 in an
  optics 200 and optics 250, optics 285 include an illumination           embodiment. For Such optical elements, a 10 um movement
  module 38, a unidirectional mirror (or beam splitter) 40, and           due to changes in the thermal state could cause up to a 75um
  a series of lens groups. However, optics 285 also include a        65   shift in a measurement. Accordingly, in Some embodiments,
  field lens 288 that causes a flat focal plane 299. The series           as shown in FIGS. 3C-3D, an internal target is used to adjust
  of lens groups include a first lens group 290 with a fixed              for measurement changes caused by changes in the thermal
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 119 of 238 PageID #: 756


                                                       US 9,675,430 B2
                                  11                                                                     12
  state. Alternatively, multiple temperature sensors may be               correspond to like named components illustrated in optics
  disposed within the confocal imaging apparatus and used to              200 of FIG. 2. In confocal imaging apparatus 450 a parent
  determine changes in the thermal state.                                 light beam 452 may be a combination of light emitted by
     FIGS. 3C-3D illustrate a probing member 370 that                     multiple lasers 454A, 454B and 454C. Alternatively, the
  includes an internal target 380, in accordance with one                 parent light beam 452 may be produced by a single laser
  embodiment. The probing member 370 is substantially simi                (e.g., 454B). An illumination module 456 (e.g., an optic
  lar to probing member 300. For example, probing member                  expander) then expands the single parent beam into an array
  370 may be made of a light transmissive material such as                of incident light beams 458. Incident light beams pass
  glass, and may act as a prism. Probing member 370 may                   through a unidirectional (e.g., unidirectional) mirror or beam
  include an anterior segment 371 and a posterior segment            10   splitter 460, then through focusing optics 462 towards an
  372, tightly bonded (e.g., glued) in an optically transmissive          object 464 to be imaged.
  manner. Probing member 370 may additionally include a                      Parent beam 452 may include multiple different wave
  slanted face covered by a reflective mirror layer. A window             lengths, with a different wavelength being transmitted from
  376 defining a sensing Surface may be disposed at a bottom              each laser 454A-C. Thus, parent light beam 452 and one or
  end of the anterior segment 371. The window 376 may be             15   more incident light beams in the array of light beams 458
  glass or another transparent material, and may be fixed in              may be composed of multiple different light components.
  position by a holding structure which is not shown.                     Alternatively, each light beam in the array of light beams
     Probing member 370 additionally includes internal target             may include a single wavelength from the multiple wave
  380 secured to the anterior segment 371 of the probing                  lengths of parent beam 452. Lasers 454A-C may be arranged
  member 370 within a field of view (FOV) of the probing                  such that each light beam focuses on a different curved focal
  member 370. The internal target 380 may be a rigid reflec               surface, P, P and P, respectively. In the position shown
  tive material that will reflect light beams. The internal target        in FIG. 4, incident light beam 458A reflects off of the surface
  380 may be secured at a fixed position within the probing               at spot 470A, which in the specific optical arrangement of
  member 300. Since the internal target 380 is a part of the              optics 462 is in the focal point for light component A
  probing member 370, the location of the internal target 380        25   (emitted by laser 454A). Thus, a returned light beam 472A
  should remain constant. In one embodiment, the internal                 is measured by a detector 476 that includes a two dimen
  target 380 takes up approximately 500 um to 1 mm of the                 sional array of sensors, each corresponding to a pixel. In one
  FOV.                                                                    embodiment, the detector is a two-dimensional array of
     During measurement, an array of light rays or beams                  spectrophotometers, e.g. a 3 CHIP CCD sensor. Similarly,
  390-392 is projected out of the anterior segment 371. As can       30   different maximal intensity will be reached for spots 470B
  be seen, the internal target 380 is in the path of light beams          and 470C for light components B and C, respectively. Thus,
  390. Accordingly, the light beams 390 are reflected off of the          by using different light components each one focused simul
  internal target 380, which provides a depth (Z-axis) mea                taneously at a different plane, the time used to complete a
  surement of the internal target 380. Since the internal target          measurement can be reduced as different focal plane ranges
  380 is at a fixed position, the measured depth of the internal     35   can simultaneously be measured.
  target 380 should not change. Accordingly, any measured                    In an alternative embodiment, only a single wavelength of
  change in the position of the internal target 380 reflects              light is emitted (e.g., by a single laser). Thus, parent beam
  changes in internal optics associated with the thermal state            452 and the array of light beams 458 may include a single
  of the confocal imaging apparatus.                                      wavelength. In Such an embodiment, each of the light beams
     The light beams 392 project through the window 376 and          40   in the array of light beams 458 focuses on the same curved
  focus on a non-flat focal surface 310, the position of which            focal surface P. Thus in the position shown in FIG. 4.
  can be changed by the focusing optics (not shown in this                incident light beam 458A reflects off of the surface at spot
  figure). Alternatively, the internal target 380 may be                  470A which in the specific focusing setting of focusing
  included in an imaging apparatus with a flat focal Surface              optics 462 is at the focal point for focusing optics 462. Thus,
  (e.g., an imaging apparatus with a field lens). Such an            45   the returned light beam 472A is measured by a detector 476
  imaging apparatus may or may not be a confocal imaging                  that includes a two dimensional array of sensors, each
  apparatus. These light beams 392 may be used to measure                 corresponding to a pixel and is registered as the Z-axis
  the position of an object in the FOV of the confocal imaging            position for spot 470C. Similarly, incident light beams
  apparatus. The measured change in the position of the                   458A, 458B reflect off of the surface at spots 470A and
  internal target 380 can be used to correct for measurement         50   470B, respectively. However, the spots 470A, 470B are not
  errors caused by the thermal state. Any apparent change in              on the curved focal Surface P. Accordingly, light is
  the Z-axis position of the internal target 380 may be used to           reflected back in a blurred manner from the object 464 for
  apply an adjustment factor to other Z-axis measurements of              those spots. By changing the focusing setting for focusing
  the imaged object to compensate for changes in the focusing             optics 462 so that the focal point aligns with spot 470B and
  optics caused by temperature. Additionally, a change in the        55   separately with 470A, corresponding depths associated with
  Z-axis position of the internal target may be used to apply an          those focusing settings may be detected for spots 470B and
  adjustment to the X and Y pixel measurements in embodi                  470A, respectively.
  ments. In one embodiment, the Z-axis position of the internal              FIG. 5A is a flow chart showing one embodiment of a
  target and measured points of an object are input into a                method 500 for calibrating a confocal imaging apparatus
  thermal state compensation model to compensate for the             60   having an imaginary non-flat focal surface. Method 500 may
  thermal state. In one embodiment, the thermal state com                 be performed by processing logic that may comprise hard
  pensation model is a three dimensional polynomial function.             ware (e.g., circuitry, dedicated logic, programmable logic,
    FIG. 4 is a schematic illustration of a confocal imaging              microcode, etc.), Software (e.g., instructions run on a pro
  apparatus 450, in accordance with one embodiment. In one                cessing device to perform hardware simulation), or a com
  embodiment, the confocal imaging apparatus 450 corre               65   bination thereof. In one embodiment, at least some opera
  sponds to confocal imaging apparatus 20 of FIG. 1A. In one              tions of method 500 are performed by a computing device
  embodiment, components of confocal imaging apparatus 20                 (e.g., computing device 24 of FIG. 1B). In one embodiment,
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 120 of 238 PageID #: 757


                                                       US 9,675,430 B2
                                13                                                                       14
  at least some operations of method 500 are performed by                 than the FOV of the confocal imaging apparatus) and to
  confocal imaging apparatus 20 of FIG. 1A.                               cover more than the range for the depth of scanning of the
     The confocal imaging apparatus described in embodi                   confocal imaging apparatus.
  ments herein has a non-flat (e.g., curved) focal Surface. This             In the example of the calibration object 590, the calibra
  curved focal Surface introduces inaccuracies in depth mea               tion object 590 may be scanned in two ways. A first scan
  Surements of points of a scanned object. For example, a first           may be performed at each depth position of the calibration
  point of the object at a center of the confocal imaging                 object 590 using regular confocal scanning. This will pro
  apparatus imaging field may be in focus and thus cause a                vide a Z-position for each dot in the coordinate system of the
  highest intensity measurement at a depth Z. However, a                  confocal imaging apparatus (e.g., based on the coordinates
  second point of the object at an edge of the imaging field that    10   of the encoder that positions the lens). A second scan may be
  has a same depth as the first point may be in focus and cause           performed to generate an image of the dots at focus for each
  a highest intensity measurement at a depth Z+X due to the               focal setting. The image may be used to determine an X, Y
  non-flat focal surface, where X represents the difference               position for the center of each dot in pixel coordinates and
  between the focal point at the center of the imaging field and          with Sub-pixel accuracy.
  the focal point at the edge of the imaging field. Thus, the        15      At block 510, the measurements of the calibration object
  non-flat imaging field will cause measurements of the first             (measurements of the calibration object's Surface topology)
  and second points to yield different depth values even                  are compared to a known Surface topology of the calibration
  though they are at the same depth. In one embodiment,                   object. Each point in the calibration object (e.g., each dot in
  calibration method 500 is performed to calibrate the confo              calibration object 590 having a measured x-pixel, y-pixel
  cal imaging apparatus So that the error introduced by the               and encoder value) may be paired to a corresponding real
  non-flat focal Surface can be eliminated.                               world point (point in a world coordinate system) from the
     At block 505 of method 500, a calibration object is                  calibration object, where the world coordinate system cor
  measured by the confocal imaging apparatus. The calibra                 responds to known X, Y, Z coordinates of the calibration
  tion object is a high accuracy object with known X, Y and               object. For example, the X and Y coordinates for calibration
  Z coordinates for every point of the calibration object. The       25   object 590 would correspond to known fixed positions of the
  accuracy level of the calibration object may define the final           dots, and the Z coordinate for calibration object 590 would
  accuracy of the confocal imaging apparatus. In one embodi               depend on a setting of a calibration jig. For each point of the
  ment, the X, Y and Z coordinates for the calibration object             calibration object, a difference between a measured depth
  are accurate and known to a level of accuracy that is a degree          value and a known depth value may be determined. Addi
  of magnitude higher than a final desired accuracy of the           30   tionally, for each point of the calibration object, a difference
  confocal imaging apparatus. For example, if the confocal                between a measured X and Y position and a known X and
  imaging apparatus is to have a final accuracy to 5 microns,             Y position may be determined. This may be performed for
  then the calibration object may be accurate to 0.5 microns.             each focusing setting of the confocal imaging apparatus.
     Various calibration objects may be used, a few examples                 At block 515, the determined differences of the multiple
  of which are set forth herein. One example calibration object      35   points may be applied to a Smooth function (e.g., to a
  is a sphere with a very accurate radius on an accurate X-Y-Z            polynomial function Such as a three dimensional polynomial
  stage. Another example calibration object is a flat plate with          function) that may be used to model the field curvature of the
  a grid of horizontal and vertical lines printed on a Surface of         confocal imaging apparatus non-flat focal Surface. The
  the plate. A flatness of the plate and the line spacing may be          function is referred to herein as a un-distortion function. In
  very accurate. Another example calibration object is a flat        40   one embodiment, the determined differences are applied to
  plate with circles or dots printed on a surface of the plate.           Solve for the constants in a bivariate quadratic polynomial of
  The flatness of the plate and the size and spacing of the               the form:
  circles may be very accurate. Many other calibration objects
  may also be used. FIG. 5C illustrates one example calibra                     ZField Curvature(object (s.34aptics) a x^+ay’+ax+a+
                                                                                      assy-d6                                          (1)
  tion object 590, which is a flat plate with a grid of precisely    45
  spaced circles or dots.                                                 Where x and y are the X, Y coordinates for points on a plane
     Referring back to FIG. 5A, the calibration object is                 normal to the imaging axis. Alternatively, a higher order
  measured at each focusing setting (e.g., encoder position) of           polynomial may be used. The smooth function with the
  the confocal imaging apparatus. For some types of calibra               Solved constants may then be used as an accurate field
  tion objects (e.g., the sphere), the calibration object is moved   50   curvature model. Every parameter may be a polynomial that
  to multiple different X, Y positions for each focusing setting          depends on the focusing setting (Z-axis value) of the con
  and/or to multiple different X, Y, Z positions for each                 focal imaging apparatus. This may result in an 18 parameter
  focusing setting. For other types of calibration objects (e.g.,         field curvature model if the above described bivariate qua
  the plates), the calibration object may be moved to multiple            dratic polynomial is used.
  different Z. positions for each focusing setting. Measure          55      Alternatively, the determined differences may be applied
  ments may be taken for each position of the calibration                 to solve for the constants in another Smooth function (e.g.,
  object.                                                                 a function describing a conic shape). In Such an embodi
     In one embodiment, the calibration object is mounted to              ment, a generated model may have a different number of
  a calibration jig, which may precisely move the calibration             parameters (e.g., 12 parameters if a function describing a
  object in one or more dimensions. For example, the cali            60   conic shape is used). Linear minimization methods (e.g.,
  bration object 590 may be mounted to the calibration jig, and           linear least square method) and/or non-linear minimization
  the calibration jig may be moved along the Z-axis. In one               methods (e.g., Broyden-Fletcher-Goldfarb-Shanno (BFGS)
  embodiment, the calibration jig moves the calibration object            method) may be applied to find the best values for the
  in 1 mm increments, with an accuracy of 1 Lum. The                      constants. As mentioned, this process may be performed for
  calibration jig may move the calibration object in Such away       65   each focusing setting. This is because the amount of field
  as to cover more than the full field of view of the confocal            curvature may change with different focusing settings of the
  imaging apparatus (e.g., the calibration object may be larger           confocal imaging apparatus. Accordingly, a separate field
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 121 of 238 PageID #: 758


                                                       US 9,675,430 B2
                                15                                                                     16
  curvature model may be generated for each focusing setting.            same distance relative to one or more components of the
  Alternatively, a single field curvature model may be gener             focusing optics. With each scan, when the 3D surface of an
  ated that accounts for the changes to the field curvature              object is captured, the edge of the FOV where the internal
  model due to changes in the focusing setting.                          target is located captures a position of the internal target.
     In embodiments, X and Y positions are solved for at the             Due to the fact that the internal target is part of the confocal
  same time that the depth is solved for. For example, differ            imaging apparatus and has a fixed position, detected changes
  ences in X and Y position at different focus settings may also         in the position of the internal target are caused by changes
  be applied to solve for the constants in the smooth function.          in the thermal state. Accordingly, if a focus shift of the
  Additionally, other types of geometric correction may be               internal target is detected from the Scan, then an adjustment
  Solved for as well using this technique. All Such geometric       10   factor may be applied to the field curvature model to
  corrections may be solved for together. Other types of                 compensate for the thermal state.
  phenomena that may be corrected for using this technique                  In one embodiment, separate field curvature models are
  include magnification change, optical distortion (e.g., non            generated for each temperature value or range of the con
  constant magnification in X and y), optical aberrations, and           focal imaging apparatus at a particular focusing setting.
  so on. All such distortions may be solved for together.           15   Alternatively, a single model may be generated for each
     FIG.5D illustrates a chart 594 showing a distribution of            focusing setting that accounts for changes in temperature.
  points of the calibration object 590 as measured by the                Alternatively, a temperature dependent adjustment factor
  confocal imaging apparatus (in the coordinate system of the            may be determined and applied to the field curvature model
  confocal imaging apparatus). Chart 594 shows measure                   or models based on a measured temperature.
  ments taken with the calibration object 590 at three different            In one embodiment, a simple model may be used that
  Z positions. As shown, the dots appear to lie on a curved              assumes that optical change caused by the thermal state is
  surface. FIG. 5E illustrates a chart 597 showing a distribu            primarily due to a linear shift in the focal setting (e.g., a
  tion of points in the real world. Chart 597 shows measure              backward motion in the encoder position). For Such a model,
  ments taken with the calibration object 590 at three different         changes caused by the thermal state may be corrected by
  Z positions. As shown, the dots lie on a plane. After             25   adding the difference between a current measured internal
  calibration, the transformation for each dot may be deter              target position and a reference value to every focal setting
  mined to correct for optical distortions. Thus, the true world         (encoder value) before applying the un-distortion function.
  position of each dot may be accurately measured.                       The simple model may have the form of:
     At block 525, a temperature dependence of the confocal                    3.y.z=F(i,i,encoder-(internal target position-refer
  imaging apparatus (e.g., the focusing optics and of a lens        30              ence target position))                                        (2)
  housing for the focusing optics) is determined. In one
  embodiment, the operations of one or more of blocks                    where F is the un-distortion function, such as function (1)
  505-515 are performed at multiple temperatures over a                  above.
  temperature operating range of the confocal imaging appa                  In another embodiment, a more complex model is used
  ratus to determine the temperature dependence. Changes in         35   that assumes internal target effects are caused by the focal
  temperature may cause differences in the measured depth                shift of encoder, but in a complex way. Such a model may
  values. Accordingly, a temperature dependency may be                   have the form of:
  determined and applied to the field curvature model to create                3.y.z=F(i,if encoderinternal target position))                     (3)
  a thermal state correction model. For example, the field                 In another embodiment, a model that corrects for distor
  curvature model may be modified from x, y, z=F(i, j.              40
                                                                         tions caused by the thermal state assumes that the thermal
  encoder) to x, y, Z-F(i, j, encoder, T), where x, y and Z              state changes all optics by a small amount that can be
  represent real world coordinates, i represents an X-pixel,             linearly estimated. Such a model may have the form of:
  represents a y-pixel, encoder represents a focal setting
  (encoder position), and T represents a thermal state. For
  Such a model that takes into account the thermal state, an        45
  estimate of the thermal state should be obtained for each               x, y, z = Fho (i, j, encoder) (b - a) + Fold(i, j. encoder)(1 (p-  E)
                                                                                                                                        (b - a)   (4)
  measurement. A thermal state correction model may also be
  generated for an imaging apparatus with a flat focal Surface
  using the same process as described herein for an imaging              where F is the un-distortion function under a hot condi
  apparatus with a curved focal Surface.                            50   tion, F is the un-distortion function under a cold condi
     In one embodiment, opto-mechanical simulation is per                tion, a is the internal target position in the hot condition, b
  formed to determine a relationship between temperature and             is the internal target position in the cold position, and p is the
  adjustments in calibration of the focusing optics. This rela           measured internal target position.
  tionship may be used to determine a correction that may be                At block 535, the one or more generated field curvature
  applied to all parameters of the generated field curvature        55   models for the confocal imaging apparatus are stored. The
  model or models, where the amount of correction is based on            field curvature models may be stored in a memory of the
  a current temperature.                                                 confocal imaging apparatus and/or in a memory of a com
     In one embodiment, the main change in the focusing                  puting device that processes data from the confocal imaging
  optics due to temperature is a focus shift. Curvature of the           apparatus. In one embodiment, the field curvature models
  non-flat focal Surface may be practically unchanged by            60   are stored in a nonvolatile memory (e.g., a read only
  changes in temperature. In one embodiment, a shift in focus            memory (ROM), FLASH, or other nonvolatile memory) of
  for focusing settings may be determined by Scanning one or             the confocal imaging apparatus. The Field curvature model
  more elements (e.g., an internal target Such as internal target        (or models) may be applied to measurements of the confocal
  380 of FIGS. 3C-3D) of the confocal imaging apparatus that             imaging apparatus to correct the error in the depth measure
  is near or along the optical path. In one embodiment, the         65   ments that are introduced by the non-flat focal surface of the
  scanned element is on a side of a field of view (FOV) of the           confocal imaging apparatus. If calibration information is
  confocal imaging apparatus. This element may be kept at the            stored in memory of the confocal imaging apparatus, then
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 122 of 238 PageID #: 759


                                                        US 9,675,430 B2
                              17                                                                            18
  the field curvature models may be sent along with measure                where X, and Y are determined based on the pixel
  ment data to a computing device when measurements are                    detecting the point and Z is the lens position of the
  taken. The computing device may then use the received field              focusing optics (e.g., the focusing setting).
  curvature models to correct for the field curvature of the                  At block 560, the measurements of the calibration object
  confocal imaging apparatus.                                              (measurements of the calibration object's Surface topology)
     FIG. 5B is a flow chart showing one embodiment of a                   may be compared to a known Surface topology of the
  method 550 for calibrating a confocal imaging apparatus for              calibration object. For each point of the calibration object, a
  which changes in a focusing setting cause changes in                     difference between a measured depth value, X value and/or
  magnification. Method 550 may be performed by processing                 Y value and a known depth value, X value and/or Y value
  logic that may comprise hardware (e.g., circuitry, dedicated        10   may be determined. This may be performed for each focus
  logic, programmable logic, microcode, etc.), Software (e.g.,             ing setting of the confocal imaging apparatus.
  instructions run on a processing device to perform hardware                 At block 562, it is determined whether the focusing optics
  simulation), or a combination thereof. In one embodiment,                have a curved focal Surface. If the focusing optics do have
  at least some operations of method 550 are performed by a                a curved focal surface, the method proceeds to block 565.
  computing device (e.g., computing device 24 of FIG. 1B). In         15   Otherwise the method proceeds to block 570.
  one embodiment, at least some operations of method 550 are                  At block 565, the determined differences of the multiple
  performed by confocal imaging apparatus 20 of FIG. 1A.                   points for the X, Y and/or Z coordinates may be applied to
     The confocal imaging apparatus described with reference               a Smooth function (e.g., to a polynomial function Such as a
  to method 550 may have a non-flat (e.g., curved) focal                   three dimensional polynomial function) that may be used to
  Surface or a flat focal plane. Moreover, the confocal imaging            model the field curvature of the confocal imaging apparatus
  apparatus described with reference to method 550 has focus               non-flat focal surface. In one embodiment, the determined
  ing optics that are configured so that changes in a focusing             differences are applied to solve for the constants in a
  setting cause a change in magnification at the focal Surface             bivariate quadratic polynomial of the form:
  or focal plane. This change in magnification introduces                        ZField Curvature(object (s.34aptics) a x^+ay’+ax+a+
  inaccuracies in X and Y position measurements of points of          25
                                                                                     assy-d6                                           (5)
  a scanned object. For example, a point of the object might
  be measured to have a first X and Y position at a first                  Where X and y are the X, Y, coordinates in the sensor
  focusing setting, but might be measured to have a second X               space. Alternatively, the determined differences may be
  and Y position at a second focusing setting. Thus, the                   applied to solve for the constants in another Smooth function
  magnification changes will cause measurements to yield              30   (e.g., a function describing a conic shape). Such as a poly
  different X, Y values as the focusing setting changes. In one            nomial of higher order. The smooth function with the solved
  embodiment, calibration method 550 is performed to cali                  constants may then be used for an accurate field curvature
  brate the confocal imaging apparatus So that the inaccuracies            model.
  introduced by the changes in magnification can be elimi                     At block 570, the determined differences of the multiple
  nated.                                                              35   points for the X, Y and/or Z coordinates may be applied to
     At block 555 of method 500, a calibration object is                   a Smooth function (e.g., to a polynomial function Such as a
  measured by the confocal imaging apparatus. The calibra                  three dimensional or higher dimensional polynomial func
  tion object is a high accuracy object with known X, Y and                tion) that may be used to model the changes in magnification
  Z coordinates for every point of the calibration object. The             of the confocal imaging apparatus on an X-axis caused by
  accuracy level of the calibration object may define the final       40   changes in the focusing setting (e.g., changes in the Z.
  accuracy of the confocal imaging apparatus. In one embodi                value). In one embodiment, the determined differences are
  ment, the X, Y and Z coordinates for the calibration object              applied to solve for the constants in a bivariate quadratic
  are accurate and known to a level of accuracy that is a degree           polynomial of the form:
  of magnitude higher than a final desired accuracy of the
  confocal imaging apparatus. For example, if the confocal            45
  imaging apparatus is to have a final accuracy to 5 microns,                Where X and y are the X, Y, coordinates in the sensor
  then the calibration object may be accurate to 0.5 microns.              space. Alternatively, the determined differences may be
  Any of the calibration objects described with reference to               applied to solve for the constants in another Smooth function
  FIG. 5A may be used.                                                     (e.g., in another three dimensional polynomial function,
     The calibration object is measured at each focusing set          50   Such as a function describing a conic shape). The Smooth
  ting (encoder value) of the confocal imaging apparatus. For              function with the solved constants may then be used as an
  Some types of calibration objects (e.g., the sphere), the                accurate magnification compensation model for the X coor
  calibration object is moved to multiple different X, Y                   dinate.
  positions for each focusing setting and/or to multiple dif                  At block 575, the determined differences of the multiple
  ferent X, Y, Z positions for each focusing setting. For other       55   points for the X, Y and/or Z coordinates may be applied to
  types of calibration objects (e.g., the plates), the calibration         a Smooth function (e.g., to a polynomial function Such as a
  object may be moved to multiple different Z. positions for               three dimensional polynomial function) that may be used to
  each focusing setting. Measurements may be taken for each                model the changes in magnification of the confocal imaging
  position of the calibration object. Based on these measure               apparatus on a y-axis caused by changes in the focusing
  ments, a list of coordinates is collected in both the calibra       60   setting (e.g., changes in the Z value). In one embodiment,
  tion object space (e.g., real world) and in the sensor/optics            the determined differences are applied to solve for the
  space (e.g., virtual space). In the calibration object space,            constants in a bivariate quadratic polynomial of the form:
  each set of coordinates for a point of the object has an X,                                                                          (7)
  Y,   and Z, coordinate. These coordinates are known to be
  accurate due to the known information about the calibration         65     Where X and y are the X, Y, coordinates in the sensor
  object. In the sensor/optics space, each set of coordinates for          space. Alternatively, the determined differences may be
  a point of the object includes an X,
                                     pix Y,
                                          pix Z'-optics coordinate,        applied to solve for the constants in another Smooth function
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 123 of 238 PageID #: 760


                                                       US 9,675,430 B2
                              19                                                                         20
  (e.g., in another three dimensional polynomial function,                models are stored in a nonvolatile memory (e.g., a read only
  Such as a function describing a conic shape). The Smooth                memory (ROM), FLASH, or other nonvolatile memory) of
  function with the solved constants may then be used as an               the confocal imaging apparatus. The model (or models) may
  accurate magnification compensation model for the Y coor                be applied to measurements of the confocal imaging appa
  dinate.                                                                 ratus to correct the error in the depth measurements that are
    Blocks 565, 570 and 575 have been described as three                  introduced by the non-flat focal surface as well as to correct
  separate operations. However, in Some embodiments a                     for inaccuracies caused by changes in magnification. If
  single operation may be performed to solve for each of the              calibration information is stored in memory of the confocal
  X-coordinate, the y-coordinate and the Z-coordinate. For                imaging apparatus, then the models may be sent along with
  example, an un-distortion function having the following            10   measurement data to a computing device when measure
  form may be solved to determine the x, y and Z coordinates.             ments are taken. The computing device may then use the
                                                                          received models to correct for the field curvature and/or
                                                                          magnification changes of the confocal imaging apparatus.
                                                                             FIG. 6 is a flow chart showing one embodiment of a
                                                                     15   method 600 for adjusting depth measurements of a scanned
                                                                          three dimensional object based on application of a field
                                                                          curvature model or other model (e.g., a thermal state com
                                                                          pensation model) calibrated to a confocal imaging apparatus
                                                                          or other imaging apparatus (e.g., a stereoscopic imaging
  where F, F, and F2 are the functions whose results in world             apparatus). Method 600 may be performed by processing
  coordinates are to be solved for, X and y are pixel coordi              logic that may comprise hardware (e.g., circuitry, dedicated
  nates measured by the confocal imaging apparatus, Z is a                logic, programmable logic, microcode, etc.), Software (e.g.,
  focal setting (e.g., encoder coordinates corresponding to a             instructions run on a processing device to perform hardware
  focal setting), a, b, and c, are learned parameters, and n, m           simulation), or a combination thereof. In one embodiment,
  and k are the maximal degree of the nominal. The function          25   at least some operations of method 600 are performed by a
  may be selected to minimize a mean square error between                 computing device (e.g., computing device 24 of FIG. 1B
  the world coordinates and the found positions after the                 executing image processing module 82).
  function transformation. Outlier positions may be detected                 At block 605 of method 600, processing logic receives
  and removed before fitting. In one embodiment, a number of              intensity measurements generated by pixels of a detector of
  non-Zero parameters is constrained.                                30   a confocal imaging apparatus. The detector may have a
     At block 580, one or more optics correcting models are               two-dimensional array of pixels, and each pixel may receive
  generated based on the first second and third polynomial                a particular light beam of an array of light beams directed at
  functions (or other Smooth functions). Such as those repre              the detector. The array of light beams may be an array of
  sented in equations 5-8. Every parameter for equations 5-8              returning light beams that have been reflected off of a
  may be a polynomial that depends on the focusing setting           35   Surface of the imaged three dimensional object. Thus, each
  (Z-axis value) of the confocal imaging apparatus. In one                pixel of the detector is associated with a particular point of
  embodiment, each parameter is modeled as a quadratic                    the three dimensional object and provides intensity mea
  change to the Z          (focusing setting). For example, param         Surements for an associated returning light beam from the
  eter a may be a parameter having a form:                                array of returning light beams.
                         :          :       2
                                                               (9)
                                                                     40      Each received intensity measurement is associated with a
        a 1(Zoetics)-A+B'Zoetics FC'Zoetics                               particular focusing setting of the confocal imaging appara
  Parameters a-as, b-b and c-c may be similarly repre                     tus. Intensity measurements may be received over a range of
  sented. This may result in a 54 parameter model that corrects           focusing settings. At block 620, processing logic determines,
  for full curvature, magnification and distortion of the field of        for each pixel, a focusing setting of the confocal imaging
  view (FOV).                                                        45   apparatus that provides a maximum measured intensity.
     Linear minimization methods (e.g., linear least Square                  A relative distance between a probe of the confocal
  method) and/or non-linear minimization methods (e.g.,                   imaging apparatus and a focal point of the confocal imaging
  Broyden-Fletcher-Goldfarb-Shanno (BFGS) method) may                     apparatus may be known for each focusing setting (encoder
  be applied to find the best values for the constants at each of         value). A point of the imaged object is known to be in focus
  blocks 565,570 and 575. As mentioned, these processes may          50   (e.g., at the focal point) when a measured intensity for that
  be performed for each focusing setting. This is because the             point is maximal. Accordingly, at block 630 processing logic
  amount of field curvature and magnification may change                  determines, for each pixel, a depth of a point of the three
  with different focusing settings of the confocal imaging                dimensional object associated with that pixel that corre
  apparatus. Accordingly, a separate model may be generated               sponds to the focusing setting that yielded the maximal
  for each focusing setting. Alternatively, a single model may       55   intensity. If the imaging apparatus includes an internal target
  be generated that accounts for the changes to the model due             in the FOV of the imaging apparatus, then some pixels will
  to changes in the focusing setting. Note that temperature               be associated with points on the internal target. Accordingly,
  dependence may also be determined and included in the                   a depth of the points of the internal target may also be
  model as described with reference to block 525 of method                determined.
  500. In one embodiment, a temperature dependence is                60      As discussed previously herein, the non-flat focal Surface
  determined, and a model that corrects for thermal state is              and/or magnification changes of the confocal imaging appa
  created, as discussed above with reference to method 500.               ratus introduce an error in the depth measurements and/or in
     At block 585, the one or more generated models for the               the X, Y coordinate measurements. Accordingly, at block
  confocal imaging apparatus are stored. The models may be                640 processing logic adjusts the determined depths of points
  stored in a memory of the confocal imaging apparatus and/or        65   of the imaged three dimensional object based on applying
  in a memory of a computing device that processes data from              the determined focusing settings for the pixels associated
  the confocal imaging apparatus. In one embodiment, the                  with those points to a field curvature model. Processing logic
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 124 of 238 PageID #: 761


                                                      US 9,675,430 B2
                                21                                                                    22
  may additionally or alternatively determine X, Y coordinates          (RISC) microprocessor, very long instruction word (VLIW)
  of the points based on applying the determined focusing               microprocessor, processor implementing other instruction
  settings to the field curvature model or other model. One or          sets, or processors implementing a combination of instruc
  more field curvature models and/or other models may be                tion sets. Processing device 702 may also be one or more
  used. For example, a particular field curvature model and/or          special-purpose processing devices such as an application
  other model may be associated with each focusing setting.             specific integrated circuit (ASIC), a field programmable gate
  An appropriate field curvature model may be identified                array (FPGA), a digital signal processor (DSP), network
  based on the focusing setting at which a point on the object          processor, or the like. Processing device 702 is configured to
  came into focus. A particular depth adjustment for that point         execute the processing logic (instructions 726) for perform
  may then be determined by providing the X, Y coordinates         10   ing operations and steps discussed herein.
  of the pixel into the determined field curvature model.                  The computing device 700 may further include a network
  Alternatively, a single field curvature model may be used,            interface device 722 for communicating with a network 764
  and the X, Y coordinates and focusing setting may be input            or other device. The computing device 700 also may include
  into the field curvature model to determine the depth dis             a video display unit 710 (e.g., a liquid crystal display (LCD)
  placement. In one embodiment, a temperature of the focus         15   or a cathode ray tube (CRT)), an alphanumeric input device
  ing optics is also measured and/or a thermal state is other           712 (e.g., a keyboard), a cursor control device 714 (e.g., a
  wise determined (e.g., using an internal target position), and        mouse), and a signal generation device 720 (e.g., a speaker).
  an additional depth adjustment factor (and/or other optical              The data storage device 728 may include a machine
  adjustment) is determined based on the temperature (e.g.,             readable storage medium (or more specifically a non-tran
  using a thermal state compensation model). This additional            sitory computer-readable storage medium) 724 on which is
  depth adjustment factor (and/or additional optical adjust             stored one or more sets of instructions 726 embodying any
  ment) may then be applied to the measured depths (and/or X            one or more of the methodologies or functions described
  and Y coordinates) of all points. In one embodiment, a single         herein. A non-transitory storage medium refers to a storage
  model is used that compensates for both the thermal state             medium other than a carrier wave. The instructions 726 may
  and field curvature.                                             25   also reside, completely or at least partially, within the main
     At block 650, processing logic may determine a shape               memory 704 and/or within the processing device 702 during
  (e.g., Surface topology) of the three dimensional object              execution thereof by the computer device 700, the main
  based on the adjusted depths and/or X and y coordinates.              memory 704 and the processing device 702 also constituting
  Processing logic may then create an accurate virtual three            computer-readable storage media.
  dimensional model of the imaged object.                          30      The computer-readable storage medium 724 may also be
     FIG. 7 illustrates a diagrammatic representation of a              used to store a field compensator 750 which may correspond
  machine in the example form of a computing device 700                 to field compensator 92 of FIG. 1B. The computer readable
  within which a set of instructions, for causing the machine           storage medium 724 may also store a software library
  to perform any one or more of the methodologies discussed             containing methods that call the field compensator 750.
  herein, may be executed. In alternative embodiments, the         35   While the computer-readable storage medium 724 is shown
  machine may be connected (e.g., networked) to other                   in an example embodiment to be a single medium, the term
  machines in a Local Area Network (LAN), an intranet, an               “computer-readable storage medium’ should be taken to
  extranet, or the Internet. The machine may operate in the             include a single medium or multiple media (e.g., a central
  capacity of a server or a client machine in a client-server           ized or distributed database, and/or associated caches and
  network environment, or as a peer machine in a peer-to-peer      40   servers) that store the one or more sets of instructions. The
  (or distributed) network environment. The machine may be              term “computer-readable storage medium’ shall also be
  a personal computer (PC), a tablet computer, a set-top box            taken to include any medium that is capable of storing or
  (STB), a Personal Digital Assistant (PDA), a cellular tele            encoding a set of instructions for execution by the machine
  phone, a web appliance, a server, a network router, Switch or         and that cause the machine to perform any one or more of
  bridge, or any machine capable of executing a set of             45   the methodologies of the present invention. The term “com
  instructions (sequential or otherwise) that specify actions to        puter-readable storage medium’ shall accordingly be taken
  be taken by that machine. Further, while only a single                to include, but not be limited to, Solid-state memories, and
  machine is illustrated, the term “machine' shall also be              optical and magnetic media.
  taken to include any collection of machines (e.g., comput                It is to be understood that the above description is
  ers) that individually or jointly execute a set (or multiple     50   intended to be illustrative, and not restrictive. Many other
  sets) of instructions to perform any one or more of the               embodiments will be apparent upon reading and understand
  methodologies discussed herein. In one embodiment, com                ing the above description. Although embodiments of the
  puting device 700 corresponds to computing device 24 of               present invention have been described with reference to
  FIG. 1B.                                                              specific example embodiments, it will be recognized that the
     The example computing device 700 includes a processing        55   invention is not limited to the embodiments described, but
  device 702, a main memory 704 (e.g., read-only memory                 can be practiced with modification and alteration within the
  (ROM), flash memory, dynamic random access memory                     spirit and scope of the appended claims. Accordingly, the
  (DRAM) such as synchronous DRAM (SDRAM), etc.), a                     specification and drawings are to be regarded in an illustra
  static memory 706 (e.g., flash memory, static random access           tive sense rather than a restrictive sense. The scope of the
  memory (SRAM), etc.), and a secondary memory (e.g., a            60   invention should, therefore, be determined with reference to
  data storage device 728), which communicate with each                 the appended claims, along with the full scope of equivalents
  other via a bus 708.                                                  to which such claims are entitled.
    Processing device 702 represents one or more general
  purpose processors such as a microprocessor, central pro                What is claimed is:
  cessing unit, or the like. More particularly, the processing     65     1. A confocal imaging apparatus comprising:
  device 702 may be a complex instruction set computing                   an illumination module to generate an array of light
  (CISC) microprocessor, reduced instruction set computing                   beams;
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 125 of 238 PageID #: 762


                                                      US 9,675,430 B2
                               23                                                                     24
    focusing optics comprising a plurality of lenses disposed                 a second lens group disposed proximate to the folding
       along an optical path of the array of light beams, the                    prism, the second lens group having a fixed location
       focusing optics to perform confocal focusing of the                       relative to the first lens group; and
       array of light beams onto a non-flat focal surface and to              a third lens group disposed between the first lens group
       direct the array of light beams toward a three dimen                      and the second lens group, the third lens group
       sional object to be imaged;                                               having a variable location that is adjustable by the
                                                                                 translation mechanism.
    a translation mechanism to adjust a location of at least one           6. The confocal imaging apparatus of claim 3, wherein the
       lens of the plurality of lenses to displace the non-flat         beam splitter is separated from the illumination module by
       focal surface along an imaging axis defined by the          10
                                                                        a distance of less than 5 millimeters.
       optical path; and                                                  7. The confocal imaging apparatus of claim 1, wherein a
    a detector to measure intensities of an array of returning          radius of a largest lens of the plurality of lenses is less than
       light beams that are reflected off of the three dimen            13 millimeters.
       Sional object and directed back through the focusing               8. The confocal imaging apparatus of claim 1, further
       optics, wherein the intensities of the array of returning        comprising a processor to:
                                                                   15
       light beams are to be measured for a plurality of                  determine, for each returning light beam of the array of
       locations of the at least one lens for determination of                returning light beams, a location of the at least one lens
        positions on the imaging axis of a plurality of points of             that yields a maximum measured intensity;
        the three dimensional object, wherein detected posi               determine, for each returning light beam of the array of
        tions of one or more of the plurality of points are to be             returning light beams, a position on the imaging axis of
        adjusted to compensate for the non-flat focal surface.                a point of the three dimensional object illuminated by
     2. The confocal imaging apparatus of claim 1, wherein the                the returning light beam that corresponds to the deter
  non-flat focal surface comprises a curved focal plane and the          mined location of the at least one lens; and
  detected positions for the one or more of the plurality of          adjust the position on the imaging axis of at least one
  points are to be adjusted to compensate for a curvature of the 25      point of the three dimensional object based on applying
                                                                         the determined location of the at least one lens to a field
  curved focal plane.                                                    curvature model that is calibrated to the confocal
     3. The confocal imaging apparatus of claim 1, further               imaging apparatus to compensate for the non-flat focal
  comprising:
     a beam splitter disposed along the optical path between             surface.
                                                                      9. The
        the illumination module and the focusing optics, 30 field curvature   confocal imaging apparatus of claim 8, wherein the
        wherein the beam splitter directs the array of light nomial function.model comprises a three dimensional poly
        beams from the illumination module towards the focus
                                                                       10. The confocal imaging apparatus of claim 8, wherein
        ing optics and directs the array of returning light beams a shape
        from the focusing optics to the detector;                           of the non-flat focal surface changes with changes in
                                                                    the location of the at least one lens.
     wherein the confocal imaging apparatus is characterized 35 11. The confocal imaging apparatus of claim 8, further
        in having an absence of a field lens between the beam comprising:
        splitter and the illumination module.                         one or more elements near or along the optical path, the
     4. The confocal imaging apparatus of claim 3, wherein the
  confocal imaging apparatus is further characterized in hav             one or more elements having a fixed distance from at
  ing an absence of a field lens between the beam splitter and 40        least one lens of the plurality of lenses, wherein the
  the detector.                                                          fixed distance changes with changes in temperature,
     5. The confocal imaging apparatus of claim 1, further               wherein the processor is further to:
  comprising:                                                            determine a current distance between the one or more
     a folding prism along the optical path of the array of light           elements and the at least one lens; and
        beams after the focusing optics, wherein the folding 45          apply  an adjustment factor to the field curvature model
                                                                            based on the current distance.
        prism is to direct the array of light beams onto the three    12. The confocal imaging apparatus of claim 8, wherein
        dimensional object to be imaged;                            the array of light beams generated by the illumination
     wherein the plurality of lenses comprise:
        a first lens group disposed proximate to the illumination module is an array of telecentric light beams.
         module:
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 126 of 238 PageID #: 763




                   EXHIBIT 2
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 127 of 238 PageID #: 764
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 128 of 238 PageID #: 765
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 129 of 238 PageID #: 766
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 130 of 238 PageID #: 767
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 131 of 238 PageID #: 768
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 132 of 238 PageID #: 769
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 133 of 238 PageID #: 770
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 134 of 238 PageID #: 771
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 135 of 238 PageID #: 772
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 136 of 238 PageID #: 773
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 137 of 238 PageID #: 774
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 138 of 238 PageID #: 775
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 139 of 238 PageID #: 776
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 140 of 238 PageID #: 777
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 141 of 238 PageID #: 778
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 142 of 238 PageID #: 779
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 143 of 238 PageID #: 780
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 144 of 238 PageID #: 781
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 145 of 238 PageID #: 782
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 146 of 238 PageID #: 783
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 147 of 238 PageID #: 784
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 148 of 238 PageID #: 785
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 149 of 238 PageID #: 786
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 150 of 238 PageID #: 787
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 151 of 238 PageID #: 788
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 152 of 238 PageID #: 789
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 153 of 238 PageID #: 790
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 154 of 238 PageID #: 791
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 155 of 238 PageID #: 792
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 156 of 238 PageID #: 793
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 157 of 238 PageID #: 794
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 158 of 238 PageID #: 795
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 159 of 238 PageID #: 796
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 160 of 238 PageID #: 797
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 161 of 238 PageID #: 798
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 162 of 238 PageID #: 799
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 163 of 238 PageID #: 800
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 164 of 238 PageID #: 801




                   EXHIBIT 3
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 165 of 238 PageID #: 802
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 166 of 238 PageID #: 803
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 167 of 238 PageID #: 804
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 168 of 238 PageID #: 805
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 169 of 238 PageID #: 806
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 170 of 238 PageID #: 807
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 171 of 238 PageID #: 808
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 172 of 238 PageID #: 809
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 173 of 238 PageID #: 810
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 174 of 238 PageID #: 811
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 175 of 238 PageID #: 812
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 176 of 238 PageID #: 813
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 177 of 238 PageID #: 814
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 178 of 238 PageID #: 815
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 179 of 238 PageID #: 816
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 180 of 238 PageID #: 817
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 181 of 238 PageID #: 818
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 182 of 238 PageID #: 819
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 183 of 238 PageID #: 820
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 184 of 238 PageID #: 821
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 185 of 238 PageID #: 822
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 186 of 238 PageID #: 823
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 187 of 238 PageID #: 824
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 188 of 238 PageID #: 825
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 189 of 238 PageID #: 826
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 190 of 238 PageID #: 827
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 191 of 238 PageID #: 828
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 192 of 238 PageID #: 829
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 193 of 238 PageID #: 830
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 194 of 238 PageID #: 831
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 195 of 238 PageID #: 832
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 196 of 238 PageID #: 833
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 197 of 238 PageID #: 834
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 198 of 238 PageID #: 835
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 199 of 238 PageID #: 836
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 200 of 238 PageID #: 837
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 201 of 238 PageID #: 838
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 202 of 238 PageID #: 839




                        Exhibit 4
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 203 of 238 PageID #: 840
   DEPARTMENT OF HEALTH & HUMAN SERVICES                                           Public Health Service


                                                                                   Food and Drug Administration
                                                                                   10903 New Hampshire Avenue
                                                                                   Document Control Center – WO66-G609
                                                                                   Silver Spring, MD 20993-0002




                                            April 28, 2016


 3Shape A/S
 Ms. Hanne Nielsen
 Regulatory Affairs Manager
 Holmens Kanal 7
 DK-1060 Copenhagen
 DENMARK


 Re: K152086
     Trade/Device Name: 3Shape Ortho System ™
     Regulation Number: 21 CFR 872.5470
     Regulation Name: Orthodontic Plastic Bracket
     Regulatory Class: II
     Product Code: PNN, LLZ
     Dated: March 15, 2016
     Received: March 18, 2016


 Dear Ms. Nielsen:

 We have reviewed your Section 510(k) premarket notification of intent to market the device
 referenced above and have determined the device is substantially equivalent (for the indications
 for use stated in the enclosure) to legally marketed predicate devices marketed in interstate
 commerce prior to May 28, 1976, the enactment date of the Medical Device Amendments, or to
 devices that have been reclassified in accordance with the provisions of the Federal Food, Drug,
 and Cosmetic Act (Act) that do not require approval of a premarket approval application (PMA).
 You may, therefore, market the device, subject to the general controls provisions of the Act. The
 general controls provisions of the Act include requirements for annual registration, listing of
 devices, good manufacturing practice, labeling, and prohibitions against misbranding and
 adulteration. Please note: CDRH does not evaluate information related to contract liability
 warranties. We remind you, however, that device labeling must be truthful and not misleading.

 If your device is classified (see above) into either class II (Special Controls) or class III (PMA), it
 may be subject to additional controls. Existing major regulations affecting your device can be
 found in the Code of Federal Regulations, Title 21, Parts 800 to 898. In addition, FDA may
 publish further announcements concerning your device in the Federal Register.
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 204 of 238 PageID #: 841

 Page 2 – Ms. Hanne Nielsen


 Please be advised that FDA’s issuance of a substantial equivalence determination does not mean
 that FDA has made a determination that your device complies with other requirements of the Act
 or any Federal statutes and regulations administered by other Federal agencies. You must
 comply with all the Act’s requirements, including, but not limited to: registration and listing (21
 CFR Part 807); labeling (21 CFR Part 801); medical device reporting (reporting of medical
 device-related adverse events) (21 CFR 803); good manufacturing practice requirements as set
 forth in the quality systems (QS) regulation (21 CFR Part 820); and if applicable, the electronic
 product radiation control provisions (Sections 531-542 of the Act); 21 CFR 1000-1050.

 If you desire specific advice for your device on our labeling regulation (21 CFR Part 801), please
 contact the Division of Small Manufacturers, International and Consumer Assistance at its toll-
 free number (800) 638-2041 or (301) 796-7100 or at its Internet address
 http://www.fda.gov/MedicalDevices/ResourcesforYou/Industry/default.htm. Also, please note
 the regulation entitled, sMisbranding by reference to premarket notifications (21CFR Part
 807.97). For questions regarding the reporting of adverse events under the MDR regulation (21
 CFR Part 803), please go to
 http://www.fda.gov/MedicalDevices/Safety/ReportaProblem/default.htm for the CDRH’s Office
 of Surveillance and Biometrics/Division of Postmarket Surveillance.

 You may obtain other general information on your responsibilities under the Act from the
 Division of Small Manufacturers, International and Consumer Assistance at its toll-free number
 (800) 638-2041 or (301) 796-7100 or at its Internet address
 http://www.fda.gov/MedicalDevices/ResourcesforYou/Industry/default.htm.


                                              Sincerely yours,

                                                                 Tina Kiang -
                                                                 S
                                           for Erin I. Keith, M.S.
                                               Director
                                               Division of Anesthesiology, General Hospital,
                                                  Respiratory, Infection Control and
                                                  Dental Devices
                                               Office of Device Evaluation
                                               Center for Devices and
                                                 Radiological Health



 Enclosure
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 205 of 238 PageID #: 842
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 206 of 238 PageID #: 843
                                                                     K152086

         3SHAPE ORTHO SYSTEM™ SOFTWARE 510(K) SUBMISSION


         510(K) SUMMARY – Traditional 510(K)


         Submitter Information

         A Company Name:                       3Shape A/S

         B Company Address:                    Holmens Kanal 7
                                               DK-1060 Copenhagen K

         C Company Phone:                      +45 7027 2620
           Company Fax:                        +45 7027 2621

         D Contact Person:                     Hanne Nielsen
                                               Regulatory Affairs Manager

         E Date Summary Prepared:              April 25, 2016



         Device Identification

         A Trade/proprietary Name:             3Shape Ortho System™

         B Common Name:                        Orthodontic Plastic Brackets

         C Device Classification Name:         Orthodontic Treatment Planning and
                                               Diagnosis Software

         C Regulation Number:                  872.5470

         C Classification:                     Class II

         D Product Code:                       PNN (Orthodontic Software); LLZ

         Predicate Device

         The 3Shape Ortho System™ Software has the same intended uses and technical
         characteristics as primary predicate OrthoCAD iQ (K082207) from Cadent Inc. and
         reference predicate Dolphin Imaging from Patterson Dental Supply (K110430) as
         listed in “Volume 005, Comparison to Predicate Devices, Table 1: Predicates”.

         Based on the information and supporting documentation provided, the 3Shape Ortho
         System™ Software and the primary predicate (OrthoCAD) have same intended use.
         Both software devices are used by Dental Professionals in orthodontic treatment
         planning (before, during, after treatment) covering management of patients and
         models, inspection, 2D and 3D measurement and orthodontic analysis of models, 2D
         & 3D treatment simulation, as well as virtual appliance preparation, handling and
         export, and they are both providing device output. Additionally, the indirect bonding
         functionality of both systems is intended for use with commercially available
         brackets and wires. Therefore, the 3Shape Ortho System™ Software and the primary
         predicate (OrthoCAD) are found to be similar in their intended use, supported
         anatomic areas and the majority of the available features and functionalities.




                                                                                      PAGE 33
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 207 of 238 PageID #: 844

         3SHAPE ORTHO SYSTEM™ SOFTWARE 510(K) SUBMISSION


         Indications for Use

         3Shape Ortho System™ is intended for use as a medical front-end device providing
         tools for management of orthodontic models, systematic inspection, detailed
         analysis, treatment simulation and virtual appliance design options (Custom Metal
         Bands, Export of Models, Indirect Bonding Transfer Media) based on 3D models of
         the patient’s dentition before the start of an orthodontic treatment. It can also be
         applied during the treatment to inspect and analyze the progress of the treatment. It
         can be used at the end of the treatment to evaluate if the outcome is consistent with
         the planned/desired treatment objectives.

         The use of the Ortho System™ requires the user to have the necessary training and
         domain knowledge in the practice of orthodontics, as well as to have received a
         dedicated training in the use of the software.

         Device Description

         3Shape’s Ortho System™ is a software system used for the management of 3D
         scanned orthodontic models of the patients, orthodontic diagnosis by measuring,
         analyzing, inspecting and visualize 3D scanned orthodontic models, virtual planning
         of orthodontic treatments by simulating tooth movements, virtual placement of
         orthodontic brackets on the 3D models and design of orthodontic appliances based
         on 3D scanned orthodontic models, including transfer methods for indirect bonding
         of brackets. Output includes only Export Model (also called dental casts), Custom
         Metal Bands (also called metal bands), and Indirect Bonding Transfer Trays (also
         called orthodontic bracket placement trays). All devices are to be fabricated from
         FDA cleared materials.

         The device has no patient contact.

         Scientific Concept

         The underlying scientific concept of the Ortho System™ is to apply digital imaging
         tools for in orthodontic case archiving, diagnosis, treatment planning and CAD design
         of customized appliances.

         Virtual positioning of brackets is possible with the use of encrypted libraries of the
         bracket geometry provided by the manufacturers and available through a dedicated
         download center in the software.

         The system supports the following types of digital data: DICOM, STL, JPG, BMP,
         PNG.

         Summary of the technological characteristics

         Ortho System™ is a software only device programmed in Delphi and has the
         following PC/laptop hardware requirements:


                          Item                           Minimum Requirements

          OS:                                  Windows 7 or 8 64-bit
          RAM:                                 8 GB
          Monitor Resolution:                  1280x800 or similar
          Video Card Memory:                   1 GB GeForce


                                                                                        PAGE 34
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 208 of 238 PageID #: 845

         3SHAPE ORTHO SYSTEM™ SOFTWARE 510(K) SUBMISSION


          Available HDD Space:                    250 GB
          CPU:                                    IntelCore i5 or equivalent
          Network:                                Network Internet connection
          Mouse:                                  With the wheel button




         The Ortho System™ Software has the same intended uses and technical
         characteristics as OrthoCAD iQ (K082207) from Cadent Inc. and Dolphin Imaging
         from Patterson Dental Supply (K110430):

         Feature name                                            3Shape        Primary       Reference
                                                                 Ortho         predicate     predicate
                                                                 System™       Cadent Inc.   Patterson
                                                                               OrthoCAD iQ   Dolphin
                                                                               (K082207)     Imaging
                                                                                             (K110430)
         Supported anatomic areas                                Maxilla       Maxilla       Maxilla

                                                                 Mandible      Mandible      Mandible

         Intended use

          Managing patient and case base data                       Yes             Yes          Yes

          Collection of study material                              Yes             Yes          Yes

          Alignment of study material                               Yes             Yes          Yes

          Measuring study material                                  Yes             Yes          Yes

          Analyzing study material                                  Yes             Yes          Yes

          Treatment simulation                                      Yes             Yes          Yes

          Virtual appliance design                                  Yes             Yes          Yes

         Supported PC formats                                     Windows        Windows      Windows

         Managing patient and case base data

          Creating, editing, deleting and copying patient data      Yes             Yes          Yes

          Creating, editing, deleting and copying case data         Yes             Yes          Yes




                                                                                             PAGE 35
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 209 of 238 PageID #: 846

         3SHAPE ORTHO SYSTEM™ SOFTWARE 510(K) SUBMISSION


         Feature name                                  3Shape      Primary       Reference
                                                                   predicate     predicate
                                                       Ortho       Cadent Inc.   Patterson
                                                       System™     OrthoCAD iQ   Dolphin
                                                                   (K082207)     Imaging
                                                                                 (K110430)

         Collection of study material

          Surface scan for intra-oral scanner            Yes           Yes          Yes

          Surface scan from STL file                     Yes           Yes          Yes

          CT image data                                 DICOM          No          DICOM

          2D overlay                                   PNG, JPG,      JPEG        PNG, JPG,
                                                         BMP                        BMP

         Alignment of study material

          Aligning surface scan and CT image             Yes           No           Yes

          Aligning cephalometric images                  Yes           No           Yes

          Alignment of 2D overlays (e.g. ideal arch)     Yes           No           Yes

          Ability to check/adjust DICOM visibility       Yes           No           Yes

          DICOM scan segmentation                         No           No           Yes

         Measuring study material

           2D measurement toolbox                        Yes           Yes          Yes

           3D measurement toolbox                        Yes           Yes          Yes

         Analyzing study material

           Arch shape                                    Yes           Yes          Yes

           Wire length                                   Yes           Yes          Yes

           Tooth width                                   Yes           Yes          Yes

           Bolton                                        Yes           Yes          Yes

           Space analysis                                Yes           Yes          Yes

           Overjet/overbite                              Yes           Yes          Yes

           Occlusion map                                 Yes           Yes          Yes

         Treatment simulation

           2D & 3D simulation                            Yes           Yes          Yes




                                                                                 PAGE 36
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 210 of 238 PageID #: 847

         3SHAPE ORTHO SYSTEM™ SOFTWARE 510(K) SUBMISSION


         Feature name                                       3Shape      Primary        Reference
                                                                        predicate      predicate
                                                            Ortho       Cadent Inc.    Patterson
                                                            System™     OrthoCAD iQ    Dolphin
                                                                        (K082207)      Imaging
                                                                                       (K110430)

         Virtual appliance design

         Orthodontic appliance search                          Yes           Yes           Yes

         Orthodontic appliance virtual preparation             Yes           Yes           Yes

         Orthodontic appliance design                          Yes           No            Yes

         Orthodontic appliance export                          Yes           Yes           Yes




         Nonclinical Testing

         Software, hardware, and integration verification and validation testing was
         performed in accordance with the FDA Guidance Document "Guidance for the
         Content of Premarket Submissions for Software Contained in Medical Devices"
         (Issued on May 11, 2005).

         The validation suite includes validation of implemented mitigations related to device
         hazards identified in the risk management procedures.

         All test results have been reviewed and approved, showing the Ortho System™ to be
         substantially equivalent to the predicates.


         Clinical Testing

         Clinical testing is not a requirement and has not been performed.



         Conclusion

         Based on a comparison of intended use, indications, principle of operations, features
         and technical data, and the test results, the Ortho System™ is found to be as safe
         and effective as the predicate devices. Intended use and performance is found to be
         substantially equivalent to the Predicate Devices.




                                                                                       PAGE 37
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 211 of 238 PageID #: 848




                        Exhibit 5
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 212 of 238 PageID #: 849
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 213 of 238 PageID #: 850




                        Exhibit 6
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 214 of 238 PageID #: 851
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 215 of 238 PageID #: 852
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 216 of 238 PageID #: 853
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 217 of 238 PageID #: 854
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 218 of 238 PageID #: 855
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 219 of 238 PageID #: 856
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 220 of 238 PageID #: 857
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 221 of 238 PageID #: 858
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 222 of 238 PageID #: 859
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 223 of 238 PageID #: 860
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 224 of 238 PageID #: 861
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 225 of 238 PageID #: 862
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 226 of 238 PageID #: 863
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 227 of 238 PageID #: 864
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 228 of 238 PageID #: 865
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 229 of 238 PageID #: 866
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 230 of 238 PageID #: 867
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 231 of 238 PageID #: 868
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 232 of 238 PageID #: 869
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 233 of 238 PageID #: 870
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 234 of 238 PageID #: 871
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 235 of 238 PageID #: 872




                        Exhibit 7
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 236 of 238 PageID #: 873
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 237 of 238 PageID #: 874




                        Exhibit 8
Case 1:18-cv-00886-LPS Document 70-1 Filed 12/20/19 Page 238 of 238 PageID #: 875
